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                     UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF ILLINOIS
                          EASTERN DIVISION

UNITED STATES OF AMERICA
                                           No. 20 CR 812
     v.
                                            Hon. Harry D. Leinenweber
MICHAEL McCLAIN,
ANNE PRAMAGGIORE,
JOHN HOOKER, and
JAY DOHERTY


          GOVERNMENT’S CONSOLIDATED RESPONSE TO
       DEFENDANTS’ MOTIONS FOR JUDGMENT OF ACQUITTAL
                    AND FOR A NEW TRIAL




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                                 INTRODUCTION

      The UNITED STATES OF AMERICA, by and through its attorney, MORRIS

PASQUAL, Acting United States Attorney for the Northern District of Illinois,

respectfully submits this consolidated response in opposition to the post-trial motions

filed by defendants Michael McClain (R. 265, 266), Anne Pramaggiore (R. 263,

R. 264), John Hooker (R. 262), and Jay Doherty (R. 270, R. 271).

      At trial, the government presented voluminous evidence of defendants’ eight-

year scheme to confer benefits on former Speaker of the Illinois House of

Representatives Michael Madigan, including jobs, vendor contracts and subcontracts,

and monetary payments for Madigan’s associates and political allies, which were

corruptly intended to ensure ComEd’s legislative success in Springfield. Defendants’

motions for judgment of acquittal under Federal Rule of Criminal Procedure 29 ignore

the overwhelming evidence presented over seven weeks of trial and the deferential

standard that must be applied in the context of a Rule 29 motion. Considering the

evidence in the light most favorable to the government, there was ample evidence to

convict all four defendants on all charges in the indictment.

      Defendants’ motions for new trial under Federal Rule of Criminal Procedure

33 are similarly ill-founded. Defendants misconstrue the Seventh Circuit’s recent

precedent in United States v. Snyder, 71 F.4th 555 (7th Cir. 2023). Contrary to their

creative reading, the Snyder court reaffirmed its past precedent, and recognized that

“we have refused to ‘import an additional, specific quid pro quo requirement into the

elements’ of § 666.” Id. at 579 (quoting United States v. Agostino, 132 F.3d 1183, 1190



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(7th Cir. 1997)). Snyder made it clear yet again that the jury instructions in this case

were correct. Defendants’ other evidentiary and legal challenges similarly fail. There

is no basis to grant a new trial.

                                    BACKGROUND

      Indictment

      Commonwealth Edison Company (“ComEd”), a company headquartered in

Chicago, delivered electricity to customers across northern Illinois. ComEd was a

subsidiary of Exelon Corporation (“Exelon”), a utility services holding company that

provided energy to customers in multiple states.

      Count One of the indictment charged that between 2011 and 2019, the

defendants—former ComEd lobbyist Michael McClain, former ComEd CEO Anne

Pramaggiore, former ComEd Vice President of Legislative and External Affairs and

ComEd external lobbyist John Hooker, and former ComEd consultant Jay Doherty—

participated in a conspiracy to commit an offense against the United States.

Specifically, the coconspirators agreed to confer a stream of benefits on Speaker of

the House Michael J. Madigan, intending to corruptly influence and reward

Madigan’s efforts to assist ComEd with respect to legislation affecting ComEd’s

business. The indictment also charged that the conspirators sought to conceal this

illegal activity by falsifying books and records to disguise the true nature of benefits

provided to Madigan.

      Counts Two, Five, Six, and Eight of the indictment charged the defendants

with corruptly offering and agreeing to give things of value, with the intent to



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influence and reward Michael Madigan in connection with state business, in violation

of Title 18, United States Code, Sections 666(a)(2) and 2.

       Counts Three, Four, Seven, and Nine charged the defendants with falsifying

or causing to be falsified the books and records of ComEd and Exelon, in violation of

the Foreign Corrupt Practices Act of 1977, Title 15, United States Code, Sections

78m(b)(5) and 78ff(a) (the “FCPA”) and Title 18, United States Code, Section 2. The

charges are summarized in the table below.

 Count    Defendants           Violations                           Description
   1     McClain         18 U.S.C. §§ 371, 2       Conspiracy to commit an offense against the
         Pramaggiore                               United States
         Hooker                                    • Object 1: Violation of 18 U.S.C.
         Doherty                                       § 666(a)(1)(b)
                                                   • Object 2: Violation of 18 U.S.C. § 666(a)(2)
                                                   • Objects 3 and 4: Violation of 15 U.S.C.
                                                       §§ 78m(b)(5), 78ff(a)
   2     McClain         18 U.S.C. §§ 666(a)(2),   Corruptly offering a thing of value, related to
         Pramaggiore     2                         the ComEd contract with Reyes Kurson
   3     McClain         15 U.S.C. §§ 78m(b)(5),   Falsification of records in connection with the
         Pramaggiore     78ff(a) and 18 U.S.C.     2017 JDDA contract
         Hooker          §2
         Doherty
   4     McClain         15 U.S.C. §§ 78m(b)(5),   Falsification of records in connection with the
         Pramaggiore     78ff(a) and 18 U.S.C.     January to March 2018 JDDA contract
         Hooker          §2
         Doherty
   5     McClain         18 U.S.C. §§ 666(a)(2),   Corruptly offering a thing of value, related to
         Pramaggiore     2                         ComEd’s Board position for Ochoa
   6     McClain         18 U.S.C. §§ 666(a)(2),   Corruptly offering a thing of value, related to
         Pramaggiore     2                         the 2018 amendment of the JDDA contract
                                                   (payment of Michael Zalewski)
   7     McClain         15 U.S.C. §§ 78m(b)(5),   Falsification of records in connection with the
         Pramaggiore     78ff(a) and 18 U.S.C.     2018 amendment of the JDDA contract
         Hooker          §2
         Doherty
   8     McClain         18 U.S.C. §§ 666(a)(2),   Corruptly offering a thing of value, related to
         Pramaggiore     2                         the 2019 renewal of the JDDA contract
         Hooker
         Doherty
   9     McClain         15 U.S.C. §§ 78m(b)(5),   Falsification of records in connection with the
         Pramaggiore     78ff(a) and 18 U.S.C.     2019 JDDA contract
         Hooker          §2
         Doherty


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      Trial

      At trial, the evidence established that defendants conferred on Madigan an

enormous volume of benefits, including jobs, vendor contracts and subcontracts, and

monetary payments for Madigan’s associates and political allies. Those benefits were

conferred for the purpose of corruptly influencing and rewarding Madigan in

connection with ComEd’s legislative agenda. Those benefits fell into the following

categories, which are discussed in greater detail in the sections that follow:

      First, members of the conspiracy arranged for Madigan’s associates to be hired

as ComEd “subcontractors,” who did little or no work for ComEd. Those

“subcontractors” included Frank Olivo, a former Alderman of the 13th Ward, which

formed part of Madigan’s legislative district; Ray Nice and Ed Moody, who were 13th

Ward precinct captains; Michael Zalewski, the former Alderman of the 23rd Ward,

which also formed part of Madigan’s legislative district; and former legislator Eddie

Acevedo. Through this subcontractor arrangement, these Madigan allies reaped

approximately $1.3 million in payments even though they were effectively ghost

payrollers.

      Defendants concealed the nature of the payments to the Madigan

subcontractors, including by falsifying internal records and by using intermediaries

such as defendant Jay Doherty’s consulting company (Jay D. Doherty & Associates

or “JDDA”), Shaw Decremer Consulting, and the John Bradley Law Firm to indirectly

pay Madigan’s associates.




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       Second, members of the conspiracy caused ComEd to retain Reyes Kurson, a

law firm whose leading partner, Victor Reyes, was particularly valuable as a

fundraiser for Madigan’s political operation, and continued to do so after being told

that reducing the firm’s hours would provoke an adverse reaction from Madigan—

even though there was not sufficient work to justify the firm’s continued retention.

       Third, members of the conspiracy caused Juan Ochoa to be appointed to

ComEd’s board of directors at Madigan’s request, despite reservations expressed by

other ComEd officials.

       Fourth, members of the conspiracy caused ComEd to set aside summer

internship positions for, and gave preferential treatment to, individuals identified by

McClain and associated with Madigan and the 13th Ward.

       Fifth, members of the conspirators arranged for numerous other hires and

appointments at Madigan’s request.

       On April 11, 2023, just before the close of the government’s case-in-chief and

the conclusion of all evidence, defendants filed Rule 29 motions for judgment of

acquittal, arguing that the evidence was insufficient as to the charges against them.

R. 213, 214, 215, 218, 220, 238, 240, Tr. 5127:16-19. 1 The Court rejected defendants’

arguments, finding the evidence presented by the government sufficient to proceed

on all counts. R. 222; Tr. 3884:24-3887:15; 5127:20-25. 2




1 The trial transcript is referred to herein as “Tr.”

2 At the end of the day on April 11, 2023, the government indicated that it was approximately

5 to 10 minutes from resting its case-in-chief. The parties agreed that defense would file its
written Rule 29 motions and the Court would rule on those motions before the government
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         On May 2, 2023, after approximately seven weeks of trial, a jury returned

verdicts of guilty against all defendants on Count One and against the defendants

named in Counts Two through Nine.

         Post-Trial Motions

         Each defendant filed separate post-trial motions, seeking judgments of

acquittal on various counts and a new trial on other grounds of claimed error. R. 262-

266, R. 270-271. For the reasons discussed below, the motions should be denied.

                                      ARGUMENT

I.       The Defendants’ Motions for Judgment of Acquittal Should Be
         Denied.

         As explained below, the government presented abundant evidence supporting

defendants’ guilt. The defendants make essentially the same arguments this Court

rejected in denying the defendants’ motions for judgment of acquittal under Rule 29.

Tr. 3884:24-3887:15; 5127:20-25. In doing so, the defendants ignore the standard

applied to a motion for judgment of acquittal and fail to analyze the evidence in the

light most favorable to the government. The Court should reject defendants’ renewed

sufficiency arguments for the same reasons it rejected defendants’ Rule 29 motions.

The defendants’ position is even weaker than at the end of the government’s case-in-

chief, as Anne Pramaggiore and John Hooker’s testimony was plainly false and

undermined the defenses they sought to pursue. As Judge Learned Hand explained

long ago, the jury’s impression of a witness’s credibility “may satisfy the tribunal, not



formally rested. Tr. 3865:1-3866:10, 3867:14-3868:7. The government rested its case-in-chief
on April 12, 2023. Tr. 3906:21.

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only that the witness’ testimony is not true, but that the truth is the opposite of his

story; for the denial of one, who has a motive to deny, may be uttered with such

hesitation, discomfort, arrogance or defiance, as to give assurance that he is

fabricating, and that, if he is, there is no alternative but to assume the truth of what

he denies.” Dyer v. MacDougall, 201 F.2d 265, 269 (2d Cir. 1952). The jury had ample

reason to reject their testimony and their interpretation of the government’s evidence.

      A.     Legal Standard for Judgment of Acquittal

      A motion for a judgment of acquittal challenges the sufficiency of the evidence

to sustain a guilty verdict against a defendant. Fed. R. Crim. P. 29. A defendant faces

“a nearly insurmountable hurdle” in contending that the jury had insufficient

evidence to find him guilty. United States v. Armbruster, 48 F.4th 527, 531 (7th Cir.

2022). In reviewing a motion for a judgment of acquittal, this Court reviews the

evidence presented to the jury in the light most favorable to the government and

makes all reasonable inferences in the government’s favor. See United States v. Cejas,

761 F.3d 717, 726 (7th Cir. 2014). This Court may overturn the jury’s verdict “only if

the record is devoid of evidence from which a reasonable jury could find guilt beyond

a reasonable doubt.” United States v. Jones, 713 F.3d 336, 340 (7th Cir. 2013)

(internal marks omitted). It was the jury’s role to weigh the evidence and assess the

witnesses’ credibility; courts do not “second-guess the jury’s assessment of the

evidence.” United States v. Rollins, 544 F.3d 820, 835 (7th Cir. 2008).




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      B.     The Government Presented Sufficient Evidence to Sustain
             Convictions on Count One.

      The government’s evidence established that the defendants conspired: (1) to

corruptly influence and reward Michael Madigan in connection with his official duties

as the Speaker of the Illinois House of Representatives, in order to assist ComEd with

respect to the passage of legislation favorable to ComEd and its business and to defeat

of legislation unfavorable to ComEd and its business; (2) to create false contracts,

invoices, and other books and records to disguise the true nature of benefits paid to

Madigan’s associates; and (3) to circumvent internal controls. Below is a brief

summary of the evidence of the Count One conspiracy, before turning to the

defendants’ individual arguments. Based on this evidence, considered in the light

most favorable to the government and drawing all inferences in its favor, the jury’s

verdict is easy to sustain.

                   Defendants Corruptly Arranged to Hire Madigan
                              Allies as Subcontractors

      Over the course of approximately eight years, ComEd paid $1.3 million dollars

to former Speaker Michael Madigan’s political allies, who did little to no work for

ComEd. GX876. These no-show subcontractors—who were paid indirectly through

intermediaries such as JDDA—included former Alderman Frank Olivo, precinct

captain Ray Nice, precinct captain Ed Moody, former Alderman Mike Zalewski, and

former legislator Eddie Acevedo. Consistent with the recordings and documentary

evidence, cooperator Fidel Marquez confirmed his—and the defendants’—corrupt

intent when he testified that the defendants paid the subcontractors at the request

of Speaker Madigan to benefit the company’s legislative agenda in Springfield and
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that he did not expect the subcontractors to do any work for ComEd. E.g., Tr. 1903:14-

1904:13 (Marquez did not expect Olivo and Nice to do work for ComEd because they

were brought on to gain favor with Madigan so that he would be helpful to ComEd’s

legislative agenda); Tr. 1959:2-13 (Marquez understood Pramaggiore did not expect

the subcontractors to do any work based on his conversations with her); Tr. 2023:12-

14 (Marquez understood Pramaggiore did not want to interfere with the

subcontractors and get Madigan’s “nose out of joint”); Tr. 2027:4-12 (stating Marquez

understood Hooker to say that, if ComEd discontinued the subcontractor relationship,

it would signal to Madigan that he did not have to support ComEd legislation). 3

       These subcontractor payments were made and discontinued at Madigan’s

direction. As with Madigan’s other illegal demands, McClain acted as the conduit to

convey them to ComEd officials, ensured that the demands were complied with,

monitored the payment of the Madigan associates, and oversaw adjustments when

necessary during the conspiracy. For example, on May 16, 2018, Madigan told

McClain to talk to Pramaggiore about adding former Alderman Michael Zalewski as

a ComEd subcontractor. GX21. That same day, following Madigan’s direction,

McClain asked Pramaggiore if she had given more thought to adding Zalewski as a

subcontractor. GX22. Without hesitation, Pramaggiore confirmed that she had told

Marquez to add Zalewski: “Yeah, I told Fidel [Marquez] to hire him. To get it done.”



3 See also Tr. 1866:24-1867:6 (Marquez testified that Pramaggiore indicated that “having

Michael Madigan negatively disposed towards ComEd . . . could make our bills difficult to
pass or it could even lead to a bill being defeated”), id. at 1874:7-22 (Marquez was concerned
about the reaction not fulfilling Madigan’s requests would cause, because he was concerned
Madigan would be negatively disposed toward ComEd’s legislative agenda);

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Id. Later that same day, McClain told Marquez that ComEd would pay Zalewski

“five,” or $5,000, per month. GX23. In doing so, McClain summarized the value of

each of the Doherty subcontractors—not as legitimate lobbyists, but to Madigan’s

political operation. For example, McClain told Marquez, “Ray Nice, he’s, um, one of,

um, he’s one of the top three precinct captains, and he also trains, uh, people how to

go to door to door.” Id. Later that same afternoon, McClain called Madigan to confirm

that Madigan—with Pramaggiore’s blessing—would give Zalewski the good news.

GX25.

        The conspirators intentionally structured the payments in a way that allowed

them to deny responsibility if law enforcement ever questioned what work, if any,

Madigan’s associates were performing. In the same call where McClain told Hooker

that Madigan had asked for Zalewski to “work under Jay Doherty,” Hooker bragged

about having set up the subcontractor arrangement with McClain to conceal the

payments; Hooker described the arrangement as being “off the beaten path” because

there’s “just no flow through there.” GX12. In another call, McClain and Hooker joked

that they were “creative” in the arrangement they had set up with the Madigan

subcontractors. GX17. Ultimately, Zalewski was engaged as a subcontractor under

the Doherty contract, just like the other Madigan subcontractors. Tr. 1953:25-

1955:13. And just like the other subcontractors, Zalewski did no work for ComEd. Tr.

1954:25-1956:4.

        Ed Moody, another of the Madigan associates who was paid indirectly by

ComEd, testified at trial, and confirmed that the ComEd’s subcontractor payments



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were designed to give Madigan a way to pay his most valuable political allies. Moody

testified about his success working for Madigan’s political operation, and that

Madigan ranked him and his twin brother, Fred, first among all precinct captains

and workers. See, e.g., Tr. 3648:21-3651:6. Moody explained that Madigan rewarded

him for his political efforts by arranging for him to receive payments from ComEd

lobbyists—first McClain, then Doherty, then Shaw Decremer, and finally John

Bradley—even though he performed little or no work. Tr. 3617:13-3618:16. Ed Moody

testified that he created some monthly reports for Mike McClain—essentially, make-

work—and that he understood the purpose of the payments from McClain was “to

stay active in my politics.” Tr. 3680:22-3682:12, 3689:25-3692:16. 4 After he started

getting paid by Doherty in 2014, the only work he did for his ComEd paychecks was

work for Madigan’s political organization knocking door-to-door. Tr. 3699:8-13;

3714:15-21. And when Moody finally was cut off from payment because he became

Cook County Recorder of Deeds, it was Madigan, not ComEd, who made the decision

to cut him off. GX109. McClain delivered the news, though he also told John Bradley,

who was paying Moody on behalf of ComEd at that point, that he should characterize

the final payment he made to Moody as a holiday “bonus.” GX111. This, of course,

was a lie, because Moody never did a single iota of work for Bradley, much less

anything that would entitle him to a “bonus.” Tr. 3762:1-12.



4 On cross examination, Moody testified that he had performed an additional 225 hours of

canvassing work for McClain. Tr. 3790:7-3796:8 This work did not compare to his political
work, and any ComEd related work ceased after Moody was switched to the other
intermediaries, including Doherty. Tr. 3817:15-3818:1; 3714:7-3719:19; 3729:25-3730:1;
3736:2-25; 3743:8-19; 3762:1-12.

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      In defendants’ discussions about whether to renew Doherty’s contract in 2019,

after new ComEd CEO Joe Dominguez took over after Pramaggiore’s promotion, the

conspirators specifically explained in recordings that these payments at Madigan’s

request were critical to ComEd’s legislative success. When Fidel Marquez and John

Hooker met to discuss the subcontractor arrangement in January 2019, Hooker told

Marquez that “me and McClain was, I was the one that created it,” referring to the

subcontractor arrangement. GX118; Tr. 2001:1-11. Hooker strategized with McClain

about how to explain the subcontractors to Dominguez, Pramaggiore’s successor as

ComEd CEO: “with the Jay Doherty stuff . . . you got a little leg up,” a reference to

the advantage ComEd gained with its legislative agenda as a result of the bribes paid

to Madigan allies. GX148. He added, referencing the need for concealment of the

subcontractor arrangement: “that which is understood need not be mentioned.”

GX148.

      A recorded meeting between Marquez and Doherty on February 13, 2019,

again confirmed that the subcontractor payments were kept secret and that they were

linked to ComEd legislation. When Marquez asked Doherty about the work the

subcontractors performed, Doherty responded, “[T]hey keep their mouth shut . . . [D]o

they do anything for me on a day to day basis? No.” GX129. Doherty also told

Marquez that Hooker set up the first payments to Olivo in 2011 and that every 6 or

8 months Hooker would call Doherty to check on the subcontractors and report back

to Madigan. Id. When Marquez asked Doherty if the subcontracts should be renewed

even though the subcontractors did not work, Doherty expressly linked the



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subcontractor payments to ComEd’s legislative success: “Your money comes from

Springfield, right?” He followed up: “[I]f it ain’t broke, don’t fix it with those guys.”

Id.

      Similarly, Anne Pramaggiore directly tied the subcontractor payments to

ComEd’s fortunes in Springfield when she discussed the subcontractor arrangement

with Marquez. On February 18, 2019 (after she had been promoted to be CEO of

Exelon Utilities, a position that gave her oversight authority over ComEd’s

operations, Tr. 1990:9-16, 4635:7-14), she instructed Marquez to wait to change

Doherty’s contract (including payments to the ghost payrollers) until the legislative

session ended, saying:

             [L]et’s not do it until after the session’s over. Let’s look at
             this in terms of going forward to next year because we do
             not want to get caught up in a, you know, disruptive battle
             where, you know, somebody gets their nose out of joint and
             we’re trying to move somebody off and then we get forced
             to give ‘em a five-year contract because we’re in the middle
             of needing to get something done in Springfield.

GX131.

      Defendants’ other efforts to conceal the subcontractors further demonstrated

the illicit nature of the arrangement. Janet Gallegos (Doherty’s administrative

assistant) and Elizabeth Lynch (Director of Corporate Accounting at Exelon) testified

that Doherty’s invoices said nothing about subcontractors. See, e.g., Tr. 2811:18-20;

2853:2-6; 3489:20-3489:23. Gallegos and Carrie Bourque (principal category manager

for Exelon, who created and executed contracts for ComEd consultants) likewise

testified that the contracts between Doherty and ComEd said nothing about the



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subcontractors. See, e.g., Tr. 2889:16-18; 3295:19-3298:20; 3304:6-19; 3309:25-

3310:10. Lynch further testified that ComEd’s internal accounting records also said

nothing about the subcontractors, and instead stated that the payments to the

intermediaries were for categories such as “legislative services,” without any mention

of the fact that a substantial portion would be passed on to Madigan associates. See,

e.g., Tr. 3503:4-7; 3505:10-12; 3507:3-10; 3509:5-8; 3511:4-13.

      Doherty’s contract was under the ComEd CEO’s budget, which meant that

from time to time, Pramaggiore was required to sign a “single source justification”

form that explained why it was necessary to pay for Doherty’s services at the rate

invoiced. On two occasions, Pramaggiore signed single source justification forms that

provided false explanations for why Doherty was being paid hundreds of thousands

of dollars each year. GX484; GX868. Rather than making plain that a substantial

portion of the money was destined for Madigan’s associates, the forms made it appear

that the payments were just for Doherty on account of his expertise. Id. Because

Pramaggiore—the CEO of the company—attested to the importance of Doherty, this

further insulated the illegal activity from discovery by others involved in the

company’s audit function.

      The false statements made to justify the mid-year addition of former Alderman

Zalewski to Doherty’s payroll in 2018 was a particularly egregious example. On June

29, 2018, Doherty signed a contract amendment increasing monthly payments from

ComEd to JDDA by $5,000 per month, to $37,500 per month. That contract

amendment falsely stated that JDDA was retained for June 1, 2018 to January 13,



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2019 to provide “Government and Public Affairs Professional Services for the

following: City Council, Department heads and Mayor’s Office, plus expanded role

with Cook County Board President’s office and Cook County Commissioners

Department Heads.” GX544; see also GX546. This amendment was for the sole

purpose of adding payments to Zalewski; Zalewski performed no work in relation to

the Cook County Board President or Commissioners, and the internal documentation

in ComEd’s books and records said nothing about Zalewski.

      As a result of defendants’ circumvention of ComEd’s internal controls, ComEd’s

books and records did not accurately reflect that a large portion of the money that

Doherty received from ComEd went to the Madigan subcontractors, and that the true

purpose of these payments was to bribe Madigan.

      As to the subcontractors, the evidence at trial thus demonstrated that (i)

Madigan associates were paid huge amounts of money in return for no work; (ii)

payments were made and discontinued at Madigan’s direction; (iii) conspirators

boasted about the hidden, “off the beaten path” nature of the indirect payments,

which allowed them to deny responsibility if federal law enforcement ever questioned

what work, if any, Madigan’s associates were performing; (iv) conspirators

specifically explained in recordings that making and keeping Madigan happy—to

ensure that the company’s legislative agenda was not disrupted—was the reason to

continue to pay the ghost payrollers, even though they did no real work; (v) the

conspirators caused the falsification of internal company documentation to falsely

describe the nature of payments destined for the ghost payrollers; and (vi) the



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payments to Madigan’s do-nothing associates continued to flow as the company

sought substantial legislative action in Springfield.

               Defendants Corruptly Arranged for Juan Ochoa’s
                      Appointment to the ComEd Board

      Numerous interceptions and emails demonstrated defendants’ corrupt intent

to influence Madigan by securing Juan Ochoa’s appointment to the ComEd Board of

Directors at Madigan’s request. The evidence reflected there was internal resistance

within ComEd to the appointment of Ochoa; the resistance was stiff enough that

Pramaggiore offered to find another placement for Ochoa within the company that

would pay Ochoa $78,000 a year—an offer she conveyed to Madigan through McClain.

GX15. Despite the internal resistance and challenges to Ochoa’s appointment,

Madigan told McClain to “continue to support” and “go forward with” Ochoa’s

appointment to the Board, because he wanted to stay in good favor with Congressman

Gutierrez, who had recommended Ochoa to Madigan. GX15; GX21; Tr. 3531:15-18.

McClain passed that message to Pramaggiore, who confirmed she would “keep

pressing” to get Ochoa appointed to the Board, as Madigan requested. GX22.

      Madigan and McClain discussed that Madigan would call Ochoa and

Congressman Gutierrez himself to deliver the news himself—showing not only that

Madigan was the driving force behind the appointment, but the irregular nature of

the process involved in making this decision. GX64. Pramaggiore knew Madigan

would be calling Ochoa himself. E.g., GX3; GX548, GX63, GX128.

      Pramaggiore kept pushing to move the Ochoa appointment along. E.g., GX550,

GX551, GX554. Pramaggiore took credit for the push to appoint Ochoa and

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overcoming the resistance she had experienced: “I got that done.” GX65. She told

McClain when it was all but official that Ochoa should be on the board, although she

“didn’t want to put it in writing,” GX90, see also GX128.

      Just like the payments to the subcontractors, securing the Board seat for

Ochoa benefited Madigan because it furthered his political interests. Tr. 1650:13-

1651:9 When McClain told her he appreciated her efforts regarding Ochoa,

Pramaggiore’s response recognized that the appointment was linked to ComEd’s

legislative agenda: “[Yo]u take good care of me and, and so does our friend and I will

do the best that I can to, to take care of you.” GX90. And take care of Madigan (“our

friend”) she did—Ochoa was appointed to the ComEd Board in April 2019. Tr. 3542:4-

5. Just like the subcontractor payments, the defendants linked the appointment to

the ways Madigan could benefit ComEd in terms of its legislation in Springfield.

        Defendants Corruptly Arranged for Reyes Kurson’s Contract

      Defendants further corruptly arranged for Reyes Kurson to be retained as one

of ComEd’s outside attorneys, and to ensure that the firm had a contract

guaranteeing a set number of hours of work. The reason was not Reyes Kurson’s bona

fides—in fact, Nicole Nocera, Pramaggiore’s chief of staff—testified that Reyes

Kurson’s work for ComEd was sub-par. Tr. 3394:17-3395:25. Instead, Reyes Kurson

was engaged on favorable terms because Victor Reyes was one of Madigan’s top

fundraisers. Tr. 1180:1-12; 1182:11-19.

      ComEd first engaged Reyes Kurson in 2011, at a time when defendants sought

to influence and reward Madigan in connection with the Energy Infrastructure



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Modernization Act (“EIMA”) legislation. Tr. 1180:23-1182:10. When the contract

came up for renewal in 2014, Pramaggiore told General Counsel Tom O’Neill to go

forward, despite O’Neill telling her that “there is not a ton of work” for them to do.

Tr. 1188:6-20. And in 2016, when Tom O’Neill sought to reduce the number of hours

that ComEd guaranteed Reyes Kurson, McClain looped in Pramaggiore and Hooker

to make sure the contract was negotiated on favorable terms—all while ComEd was

working to get its Future Energy Jobs Act (“FEJA”) legislation passed. Tr. 1202:9-

1205:20, 1141:13-1142:1 (discussing the multi-year effort to pass FEJA from late

2014/early 2015 to the end of 2016).

      In a January 2016 email, McClain raised to Pramaggiore and Hooker that

ComEd was trying to cut Reyes’ hours. He said to them: “I know the drill and so do

you. If you do not get involve[d] and resolve this issue of 850 hours for his law firm

per year then he will go to our Friend. Our Friend will call me and then I will call

you.” GX318. McClain threatened that such a step would “provoke a reaction from

our Friend,” or Madigan. Id. This email vividly demonstrated what motivated

McClain, Hooker, and Pramaggiore in contract negotiations with Reyes Kurson:

influencing and rewarding Speaker Madigan, to avoid an adverse outcome in the

General Assembly. Id. Pramaggiore acted quickly, apologizing for the delay, before

responding, “I am on this.” GX320. Just ten days later, she reported back to McClain:

“I asked Fidel [Marquez] and Tom [O’Neill] to address this.” GX321. The project

manager for the passage of FEJA, Marc Falcone, was enlisted to ensure that the law

firm got what it wanted—even though Falcone was responsible for ensuring that



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nothing was an obstacle to the passage of FEJA and had nothing whatsoever to do

with the retention of law firms by the company. Tr. 1228:18-1230:15.

      As promised, ComEd renewed the contract with Reyes Kurson in 2016. Tr.

1252:7-12. ComEd did the same for 2017, after Pramaggiore again stepped in to

ensure the renewal. Tr. 1257:11-13; GX393.

    Defendants Corruptly Arranged for the Hiring of 13th Ward Interns

      Defendants set aside summer internship positions for, and gave preferential

treatment to, individuals identified by McClain and associated with Madigan’s Ward,

the 13th Ward. Unlike any other ward in Chicago, a set number of intern slots were

reserved for 13th Ward candidates. GX431; Tr. 2088:2-2092:9. ComEd also routinely

waived eligibility requirements, such as GPA requirements, that were ordinarily

required of its interns so that 13th Ward candidates would be hired. Tr. 2091:10-22;

2156:4-2157:8. The evidence showed that ComEd hired these interns to influence and

reward Madigan, even when they lacked the requisite credentials. E.g., GX226. For

example, McClain recommended Jackie Sweeney for an accounting internship on

behalf of Madigan. When ComEd’s Chief Financial Officer asked if there was

“pressure to hire her or just fairly consider,” Marquez confirmed that there was

“pressure to hire.” Tr. 2116:18- 2118:2; GX294. The evidence also showed that




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Pramaggiore and Hooker were well aware of the 13th Ward intern “pathway,” as

McClain called it. GX425 (referring to the intern program as “our Friend’s pathway”).

   Defendants Corruptly Arranged for Other Hires At Madigan’s Request

      Defendants arranged for numerous other hires and appointments at Madigan’s

request. For example, Madigan, through McClain, requested that ComEd hire Kathy

Laski. Defendants bent over backwards to arrange for her to be hired, even though

she struggled with interview questions, refused to do basic aspects of ComEd’s work,

and was unqualified for the job. Tr. 2237:13-2251:5. Despite all this, there was such

a “strong need” to hire Laski that it made it to Pramaggiore’s “radar.” Tr. 2243:4-

2244:24; GX 354.

      In other instances, McClain passed on job requests from Madigan for

individuals who could not pass basic entry level examinations. E.g., GX276; GX271.

Yet defendants continued to press for these individuals to be hired. These additional

requests and actions were additional evidence of defendants’ corrupt scheme to

influence and reward Madigan. The degree to which ComEd provided jobs to

unqualified candidates in order to influence Madigan vividly demonstrated that these

decisions were not made in the ordinary course.

           Connection of the Hires to ComEd’s Legislative Success

      Described above are merely a few examples of the many requests McClain

presented to ComEd, on behalf of Madigan. As many calls and emails demonstrated—

and as Fidel Marquez confirmed when he testified—the defendants corruptly sought

to make these hires to ensure that Madigan would act favorably with regard to



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ComEd legislation in Springfield and not place obstacles in the way of ComEd’s

legislative agenda.

      A call between McClain, Pramaggiore, and Hooker on February 20, 2019,

underscored the corrupt nature of these hires. GX136. In that call, the three

defendants discussed who would become the primary point of contact with Madigan,

given that McClain had retired from lobbying and Pramaggiore had moved to Exelon

Utilities. Id. According to McClain, that person would have to know that “when they

get the call . . . they gotta snap to and, and do it right away.” Id. Pramaggiore agreed.

McClain further expressed concern that Dominguez, ComEd’s new CEO, would think

“that this is a quid pro quo and that he’s wired.” Id.

      In a later call, McClain again referred to the “code” they used with Madigan,

in which a request to “take a look at this resume” really means, “Will you drop and

do and try to get this done as fast as possible.” GX139.

      The defendants’ efforts to bribe Madigan paid off through a string of legislative

successes. ComEd got EIMA passed in 2011, with Madigan’s vote. Tr. 791:3-12;

1459:18-23. Scott Vogt—Vice President for Strategy and Energy Policy for ComEd—

testified that Madigan’s support was critical to moving the EIMA legislation forward:

he allowed the bill to proceed through committees to the House floor, and the bill

likely would have died without his support. Tr. 817:6-16. Just two years later, Senate

Bill 9 was enacted into law, again with Madigan’s support. Tr. 824:23-24; 1135:3-

1136:6. And in December 2016, Madigan helped to push for the final votes needed to

pass FEJA, as Will Cousineau testified and as emails and calls corroborated. E.g.,



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GX19, GX628; Tr. 1621:2-1625:7. As witness after witness testified, major legislation

could not move without Madigan’s support, and the company viewed this support as

critical. See, e.g., Tr. 817:6-9 (Scott Vogt regarding EIMA); Tr. 845:21-846:5 (Vogt

regarding FEJA); Tr. 1459:18-20 (Tom O’Neill regarding EIMA); Tr. 1833:5-17

(Marquez explaining that the Speaker’s vote was critical to passing legislation). 5 In

short, there was ample evidence from which the jury could find that the defendants

conspired to corruptly offer things of value to Madigan for the purpose of ensuring

the passage of legislation affecting ComEd.

       C.     The Government Presented Sufficient Evidence to Sustain
              Convictions on the Conspiracy and Corruption Counts.

       The government turns to the sufficiency arguments presented by each

defendant as to the conspiracy and corruption counts: Count One (in part), Two, Five,

Six, and Eight. Defendants’ efforts to nitpick each piece of the government’s case

ignores the vast body of evidence that the jury relied upon to convict.

              1.      A Quid Pro Quo Is Not Required.

       Defendants yet again argue that a violation of 18 U.S.C. § 666 requires the

government to prove a quid pro quo. Pramaggiore and McClain make this argument

in support of their Rule 29 motions. R. 266 at 5-6 (McClain); R. 264 at 9

(Pramaggiore). All defendants make this argument in support of their Rule 33

argument. The government address that argument in detail in Section II.B.1, below.



5 See also, e.g., Tr. 436:11-14 (Sente, testifying about Madigan’s control over legislation); Tr.

563:22-565:7 (Drury, testifying that Madigan “had the ultimate authority over legislation
and its movement through the Illinois House,” could block bills he did not want passed, and
“was the most powerful politician in Illinois”).

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In a decision handed down after trial in this matter, the Seventh Circuit again

reaffirmed its prior holdings that have “refused to import an additional, specific quid

pro quo requirement into the elements of § 666.” United States v. Snyder,

71 F.4th 555, 579 (7th Cir. 2023). This Court’s prior rulings declining to import a quid

pro quo requirement onto § 666 were correct. E.g., R. 83; Tr. 3885:10-25. In any case,

for the reasons discussed below, there is sufficient evidence for the jury to conclude

that there was in fact a quid pro quo with Madigan concerning the passage of

legislation affecting ComEd.

             2.     Arguments Raised by Defendant Pramaggiore

                    a.     Ample     Evidence        Established that Actions
                           Pramaggiore Took          Were In Connection with
                           Legislation.

      Pramaggiore first argues that there was insufficient proof that defendants

bestowed benefits on Madigan for the purpose of influencing and rewarding her “in

connection with legislation impacting ComEd.” R. 264 at 9-14. Ample evidence in the

record supported the jury’s conclusion to the contrary.

      Take, for example, Pramaggiore’s own words. When she spoke to Marquez

about renewing the Doherty contract for 2019, she explained that it should be

renewed because, otherwise, the company would be “forced” to give someone a five-

year contract “in the middle of needing to get something done in Springfield.” GX 131.

Marquez confirmed that, at the time of this call, ComEd was working to pass the

“Skinny Bill” rate legislation (Tr. 2024:2-7), and that events in Springfield would not

be a legitimate reason to change the Doherty contract, as Doherty did not lobby in

Springfield. Tr. 2022:13-15. As if this were not enough, Marquez confirmed that the

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payments to the subcontractors—who did little to no work for ComEd for eight

years—were for the purpose of corruptly influencing Madigan so he could help

ComEd’s legislative agenda. See, e.g., Tr. 1904:10-1905:14.

      Pramaggiore similarly acknowledged the “understanding” ComEd had

developed with Madigan, when she told Doherty in an October 2014 email that it had

been a “long path” with Madigan and that “relationships always require care.”

GX268. She continued: “Thanks for your help in creating an understanding,” a coded

reference to Doherty’s payment of the Madigan subcontractors. Id.

      Pramaggiore was also acutely aware of the connection between Reyes Kurson’s

contract renewal and ComEd’s success with its FEJA legislation in 2016. On January

18, 2016—contemporaneous with FEJA negotiations—McClain wrote ComEd

General Counsel Tom O’Neill with a historical record of the hours that Reyes Kurson

billed and questioned whether ComEd intended to offer Reyes Kurson less than 850

hours per year during the renewal. GX 315. McClain copied Fidel Marquez and John

Hooker, neither of whom had a role in ComEd’s legal department or was typically

involved in law firm negotiations but who were working on FEJA. Id.; Tr. 1200:5-21.

      On January 20, 2016, McClain included Pramaggiore in the discussion:

             I know the drill and so do you. If you do not get involve[d]
             and resolve this issue of 850 for his law firm per year, then
             he will go to Our Friend. Our Friend will call me and I will
             call you.

             Is this a drill we must go through?

             For me, Hook[er] and I am sure for you I just do not
             understand why we have to spend valuable minutes on



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             items like this when we know it will provoke a reaction
             from our Friend.

             I just felt compelled to not follow the chain of command and
             inform you.

GX320. Pramaggiore knew exactly what was being threatened when McClain said

that Madigan would have an adverse “reaction” if the Reyes Kurson contract did not

get renewed: Madigan would negatively impact ComEd’s legislation. In fact,

Pramaggiore did not ignore McClain’s message but quickly responded, “Sorry. No one

informed me. I am on this” (GX320), and immediately forwarded McClain’s email to

O’Neill with no further text. GX318; Tr. 1209:23-1210:5. In O’Neill’s experience,

Pramaggiore took “action to avoid provoking problems with Speaker Madigan.” Tr.

1205:18-20. This was certainly an example.

      Later, after more follow-up from McClain, Pramaggiore said, “I asked Fidel

[Marquez] and Tom [O’Neill] to address this.” GX 321. O’Neill testified that he asked

Pramaggiore whether he had to renew the Reyes Kurson contract even though there

was not enough work for the firm, and Pramaggiore answered “yes.” Tr. 1188:8-20.

      On March 5, 2016, McClain again wrote O’Neill, copying Marquez, about the

Reyes-Kurson contract. Specifically, he said he “talked with our Friend”—again, a

reference to Madigan—and asked if ComEd would consider increasing the Reyes

Kurson contract by another 10 hours. GX 327. On, April 29, 2016, when McClain sent

O’Neill the Reyes Kurson contract language with a note “This does it,” he copied Mark

Falcone, project manager for FEJA, who was close with Pramaggiore and whose job

involved removing any obstacles to the passage of FEJA—not managing the head of



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the law department. GX 334; Tr. 1228:17-1230:15. O’Neill testified, “What I

understood is that Mark worked closely with Anne, and Mark was paying attention

to this; and it told me that Anne was paying attention to this.” Tr. 1230:13-15. In

short, O’Neill’s testimony made it crystal clear that he felt pressure from his boss,

Anne Pramaggiore, to retain Reyes Kurson on the terms Madigan wanted, as directed

by McClain.

      The jury also heard from Fidel Marquez about the intern slots reserved for

candidates from Chicago’s 13th Ward “as a request from and in favor for Michael

Madigan” so that ComEd could stay in a “favorable light for [ComEd’s] legislative

agenda.” Tr. 2088:3-2089:12. ComEd routinely waived eligibility requirements, such

as GPA requirements, that were ordinarily required of its interns. Tr. 2091:10-22.

Emails confirmed that ComEd hired these interns to influence and reward Madigan,

even if they lacked the requisite credentials. Take, for example, McClain’s April 16,

2013, email to Marquez, in which he copied Pramaggiore:

              Fidel,

              We offered our friend six summer jobs. . . .

              Attached is a request for a person to work in our legal
              department this year. He will not learn very much and he
              will not be able to contribute much, if anything, but that is
              still the ask.

              Oh, he asked if this one could be in addition to the six. I
              said “sure.”

GX226. Marquez confirmed that it was not “typical, ordinary practice to offer a block

of jobs to a political official.” Tr. 2096:25-2097:3. This was done because Madigan



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controlled ComEd’s legislative agenda, and Pramaggiore and the other defendants

knew it.

         Pramaggiore’s tremendous efforts to appoint Juan Ochoa to the ComEd Board

of Directors, discussed above, were connected to ComEd legislation. When McClain

told Pramaggiore that Madigan wanted her to “keep pressing” for Ochoa despite

internal resistance, Pramaggiore said she would do exactly that—she would “keep

pressing,” as Madigan requested. GX22. When she was receiving pushback about the

Ochoa appointment, Pramaggiore complained to Marquez: “I don’t have the luxury of

being incensed about it. Right thing for the company is to deal with it. So, we need to

move forward so anyway, I’m gonna have to deal with that.” GX71. From this, the

jury could readily infer that Pramaggiore pushed for Ochoa’s appointment to ensure

ComEd’s legislative success. Indeed, when McClain told her he appreciated her work

regarding Ochoa, Pramaggiore confirmed this was what she meant: “[Yo]u take good

care of me and, and so does our friend and I will do the best that I can to, to take care

of you.” GX90. 6

         Pramaggiore argues that, by introducing evidence of her thank you notes and

flattery, the government encouraged the jury to convict based on “speculation or mere

association” with Madigan. R. 264 at 11-12. This argument lacks merit. The jury was

not required to view the evidence the way Pramaggiore would have it; indeed, this

Court must review the evidence in the light most favorable to the verdict, not the



6 Contrary to Pramaggiore’s argument (R. 264 at 9 n.3), this call demonstrates that
Pramaggiore made a hiring decision because of Madigan’s past favorable action for ComEd,
sufficient to support conviction under a gratuity theory. See also GX393.

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defendant. Besides, the government’s evidence did not stop at proving a friendship

between Pramaggiore, Madigan, and McClain. Indeed—the sheer volume of the

benefits discussed during the trial undermine any notion that Pramaggiore’s words

were mere flattery or puffery, or that the multi-million dollar benefits she

orchestrated were merely acts of friendship or goodwill. See, e.g., United States v.

Rosen, 716 F.3d 691, 703 (2d Cir. 2013). To the contrary, the recordings, emails, and

testimony amply demonstrated that Pramaggiore and the other defendants linked

the benefits conferred on Madigan with his assistance advancing ComEd’s legislative

agenda.

      It is of no moment that no one testified at trial that Pramaggiore asked

Madigan for special action, as Pramaggiore suggests. R. 264 at 10. Pramaggiore need

not have made a direct ask to satisfy this element of the offense. As Hooker said, “that

which is understood need not be mentioned.” GX148; see also United States v.

Blagojevich, 794 F.3d 729, 738 (7th Cir. 2015) (“Few politicians say, on or off the

record, ‘I will exchange official act X for payment Y.’”). The abundant evidence pointed

in a clear direction—not merely based on speculation, as Pramaggiore argues (R. 264

at 10-11)—that the massive benefits conferred on Madigan were intended to secure

ComEd’s good fortune in Springfield. Pramaggiore’s—and the other defendants’—

willingness to cater to Madigan’s many demands and defendants’ own conversations

about those benefits showed that they were motivated by ComEd’s legislative agenda.

      Pramaggiore is wrong about the inferences that can be drawn from the timing

benefits were conferred on Madigan. As the government argued, many of the critical



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benefits conferred on Madigan were clustered at critical points in ComEd’s legislative

process. Below is a timeline presented to the jury during the government’s closing

argument, which shows the overlap in those critical dates.




      EIMA is a good example. Although Madigan allowed a vote on EIMA in May

2011 and Olivo was first paid in August 2011, as Pramaggiore notes (R. 264 at 12),

EIMA did not pass until the fall of 2011. Tr. 1049:1-10. Thus, at the time defendants

first agreed to hire Olivo (and also Nice, who was paid later), EIMA was a hotly

contested piece of legislation that had not been passed. In fact, the defendants not

only agreed to hire the two Madigan subcontractors; they also arranged for the first

Reyes Kurson contract on October 25, 2011, just one day before the Governor’s veto

of EIMA was overridden and the legislation thus passed its final hurdle in the

General Assembly. Tr. 1185:16-1186:10; GX791; GX807. The fact that these two

critical benefits were conferred on Madigan on the eve of EIMA’s passage is strong

evidence that the defendants bribed Madigan in late 2011 in order to secure

Madigan’s support for EIMA.

      Pramaggiore also argues that the purpose of the scheme could not have been

to influence Madigan in connection with legislation, because Madigan sometimes


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acted favorably towards ComEd prior to the first bribes in 2011, and because Madigan

sometimes took adverse action against ComEd while the scheme was ongoing. R. 264

at 12-13. The jury could easily conclude that the corrupt payments were meant to

ensure ComEd’s success on the big-ticket items—indeed, McClain explained during

an intercepted call with a ComEd employee that Madigan would be advised of what

ComEd’s “bottom line” was, so that he would be on the same page with the company.

GX138. And, when it came to the bottom line, ComEd reaped hundreds of millions of

dollars in benefits from the legislation Madigan supported. Tr. 824:3-6; 827:12-22;

847:15-22.

      Pramaggiore also argues that the government failed to present evidence of a

“typical” bribery scheme—i.e., one with a personal benefit to Madigan. R. 264 at 13.

The cases Pramaggiore cites do not support the proposition that cash must flow

directly into a politician’s pocket to prove bribery. The jury instructions merely

required that defendants give “a thing of value to another person” with corrupt intent.

R. 249 at 37. Indeed, the jury heard ample evidence about how ComEd’s payments to

Madigan allies benefitted Madigan. For example, Ed Moody testified about his role

as a top precinct captain bringing out votes for Madigan, and that he understood that

the purpose of the payments he received from ComEd was to “stay active in my

politics.” Tr. 3651:3-6; 3692:14-16.

      In fact, Moody testified that he saw Madigan while he was being paid through

John Bradley, and “expressed to him that I was concerned that I had a contract that

indicated that I would be doing work for ComEd and that I hadn’t been given any



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assignments.” Tr. 3752:2-6. Madigan told him, “That’s okay, what you’re doing right

now is what’s important to me, it’s what’s important to John Bradley, it’s what’s

important to ComEd.” Tr. 3752:7-10. Moody understood this to mean that he should

“keep doing my political work” and that “my political efforts would be an advantage

to John Bradley and ComEd.” Tr. 3752:11-14. A reasonable jury could conclude that

those payments benefitted Madigan by rewarding Moody, a loyal member of his

political operation, and ensuring that Moody would still have time and the incentive

to continue working for Madigan. In fact, Moody understood that if he stopped

working on Madigan’s political campaigns, he “would lose the contract,” or payments

he was getting from ComEd. Tr. 3661:17-3662:11. If Pramaggiore’s argument were to

be accepted, bribery could be legalized by the simple expedient of ensuring that all

payments benefitting a corrupt public official passed through the hands of others—

such as his friends and relatives. That is obviously not the case.

      Pramaggiore also argues that there was no need to bribe Madigan, because

ComEd’s legislation benefited the public interest. R. 264 at 13. This argument is

frivolous because it suggests that so long as legislation provides a net benefit, efforts

to procure its passage through bribery are immunized from prosecution. That is

obviously not the case. In any case, the jury heard evidence that ComEd faced

challenges in getting its legislation passed before 2011. E.g., Tr. 791:15-795:18

(testimony of Vogt). And, as discussed in detail above, the jury heard abundant

evidence that the defendants were extremely focused on the need to sway Madigan




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with regard to legislation, from which the jury could readily conclude that they

resorted to illegal means to do so.

      Lastly, Pramaggiore argues that the government cannot rely upon a “stream

of benefits” theory to prove a connection between the hires and legislation, because

the Seventh Circuit has held that such a theory requires an existence of an agreement

between the briber and the bribee. R. 264 at 14. Pramaggiore’s argument is yet

another attempt to inject a quid pro quo requirement into § 666. None of the cases

she cites involve a § 666 charge. See United States v. Solomon, 892 F.3d 273, 275 (7th

Cir. 2018) (convictions for wire fraud and honest services fraud); Ryan v. United

States, 688 F.3d 845, 847 (7th Cir. 2012) (convictions for violating the Racketeer

Influenced and Corrupt Organizations Act, the mail fraud statue, the Internal

Revenue Code, and lying to federal investigators); United States v. Silver,

948 F.3d 538 (2d Cir. 2020) (convictions for mail fraud, honest services fraud, Hobbs

Act violations, and money laundering). There is no such quid pro quo requirement,

as discussed in Section II.B.1, below.

                    b.     Ample Evidence Proved Pramaggiore’s Corrupt
                           Intent.

      Contrary to Pramaggiore’s argument (R. 264 at 14-21), there was more than

sufficient evidence in the record from which the jury could conclude that Pramaggiore

acted corruptly.

      Madigan’s control, the defendants’ clear understanding of the link between

Madigan and the bank-rolled associates, as well as the duration and amount of the

payments, all point to the corrupt nature of the benefits. See Rosen, 716 F.3d at 703


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(affirming conviction and finding of quid pro quo based in part on evidence that

payments far exceeded token gift amounts and were structured as monthly consulting

payments as opposed to one-off gifts). So too does the fact that the subcontractors did

little or no work for the payments. See United States v. Bruno, 661 F.3d 733, 744 (2d

Cir. 2011) (finding a quid pro quo based in part on the fact that defendant “performed

virtually non-existent consulting work for substantial payments”). And the corrupt

intent underlying these benefits is demonstrated by the lengths the conspirators went

to in order to conceal the true nature of payments made by the company. See, e.g.,

United States v. Dial, 757 F.2d 163, 170 (7th Cir. 1985) (“The defendants’ elaborate

efforts at concealment provide powerful evidence of their own consciousness of

wrongdoing . . .”).

       Pramaggiore points to other individuals, including Fidel Marquez and Tom

O’Neill, who did not believe that their actions were illegal to argue that Pramaggiore

must have believed the same. R. 264 at 15. Judge Kendall rejected exactly this type

of argument in United States v. Benalcazar, No. 09 CR 144, 2011 WL 4553027, at *11

(N.D. Ill. Sept. 29, 2011) (Kendall, J.). There, the defendant in a tax conspiracy case

sought to introduce “evidence of other witnesses’ lack of knowledge as to the legality

of the scheme to serve as circumstantial evidence that he also lacked the necessary

knowledge.” Id. Judge Kendall “disallowed such testimony because one person’s state

of mind is irrelevant to what another person actually believed.” Id. Moreover, even if

the state of mind evidence of another person were relevant (and it is not), Marquez

acknowledged that he appreciated his conduct was wrong, even though he did not



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have knowledge of what the law was. Tr. 2608:21-24, 2758:18-23. And evidence

someone else believed they had not committed any wrongdoing is not probative of

charges under § 666, where mistake of law is not a defense. See United States v.

Blagojevich, 794 F.3d 729, 738 (7th Cir. 2015). Setting aside these infirmities, the

jury had more than sufficient evidence to conclude that Pramaggiore acted with

corrupt intent with regard to each bribery count and the Count One conspiracy.

      Reyes Kurson (Count Two). Count Two charged McClain and Pramaggiore with

corruptly causing ComEd to give Reyes Kurson a contract in December 2016.

Pramaggiore argues that the government did not establish her corrupt intent because

ComEd General Counsel Tom O’Neill approved and renewed the contract in 2011 and

2016. R. 264 at 15-17.

      Although O’Neill initially hired Reyes Kurson in 2011 (Tr. 1375:22-1376:1), the

jury had evidence before it that Pramaggiore caused the renewal of the contract in

December 2016, which was the focus of Count Two.

      Moreover, Pramaggiore’s knowledge and involvement in the Reyes Kurson

contract leading up to December 2016 are probative as to her intent. In 2014,

Pramaggiore instructed O’Neill to go forward with the firm, even though O’Neill

wanted to cut the firm’s hours because there was not sufficient work for the firm. Tr.

1188:6-18.

      In early 2016, the project manager Mark Falcone, who was very close to

Pramaggiore and who was tasked with ensuring no items impeded the passage of

FEJA, was enlisted to make sure the Reyes Kurson contract situation was resolved



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to McClain’s satisfaction, even though Falcone had no role in supervising or

approving law department contracts. Tr. 1228:3-1230:15.

      Pramaggiore’s emails were also compelling evidence of her intent to corruptly

influence Madigan in connection with the renewal of Reyes Kurson’s contract.

McClain warned Pramaggiore by email of Madigan’s adverse “reaction” if the contract

was not renewed on favorable terms. GX320. Pramaggiore’s servile response (“I am

on this”) demonstrated her willingness to ensure Madigan stayed happy with ComEd

by providing a contract to a firm regardless of whether it was needed. GX320.

Pramaggiore also forwarded this email to O’Neill (GX318), and just ten days later

reported back to McClain: “I asked Fidel [Marquez] and Tom [O’Neill] to address

this.” GX321. The jury could easily conclude that Pramaggiore – O’Neill’s boss –

pushed him to renew the Reyes Kurson contract in early 2016.

      And significantly, in December 2016 – the focus of Count Two – O’Neill was

transitioning out of the General Counsel position and was therefore not in charge for

the Reyes Kurson renewal. When McClain asked about the law firm contract,

Pramaggiore told him it was on her agenda. In an email dated December 3, 2016, just

two days after ComEd’s FEJA legislation passed, Pramaggiore wrote: “Tom is

transitioning into new role. Fidel and I are meeting on Monday to make our list. This

will be on it.” GX393. This email clearly shows Pramaggiore was involved in the

decision to renew the Reyes Kurson contract in December 2016. And the timing

makes clear that this hiring was not in the ordinary course; it followed right on the

heels of ComEd’s major legislation.



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         Pramaggiore claims that “if an experienced white collar defense attorney did

not know that hiring the firm was forbidden, it is unreasonable to infer that Ms.

Pramaggiore did know.” R. 264 at 16. Whataboutism 7 is not a recognized defense to

violations of § 666. The jurors were charged with determining Pramaggiore’s intent,

not O’Neill’s. To illustrate the point, if the government had called witnesses to give

their opinion that they thought what Pramaggiore did was indeed a crime, the

defendants would have correctly and undoubtedly objected. It is improper to suggest

that ignorance of the law—by Pramaggiore or anyone else—was a defense to the

corruption charges, because willfulness was not an element of the offense.

         In short, the jury had ample evidence to find that the retention of Reyes Kurson

was not bona fide or in the usual course of business, and thus the 18 U.S.C. § 666(c)

exemption did not apply to Count Two. As this Court recognized, “[a] company cannot

use its payroll line on its accounting ledger to circumvent all Government oversight

of public corruption.” R. 83 at 6.

         Juan Ochoa (Count Five). Pramaggiore similarly argues that she lacked

corrupt intent when she pushed for Ochoa’s board appointment, because there were

legitimate reasons to hire Ochoa. R. 264 at 17-19. The jury was not required to reach

this conclusion from the record evidence. That evidence demonstrated that Ochoa’s

appointment was not a typical hiring recommendation, and that Pramaggiore’s




7  Whataboutism is the act or practice of responding to an accusation of wrongdoing by
claiming that an offense committed by another is similar or worse. See https://www.merriam-
webster.com/dictionary/whataboutism#:~:text=%CB%8C(h)w%C9%99%2D,another%20is%2
0similar%20or%20worse (last visited Sept. 22, 2023).

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decision had nothing to do with Ochoa’s qualifications. Indeed, Madigan pulled the

strings with regards to the Ochoa appointment; he directed Pramaggiore (through

McClain) to “keep pressing” for Ochoa (after she offered to secure some other position

that paid the same amount of $78,000 a year) (GX22), and, upon Pramaggiore

securing Ochoa’s appointment despite internal opposition, Madigan sought to deliver

Ochoa the news. GX 64; see also GX3; GX548, GX63, GX128.

      Pramaggiore kept pushing the Ochoa appointment (GX550, GX551, GX554),

and took credit for the push to appoint Ochoa and overcoming the resistance she

experienced: “I got that done.” GX65. When McClain thanked her for her efforts,

Pramaggiore expressed her corrupt intent to reward Madigan for his support of

ComEd’s legislation: “[Yo]u take good care of me and, and so does our friend and I

will do the best that I can to, to take care of you.” GX90. The jury had more than

enough evidence before it to conclude that Pramaggiore was sending a $78,000 thank

you to Michael Madigan for his support of legislation critical to ComEd. This was

not, as had been suggested by counsel in opening statements, a mere “cup of coffee.”

Tr. 355:6-356:22.

      Pramaggiore suggests that because Ochoa worked as a board member,

including after the government’s investigation of ComEd went overt in May of 2019,

she could not have acted corruptly. But Madigan called Ochoa in April 2018 to tell

him he would receive the appointment, more than a year before the government’s

investigation became overt. Tr. 3601:18-3602:5. As with the Reyes Kurson contract,

the jury reasonably concluded that the Ochoa appointment was not bona fide or in



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the usual course of business under 18 U.S.C. § 666(c). In addition, as with the Reyes

Kurson contract, the jury was entitled to give little weight to Pramaggiore’s

contention that she could not have corrupt intent because she informed individuals

like Tom O’Neill about Madigan’s recommendation of Ochoa. Pramaggiore kept

critical information about the bribery scheme from individuals, like O’Neill, and thus

his intent has no meaningful bearing on Pramaggiore’s. See, e.g., Tr. 1302:8-10. There

was ample evidence for the jury to conclude that Pramaggiore acted with corrupt

intent with regard to Count Five.

      Michael Zalewski (Count Six). Pramaggiore argues that subcontractor Michael

Zalewski was a legitimate hire, because he was qualified to work on the franchise

agreement between ComEd and the City of Chicago regarding operating within the

public right-of-way. R. 264 at 19-20; Tr. 1955:15-19. But the evidence at trial reflected

that Zalewski—like everyone else secretly paid through Doherty— performed no

work for ComEd.      Nothing at all.   In fact, negotiations regarding the franchise

agreement ceased after Chicago’s mayor decided not to run for re-election. Tr.

1955:20-1956:4. Despite that agreement being dead in the water, the payments to

Zalewski continued unabated—that is, until the investigation went public. Moreover,

the jury did not hear any evidence that Pramaggiore even knew Marquez had

considered using Zalewski for the franchise agreement. Instead, the evidence

demonstrated that Pramaggiore signed off on Zalewski’s hiring because he was yet

another Madigan subcontractor to be added to the “roster,” who would be paid to do

no work. GX22.



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      In May 2018, when McClain asked Pramaggiore about paying Zalewski at

Madigan’s request, Pramaggiore linked him with other subcontractors “hanging out

there,” meaning doing little to no work, and expressed concern that the new ComEd

CEO might ask questions about this arrangement: “[Y]ou know when Dominguez

comes in, he’s gonna look at all this stuff and . . . we got a lot of people hanging out

there and so one question Fidel and I had was, is there anybody who, you know, we

could sorta take off the roster?” GX22. The fact that Pramaggiore knew that

Dominguez might question the subcontractor arrangement shows she knew it was

not above board. In addition, Pramaggiore’s own false testimony about the Zalewski

episode, including her ham-fisted efforts to suggest she did not realize Zalewski was

a Madigan hire, permitted the jury to conclude that she not only was lying, but that

her contention that she lacked any corrupt intent was false as well. Dyer, 201 F.2d

at 269. Based on this and all the other evidence at trial, there was plenty of evidence

from which the jury could reasonably conclude that Pramaggiore knew that ComEd

had hired Zalewski, like the other subcontractors, not for legitimate reasons but to

corruptly influence and reward Madigan.

      2019 JDDA Renewal (Count Eight). Regarding the 2019 JDDA contract,

Pramaggiore contends that the government did not establish corrupt intent because

she had started her new role at Exelon before the contract was finalized and because

she advised Marquez to tell Dominguez the subcontractors were not doing any work.

R. 215 at 20. A rationale jury was entitled to reject these arguments.




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      First, the jury knew that Pramaggiore remained deeply involved in Illinois

after she became Exelon Utilities’ CEO, including with regard to Doherty’s contract.

Tr. 4635:9-14. Second, Pramaggiore’s clumsy efforts to explain away her conversation

with Marquez on February 18, 2019 (admitted as GX131) stretched reason, and the

jury was certainly not required to accept her account. Contrary to Pramaggiore’s

strained interpretation, Pramaggiore implored Marquez not to tell Dominguez what

was really going on with the Madigan subcontractors, for fear it would provide

Dominguez with ammunition against her. As Pramaggiore stated, if Dominguez was

clued in fully to what had happened, he would do a “victory lap” because he had found

another “mess” Pramaggiore had made. GX131. Rather than expressing alarm that

subcontractors had been paid for doing no work for many years, Pramaggiore was

concerned about damage control and her own reputation—and spinning a story that

would allow the subcontractor arrangement to evade Dominguez’s scrutiny for at

least one more legislative session. Id. So what she proposed was that Marquez wait

until session was over and then make up a story that “changes in the legislature”

justified change to the Doherty contract. Id. As Marquez testified, this was a phony

rationale to preserve the status quo, because Doherty did not work in Springfield—

so a change in the legislature there would be of no consequence to his contract. Tr.

2022:11-15. In short, Pramaggiore’s words on this call – particularly when considered

with the evidence described herein – allowed a rational jury to conclude that she was

a knowing, active leader in the scheme to corruptly influence and reward Madigan.




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                    c.     Ample   Evidence     Established  Pramaggiore’s
                           Awareness of the Connection between Madigan and
                           Subcontractors.

      Pramaggiore claims that the government did not prove that she knew the

subcontractors who were not referenced in the substantive § 666 counts (Olivo, Nice,

Moody, or Acevedo) were connected to Madigan. She addresses each piece of evidence

the government identified in response to Pramaggiore’s Rule 29 motion at the

conclusion of the government’s case in chief. R. 264. at 29-37 (citing R. 221 at 18-19).

To the contrary, these examples were more than sufficient to allow the jury to

conclude that Pramaggiore knew the subcontractors were Madigan associates.

Pramaggiore’s incredible testimony that she did not know about the Madigan

connection is further evidence of her guilt; her conversation with McClain made it

abundantly clear that she had full knowledge of Madigan’s connection to the

subcontractors, and her absurd denial of knowledge on the stand drove home the fact

that she was not to be believed.

      JDDA Contract. The Doherty contract fell under Pramaggiore’s budget as CEO

of ComEd. Given the contract was under her budget, she approved the contract and

invoices submitted for payment. Tr. 1889:18-1890:7; 3295:7-14. Pramaggiore argues

that the fact that she approved the Doherty contracts and invoices says nothing about

her awareness of the details regarding the subcontractors, and that she did not pay

close attention to items falling under her budget. R. 264 at 29-30. But the jury heard

that Pramaggiore was, on the contrary, very detailed oriented, and saw that she

signed single source justification forms approving the contract on two occasions. Tr.

4294:16-17; GX484; GX868. The jury could reasonably infer that Pramaggiore knew
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the details of a contract valued at several hundred thousand dollars coming out of her

budget, including the contract’s purpose; it did not have to credit Pramaggiore’s

testimony that she did not pay attention to what she was doing for years on end.

      June 2013 Moody Email. In a June 2013 email, McClain asked Pramaggiore to

consider removing Ed Moody from his contract, noting (1) that Pramaggiore and

Hooker had previously discussed it, and (2) that Pramaggiore and McClain had talked

about it but “wanted Session to be over first. Optics.” GX229. Pramaggiore then

directed Marquez to help move Ed Moody off of McClain’s contract. Id. Pramaggiore

points out that this email does not mention a connection between Moody and

Madigan. Pramaggiore conveniently omits McClain’s statements in the email that

Pramaggiore had already discussed Moody’s move multiple times, and that,

importantly, it was important to time the move around the legislative “session”

because of “[o]ptics.” GX229. This email thus clearly linked Moody to ComEd’s

legislative success and made it clear that Pramaggiore was fully aware of the reasons

for Moody’s engagement. Based on this email alone, the jury could infer Pramaggiore

knew Moody was associated with Madigan. Marquez testified that he spoke to

Pramaggiore about this request, and that he did not believe she had any confusion

about McClain’s request. Tr. 1899:7-16.

      Pramaggiore’s testimony underscored that she clearly knew this; she

implausibly claimed that she had no clue who Ed Moody was (despite receiving an

email about him), and that she only had “fleeting” awareness in 2014 of the fact that

Doherty had subcontractors. Tr. 4483:24-25; 4623:2-16; GX229; GX260. A jury could



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readily conclude that Pramaggiore’s testimony made no sense, given the evidence

that Pramaggiore knew about the subcontractor “roster,” GX22, together with her

repeated interactions with McClain and others about the Madigan subcontractors.

      2018 Hooker/McClain Conversation. In an April 2018 recorded call, McClain

informed Hooker that he had a meeting scheduled with Pramaggiore and stated: “So,

if you remember we have some people that are, um, recommendations from our friend

that, um, are, are paid by us, but they work under Jay Doherty . . . he’s asked for, to

add an additional person . . . Alderman Mike Zalewski.” GX12. McClain then told

Hooker he would ask Pramaggiore about adding Zalewski at their upcoming meeting.

Id. Pramaggiore argues that McClain did not specifically say that he would tell her

about the subcontractors’ connections to Madigan. R. 264 at 30. But McClain

explained the proposed Zalewski arrangement to Hooker as an “additional person”

recommended by “our friend” but paid for by ComEd, like the other subcontractors.

Given the absence of any hint in this or any other call of a need to obscure this fact

from Pramaggiore—and a host of other evidence demonstrating McClain’s

willingness to tell her about Madigan’s interests in various hires—the jury had plenty

of evidence to conclude Pramaggiore was fully informed. And, as discussed above,

Pramaggiore was already read into the Madigan subcontractor arrangement

(including by McClain), as demonstrated by other evidence, such as GX22, GX229,

and GX268.

      2018 McClain/Pramaggiore Conversation. The May 16, 2018 recorded call, in

which Pramaggiore told McClain she had directed Marquez to hire Zalewski also



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proves Pramaggiore’s corrupt intent, as discussed above. GX22. The call expressly

linked Zalewski and Madigan, demonstrating that Pramaggiore was well aware that

Zalewski was a Madigan associate. When Pramaggiore confirmed she told Marquez

to hire Zalewski, McClain responded, “I’ll tell a friend of ours so he can call him,”

clearly linking Zalewski to Madigan. Id. Pramaggiore immediately replied, “you know

when Dominguez comes in, he’s gonna look at all this stuff and . . . You know, we got

a lot of people hanging out there and so one question Fidel and I had was, is there

anybody who, you know, we could sorta take off the roster?” Id. Viewed in the light

most favorable to the verdict, this was not a mere request for advice about ComEd’s

lobbying lineup. R. 264 at 30-31. Rather, Pramaggiore expressed concern that

Dominguez, the new CEO, would catch wind of all the Madigan subcontractors (“the

roster”), who she knew were doing nothing (“hanging out there”). See also Tr. 1957:10-

1959:13 (Marquez testimony regarding GX22). This call shows that Pramaggiore

associated the other subcontractors with Madigan, and that she knew it was an

improper arrangement. Moreover, it demonstrated that Pramaggiore was asking for

Madigan’s authorization to remove someone from the roster—permission that was

not granted at that time.

      2018 McClain/Marquez Conversation. In a call recorded later in the day on

May 16, 2018, Marquez and McClain discussed Zalewski. GX23. Marquez said, “So

Anne, Anne mentioned your conversation with her about, about Mike. Um, what were

you thinking numbers wise?” Id. When McClain responded, “Five, five,” meaning five

thousand dollars, Marquez pointed out their other obligations, including Ray Nice.



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Id. McClain then walked Marquez through each subcontractor under the Doherty

contract and his importance to Madigan. Id.

      Pramaggiore argues that the fact that McClain told Marquez about the

connections between the subcontractors and Madigan does not mean that he informed

Pramaggiore. R.264 at 31. The jury did not have to see it that way. The recorded

call—which immediately followed McClain’s call with Pramaggiore (GX22)—was

compelling evidence of an ongoing conversation between Marquez, McClain, and

Pramaggiore about the subcontractors, payments, and their relationship with

Madigan. After all, Marquez hired Zalewski at Pramaggiore’s direction. Moreover,

none of the calls in this or any other time frame suggested Pramaggiore was to be

kept in the dark that requests came from Madigan. Indeed, the evidence was to the

contrary. For example, Marquez testified that shortly after he became Vice President

of Governmental Affairs in 2012, Pramaggiore and McClain showed him a “to do list”

of people Madigan wanted the company to hire, which Marquez understood

Pramaggiore felt was important. Tr. 1865:17-1866:23. Marquez testified that

Pramaggiore would direct other Madigan-related requests to him, which Marquez

was expected to “execute on.” Tr. 1867:3-20. And he explained that he would update

Pramaggiore on McClain’s requests. Tr. 1875:20-1876:10. And of course, as noted

above, McClain specifically linked this particular hire to Madigan in a direct call with

Pramaggiore. GX22.

      Marquez’s Testimony. As described above, Marquez’s testimony regarding his

relationship with Pramaggiore and his conversations with her in 2018 and 2019 about



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the Doherty subcontractors made clear that she knew about the Madigan

subcontractors and that they did no work. E.g., Tr. 1957:10-1961:20. 8

       Pramaggiore focuses on one line of questioning and complains that the

government “asked an artful series of questions designed to create the false

impression” that Marquez told Pramaggiore about the connection between the

subcontractors and Madigan. R. 264 at 32-35 (quoting Tr. 1960:20-1961:20).

Pramaggiore parses the wording in an effort to conjure up issues that do not exist.

Marquez not only testified that he reminded Pramaggiore about the Doherty

subcontractors (meaning this was not the first time they had discussed it), but also

that he suggested terminating some of the subcontractors to her, and that

Pramaggiore did not suggest he could remove them unilaterally. Tr. 1960:20-1961:20.

He also testified that he never discussed with Pramaggiore any legitimate work

performed by the subcontractors, that he understood Pramaggiore did not expect

them to do any work, and that Pramaggiore told him to hire Zalewski without

mentioning any skills he would bring to ComEd. Tr. 1958:5-1960:1. This is consistent

with the calls involving hiring and firing decisions where Pramaggiore totally failed

to discuss any work performed by the subcontractors. E.g., GX22, GX131.

       Marquez also testified that he spoke to Pramaggiore about McClain’s request

to move Ed Moody to another intermediary in 2013, after the legislative “session.”



8 Pramaggiore states that Marquez told the FBI it was only “possibl[e]” that she knew about

the Doherty arrangement. R. 264 at 32. No such evidence exists in the trial record. When
counsel for Pramaggiore asked Marquez about that statement, Marquez answered, “Yes,
that’s not inconsistent with what I said” (Tr. 2341:24-2342:2), but the Court then sustained
Pramaggiore’s request that that answer be stricken. Tr. 2342:4-5.

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GX229. Marquez testified that he didn’t believe Pramaggiore had any confusion about

McClain’s request. Tr. 1899:7-16. Based on this evidence, consistent with the

recordings and emails, the evidence before the jury allowed them to conclude that

Pramaggiore had known for years that the subcontractors were paid because of their

connections to Madigan and were not expected to work.

      Consistent with her failed effort to dissect the considerable evidence arrayed

against her and suggest there was no evidence in the record whatsoever that the jury

could rely upon to establish her guilt, Pramaggiore nitpicks one question the

government asked Marquez concerning Government Exhibit 22: “And based on the

fact that she never tasked them with work and told you to hire this person, what did

you understand her to be doing?” R. 264 at 34 (Tr. 1959:6-8). The Court properly

overruled defense counsel’s objection to this question. Tr. 1959:9-10. This question

did not improperly conflate Zalewski with the other contractors. Indeed, Marquez

testified that he reminded Pramaggiore about the other Doherty subcontractors when

they discussed Zalewski, as the recording itself corroborates. Tr. 1961:1-3; GX22. It

was appropriate for the government to ask Marquez about his understanding of this

conversation—and what he understood to be happening when he received orders to

add someone to the payroll without any corresponding description of what honest

work they would perform. The question also did not rest on a “false premise” that

Pramaggiore had responsibility for assigning outside lobbyists work. R. 264 at 34. As

stated above, the jury could reasonably infer that Pramaggiore knew the




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subcontractors would not do work, given that the conversation about hiring decisions

did not discuss any tasks or work performance.

      Pramaggiore also argues that she and Marquez expected that Zalewski would

perform valuable work for ComEd negotiating the City franchise agreement. Id. at

35. To the contrary, Marquez testified only that he thought Zalewski could be

valuable for such an effort. Tr. 1955:11-23, 2408:18-20. There is no evidence he

discussed this project with Pramaggiore. In fact, Marquez testified that Pramaggiore

did not discuss “any skills that Mr. Zalewski brought to the table that would be a

benefit to ComEd,” (Tr. 1959:23-1960:1), and that Pramaggiore did not tell Marquez

to hire Zalewski because of the franchise agreement. Tr. 2745:1-3. Marquez’s account

was corroborated by the recording of Doherty, a City of Chicago lobbyist, who

admitted that the subcontractors—including Zalewski—did nothing. Even the false

paperwork Doherty submitted to add Zalewski said nothing about a City franchise

agreement.

      Lastly, Pramaggiore misrepresents the government’s response to the

defendants’ Rule 29 motions, in which the government wrote: “Marquez had

suggested they check with McClain [before terminating any of the subcontractors]

because they were hired as a favor to Madigan.” R. 221 at 19. Contrary to

Pramaggiore’s argument (R. 264 at 34), this was consistent with Marquez’s testimony

that (i) he suggested to Pramaggiore they remove subcontractors; (ii) that he believed

he needed to check with McClain before doing so, and (iii) that Pramaggiore did not

suggest unilaterally removing people when that topic was raised with her. Tr.



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1961:13-20. Pramaggiore clearly also knew she needed to check with McClain,

because she asked McClain: “one question Fidel and I had was, is there anybody, you

know, we could sorta take off the roster?” GX22. When viewed in the light most

favorable to the verdict, this evidence permitted the jury to readily conclude that

Pramaggiore knew McClain had to be consulted before letting Madigan

subcontractors go given their connection to Madigan.

      2019 McClain/Marquez Conversation. On February 7, 2019, after Marquez

began cooperating with the government, he and McClain discussed new ComEd CEO

Joe Dominguez’s potential response to the renewal of the Doherty contract. GX123.

McClain explained that Dominguez, a former prosecutor, might react negatively to

the subcontractor arrangement, demonstrating that McClain knew of its illicit

purpose. Id. McClain likewise indicated that Pramaggiore knew this illicit purpose,

when he suggested that Dominguez might say, “Anne may have done that, but I don’t

feel good about this. Um, it, it, it looks raw to me.” Id. Indeed, McClain’s statement

indicates concern that Dominguez would raise red flags about the arrangement once

he had the same information that Pramaggiore had. This statement shows McClain’s

and Pramaggiore’s knowledge that the arrangement was corrupt (or “raw”). McClain

specifically linked his coconspirator Pramaggiore, demonstrating that Pramaggiore

(unlike the new CEO) had been fully read in to the corrupt arrangement. See, e.g.,

United States v. Loscalzo, 18 F.3d 374, 383 (7th Cir. 1994) (“. . . evidence of [a]

defendant’s acts or statements may be provided by the statements of co-

conspirators.”).



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      2019 McClain/Bradley Conversation. That same day, McClain also discussed

how he would explain the Doherty contract to Dominguez with lobbyist John Bradley,

who acted as a conduit for payments to Ed Moody and Edward Acevedo. GX122; Tr.

1934:11-20; 1938:5-9. McClain told Bradley that Marquez has “to sit down with Joe

Dominguez and explain it to him, and he wants to talk to me about how to do it

(laughs). Cause Anne was all in, and he thinks now Joe will push back.” GX122.

Pramaggiore objects on the grounds that McClain was quoting Marquez, who was

cooperating with the government at the time of the call. R. 264 at 36. The jury was

not required to take the narrow view of this comment Pramaggiore now espouses, and

given the standard of review this Court employs, this defense-friendly interpretation

of the evidence is improper. Seen in the light most favorable to the verdict and given

Pramaggiore’s gung-ho attitude towards hiring the likes of Zalewski at Madigan’s

request, the jury could have easily decided that McClain’s comment that “Anne was

all in” was an assertion of McClain’s own observations. This is thus highly probative

evidence of McClain’s and Pramaggiore’s corrupt intent. Consistent with the Court’s

ruling on the government’s Santiago motion (Dkt. 157), McClain’s statement in

furtherance of the conspiracy was admissible against his coconspirator, Anne

Pramaggiore. See, e.g., United States v. Lindemann, 85 F.3d 1232, 1238 (7th Cir.

1996) (a coconspirator’s statements are admissible against other coconspirators

where “the declarant and the defendant were involved in an existing conspiracy, and

that the statement was made during and in furtherance of that conspiracy”).




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      2019 Pramaggiore / Marquez Conversation. On February 28, 2019, in a

recorded call, Pramaggiore told Marquez that ComEd should renew the Doherty

subcontract to avoid “somebody getting their nose out of joint” in Springfield and the

company being “forced” to give a five-year contract. GX131. Marquez testified that he

understood Pramaggiore to be referring to Madigan and the risk that Madigan would

force ComEd to renew or extend a contract at a time when the company was seeking

legislation in Springfield. Tr. 2023:12-2024:7. Contrary to Pramaggiore’s argument

(R. 264 at 36), Marquez did not need to identify the subcontractors by name or by

reference to their connection to Madigan, because there was ample evidence that

Pramaggiore already knew of that connection, as discussed above. Indeed,

Pramaggiore’s immediate pivot to the impact of the arrangement on ComEd’s

legislation demonstrates that she knew exactly who Marquez was referring to and

their relationships with Madigan.

      Moreover, Pramaggiore proposed that Marquez lie to Dominguez, by telling

him to change the Doherty contract due to changes in the legislature. GX131. As

Marquez explained, Doherty did not work in Springfield, so that was not a legitimate

reason to revise his contract. Tr. 2022:11-18. Pramaggiore suggested this lie to protect

herself, because she believed the new CEO would do a “victory lap” over the “mess”

she had made with it. GX131; see also Tr. 2024:14-16. Moreover, far from expressing

surprise at the hires who did nothing but collect a check, Pramaggiore did not call for

an investigation or complain about why she had not been told of the matter before.

From all these facts, the jury could easily conclude that Pramaggiore knew about the



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Madigan subcontractors and was doing her best to bury the issue so Dominguez could

not exploit her malfeasance.

      Pramaggiore’s Testimony. As discussed in more detail in Section II.C.7, below,

Pramaggiore’s testimony provided additional reasons for the jury to discredit her

defense. Dyer, 201 F.2d at 269. Pramaggiore clearly lied when she testified that she

did not know that Doherty had subcontractors who were Madigan associates. Tr.

4627:2-12, 4631:5-24. And she lied when she claimed to have forgotten the February

2019 call when Fidel told her about the Doherty subcontractors, GX131. Tr. 4631:5-

24.

      Indeed, Pramaggiore testified on direct that she was “taken aback” when she

learned about the subcontractors who were “just collecting checks” in February 2019.

Tr. 4499:14-17 (discussing GX131, also identified as DX1156). But during the

interview, just seven months later, Pramaggiore claimed to have no recollection that

Jay Doherty employed any subcontractors and no memory of her February 2019 call

with Marquez (GX131). Tr. 4631:18-24. The jury could readily conclude that

Pramaggiore had blatantly lied when she claimed not to know about the no-work

subcontractors.

      Her lies about her failure of memory stood in stark contrast to her excellent

memory regarding other hiring requests ComEd received from various public

officials. Tr. 4631:25-4632:20. In short, the jury had ample opportunity to observe

Pramaggiore and assess her credibility and had ample basis to conclude she was lying




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about her knowledge of the subcontractors—and therefore, about her knowing

participation in the charged offenses.

                    d.    Ample Evidence Established that Pramaggiore
                          Joined a Conspiracy that Included the Solicitation
                          of Bribes from ComEd.

      In a short paragraph, Pramaggiore challenges the government’s proof on just

one object of the conspiracy charged in Count One, the conspiracy to solicit things of

value in violation of 18 U.S.C. § 666(a)(1)(B). R. 264 at 37. Of course, the jury was

only required to be unanimous as to one of the four objects of the conspiracy. R. 249

at 36 (unanimity instruction).

      That said, there was substantial evidence that Pramaggiore joined a

conspiracy that included as an object the solicitation of bribes for Madigan. R. 249 at

31. The government presented ample evidence of Madigan’s intent to be improperly

influenced, and Pramaggiore’s knowledge of Madigan’s intent. For example,

McClain’s told Pramaggiore and Hooker that Madigan would take adverse action if

they cut Reyes Kurson’s hours. GX318 (threatening that such a step would “provoke

a reaction from our Friend”). Similarly, McClain relayed a conversation with Madigan

to Pramaggiore and Hooker, in which Madigan asked for a “lead” person at ComEd

who would “snap to” when Madigan made a demand. GX 136. In that call, McClain

linked this request to legislation. GX136 (“if you want to pass this bill. . .”).

Pramaggiore drew the same connection when explaining to Marquez why payments

to the ghost payrollers had to continue in 2019—to avoid any obstacle to the

company’s legislative objectives in Springfield. GX131.



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      Pramaggiore described the link between the subcontractor payments and

Madigan in a 2014 email to Doherty, in which she thanked him for his “help in

creating an understanding with” Madigan. GX268. This email demonstrates that

Pramaggiore knew the “understanding” with Madigan was mutual: ComEd made

payments, Madigan took favorable action in terms of legislation.

      These exchanges and others clearly showed Madigan’s intent to corruptly

receive bribes from ComEd, and Pramaggiore’s knowledge that the conspiracy

subsumed efforts to corruptly solicit benefits for Madigan.

             3.    Arguments Raised by Defendant McClain

                   a.     Ample Evidence Established that McClain Joined
                          the Conspiracy Charged in Count One.

      McClain’s primary argument regarding the conspiracy count boils down to one

sentence—that the government failed to present sufficient evidence for a rational jury

to convict him on Count One. R. 266 at 15. The Court can in summary fashion deny

the motion as to Count One because undeveloped arguments are waived. United

States v. Collins, 361 F.3d 343, 349 (7th Cir. 2004) (legal issues not raised or

adequately developed are waived); United States v. Dunkel, 927 F.2d 955, 956 (7th

Cir. 1991) (“A skeletal ‘argument,’ really nothing more than an assertion, does not

preserve a claim.”). Moreover, as described in detail above, there is ample evidence,

when viewed in the light most favorable to the government, from which the jury could

find that McClain joined the charged conspiracy.

      McClain’s also cursorily states: “nobody thought that they were: bribing

Madigan by accepting job recommendations; falsifying ComEd books and records; or


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circumventing internal controls.” R. 266 at 15.      The evidence discussed above

demonstrated otherwise. He adds, “Defendants did not believe they were doing

anything illegal. There is no conspiracy.” Id. Again, the Court may dismiss such

undeveloped arguments as waived. Moreover, the Seventh Circuit has held that

mistake of law is not a defense to a charge under § 666. Blagojevich, 794 F.3d at 738.

                     b.   Ample Evidence Established that Actions McClain
                          Took Were in Connection with Legislation.

      McClain argues that the benefits provided to Madigan were not related to

legislation and that no defendant expressly asked for Madigan’s help with legislation.

R. 266 at 4-6. As discussed above, there was ample evidence from which the jury could

find that defendants intended to influence and reward Madigan in connection with

ComEd legislation.

      As another example, in an interception recorded while the so-called “Skinny

Bill” that would extend the favorable formula rate was pending in the General

Assembly in 2019 (Tr. 2028:3-5), Marquez asked Hooker how he believed “our

friend”—a code word for Madigan—would react if ComEd refused to renew the

Doherty contract. GX142. Hooker answered by referencing Madigan’s control over

ComEd’s legislative agenda: “You’re not going to do something for me, I don’t have to

do anything for you.” Id. Marquez testified that he understood Hooker to mean that

if ComEd did not continue with the subcontractor relationship, Madigan would

retaliate by ending his support for ComEd legislation. Tr. 2027:1-1028:2.

      Defendant Doherty echoed this theme when he told Marquez that the

subcontractors should continue to receive payments even though they did no work


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because ComEd’s “money comes from Springfield” and it was therefore important “to

keep Mike Madigan happy.” GX129.

       Finally, McClain is plain wrong that none of the defendants “received, asked

for, or even discussed any actions by Madigan to help with ComEd legislation from

2011-2019” and that Madigan “did not take any special action to assist ComEd.”

R. 266 at 4-5. For example, when FEJA was up for a final vote in December 2016, just

after the Reyes Kurson contract was renewed, Madigan helped secure the final votes

needed to pass FEJA, as Will Cousineau testified and as emails and calls

corroborated. E.g., GX19, GX628 (McClain emailing Pramaggiore that Cousineau “on

behalf of the Speaker [ ] was extremely helpful in us acquiring the necessary votes”

for FEJA”); Tr. 1621:2-1625:16. The jury had ample evidence to find the bribes were

connected to legislation, and that they paid off in spades.

                     c.      Ample Evidence Established McClain’s Corrupt
                             Intent.

       McClain next argues that the government did not introduce evidence of his

corrupt intent. R. 266 at 6-8. 9 Abundant evidence at trial—when viewed in the light

most favorable to the verdict—proved otherwise, as discussed above.

       Another example is the call between McClain, Pramaggiore, and Hooker on

February 20, 2019. GX136. McClain expressed concern that new ComEd CEO Joe

Dominguez would surmise that the company was bribing Madigan and would think




9 McClain proposes a new definition of the word “corruptly,” based on an incorrect reading of

the Seventh Circuit’s decision in Snyder, 71 F.4th at 579. R. 266 at 6. As discussed in Section
II.B.1, below, the jury instructions were wholly consistent with the analysis in Snyder.

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“that this is a quid pro quo and that he’s wired.” Id. McClain’s choice of words—

referring to the appearance of the subcontractor arrangement as a quid pro quo and

indicating Dominguez could cause trouble with law enforcement—shows his corrupt

intent.

      In yet another conversation, Hooker bragged about having set up the

subcontractor arrangement, which was “off the beaten path,” because there’s “just no

flow through,” and McClain agreed, “Right.” GX12. In doing so, McClain agreed that

the benefit of the subcontractor arrangement was that there was not a direct link

between the illicit payments and ComEd. These, and many other recordings and

emails demonstrated McClain acted with the requisite corrupt intent.

      Government Exhibit 271 similarly demonstrated McClain’s intent. In an email

dated November 13, 2014, McClain told Marquez that Madigan had asked McClain

“are there two Fidels?” GX271. McClain explained that Madigan expected more

urgency in responding to requests: “I do not know how to respond to our friend who

believes in his mind there should be a hard and quick favorable response.” GX271.

      McClain claims he made no effort to conceal the identity of the requestor in his

many emails (R. 266 at 7), but McClain’s many emails were to either his co-

conspirators—John     Hooker,    Anne    Pramaggiore,     Fidel   Marquez—or      their

subordinates, like Tom O’Neill. There was no need for McClain to be covert with

individuals in the know or who were acting at the coconspirators’ direction. In any

event, the non-conspirators were not read into the full activities of the conspiracy.




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       McClain also argues that the people who received jobs from ComEd were

qualified and provided value to the company. R. 266 at 7. The jury was not required

to accept this claim based on the evidence before it. Moody described how he did

minimal work for the checks he received—and no work for years on end—and that he

understood the purpose of the payments were to “stay active in my politics.” Tr.

3692:14-16. Moreover, although Reyes Kurson and Juan Ochoa performed actual

work, they were not hired or appointed on the basis of their expertise or skillset. The

jury had ample evidence to conclude that these were not bona fide fees paid in the

ordinary course of business, and that the 18 U.S.C. § 666(c) exemption therefore did

not apply. See United States v. Lupton, 620 F.3d 790, 802 (7th Cir. 2010) (quoting

United States v. Williams, 507 F.3d 905, 909 (5th Cir. 2007) (“Whether wages are

bona fide and earned in the usual course of business is a question of fact for the jury

to decide.”)).

       Finally, McClain insists that he expected everyone, including subcontractors,

to work, but the evidence at trial showed otherwise. In one call, McClain explained to

Hooker the benefits of the subcontractor arrangement by saying, “We don’t have to

worry about whether or not . . . [the subcontractors are] doing any work or not,”

indicating he knew the subcontractors did not add value to ComEd. GX126.

Moreover, McClain explained his practice to Bradley of having multiple individuals

on the payroll as consultants (including those at the request of Madigan), and that

all they did was give McClain pieces of paper, signifying that they did no real work

at all. GX77.



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      McClain also argues that he could not have corrupt intent because others,

primarily lawyers, did not raise a concern that the benefits to Madigan were illegal

bribes. As discussed in Section I.C.2.b., above, it is no defense to point to another

individual’s state of mind; not only that, but ignorance of the law is no defense to

violating § 666. Moreover, the jury had more than sufficient evidence to conclude

that McClain acted with corrupt intent.

      In short, McClain’s suggestion that the record was devoid of any evidence from

which the jury could conclude McClain possessed corrupt intent is frivolous.

             4.     Arguments Raised by Defendant Hooker

      Hooker contends that there was insufficient evidence to convict him on Count

One because there was no evidence that he did not expect the subcontractors to do

work. R. 262 at 10. The jury was entitled to conclude that the evidence at trial proved

otherwise.

      In an intercepted conversation on February 11, 2019, Hooker and McClain

discussed the renewal of the Doherty contract for 2019. Hooker not only bragged that

he set up the contractor arrangement but consulted with McClain on how to sell the

arrangement to Dominguez, demonstrating that he was still actively participating in

the conspiracy. Specifically, McClain told Hooker that he had told Marquez to be

“transparent” with Dominguez about the subcontractors: “We had to hire these guys

because Mike Madigan came to us. That’s it’s that simple.” GX126. Hooker agreed,

“[t]hat’s how simple it is.” Hooker boasted that the Doherty subcontractor

arrangement was “clean for all of us.” GX126. Hooker also agreed with McClain when

he said they did not have to worry about whether the newest subcontractor, Mike
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Zalewski, was “doing any work or not.” GX126. Hooker laughed in agreement, and

said, “That’s right.” GX126. Contrary to Hooker’s argument (R. 262 at 15-16), the jury

had abundant evidence to conclude Hooker and McClain set up the subcontractors

through Doherty because they knew the subcontractors would not work.

      On the witness stand, Hooker confirmed that he never gave Frank Olivo or Ray

Nice any assignments, that he was not aware of any work they ever did for ComEd,

and that he did not even interview Olivo. Tr. 4882:14-24, 4904:1-5. He likewise

testified that he never heard of Marquez giving assignments to the subcontractors.

Tr. 4925:18-4926:4. In short, the jury had abundant evidence to find that Hooker

knew the subcontractors would not and did not do any work.

      Hooker also argues that the subcontractor payments were not corrupt because

they were not a secret. R. 262 at 11. But Hooker recognized the importance of

concealing the reason for the payments. He bragged about how the Doherty

subcontractor arrangement was “off the beaten path” and created no “flow through,”

meaning no direct flow of money that would lead back to ComEd. GX12. Hooker

attempts to spin this call, by saying that there was no information about whether the

subcontractors Hooker added—Olivo and Nice—remained on the contract and

whether they worked. R. 262 at 15. But McClain initiated the conversation by noting

that “we have some people that are, um, recommendations from our friend that, um,

are, are paid by us, but they work under Jay Doherty.” GX12 (emphasis added). When

McClain mentioned that Madigan asked for “an additional person” (referring to




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Zalewski), Hooker’s laughed, demonstrating that he knew Zalewski was being added

at Madigan’s request, just like Olivo and Nice.

      Hooker similarly argues that the Doherty contract was not corrupt because

subcontractors were commonplace at ComEd. R. 262 at 12. But the jury heard

recordings where Hooker described the subcontractor arrangement as “creative.”

GX17. Hooker also described the reaction of Madigan to the arrangement, by noting

Madigan thought it was “crazy.” GX12. The jury could properly conclude that a typical

subcontractor arrangement – where a subcontractor gets paid to do actual work –

could hardly be described as either “creative” or “crazy.” The jury could also

reasonably conclude that such an arrangement was irregular because the hiring of

subcontractors some eight years earlier would not be the subject of back-slapping

phone calls between McClain and Hooker where they praised each other for their

ingenuity. The jury was entitled to conclude that the arrangement was thought to be

“creative” and “crazy” by those who formulated it precisely because it was a bribe

disguised as a subcontractor agreement. Indeed, the jury could have easily concluded

that Hooker’s preposterous testimony confirmed the illegal nature of the payments.

Dyer, 201 F.2d at 269 (jury may conclude, based on false testimony that the opposite

of the false testimony is in fact true). Hooker told a number of whoppers during his

stint on the stand, which included his testimony that the method of indirect payment

was devised for purposes of streamlining his management responsibilities, Tr.

4900:25-4902:4, despite the fact he had specifically noted on a recording the plan had

been run by Madigan and others who had considered it “crazy,” and had guffawed



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with McClain that the arrangement had “paid off” for “us” in the past. GX12. In this

case, Hooker’s absurd testimony was damaging and corroborated the government’s

evidence of his participation in the charged offenses. The jury necessarily found he

perjured himself in convicting him on all counts.

      Hooker also argues that it was not “‘reasonably foreseeable” to Hooker, after

he retired in March 2012, that the JDDA contract would be used as a conduit to bribe

Madigan. R. 262 at 12. But Hooker continued to be involved in ComEd’s affairs as an

external lobbyist after he retired, and he remained involved in the subcontractor

arrangement even after he retired. He had numerous conversations with McClain

about the subcontractors, including in the calls discussed above. And Jay Doherty

described Hooker’s role in a meeting recorded in 2019; he said that Hooker would

always call him and say, “I’m going to slug this guy on,” and would check in with

Doherty about the subcontractors every six to nine months. GX129. In that same call,

Doherty told Marquez that the subcontractors did no work, so the jury could readily

conclude that he had told Hooker the same thing. GX129.

      Although Hooker maintained that Doherty’s statements were false during his

testimony (Tr. 4897:7-25), the jury was free to assess his credibility and conclude that

it was Hooker who was lying. Not only had Hooker told tall tales on the witness stand

about other matters, but the undercover recording of Doherty—made at a time when

Doherty did not know he was under investigation—refuted Hooker’s contrary

testimony. The jury was under no obligation to credit Hooker as a truthful witness,

and clearly concluded he was a liar.



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       The jury heard additional evidence that Hooker set up the subcontractor

arrangement, continued to be involved, and knew of its corrupt purpose, even after

his retirement in 2012: 10

       •   During a meeting with Marquez on January 29, 2019, Hooker explained
           that “me and McClain was—I was the one that created it,” which Marquez
           testified meant that Hooker and McClain had “created the mechanism or
           process by which the subcontractors were added.” Tr. 2001:1-16; GX118.
           Hooker also agreed that new CEO Joe Dominguez might “push back” on the
           renewal of the contract, which also signaled his understanding of the illicit
           nature of the arrangement. GX118. 11

       •   During an in-person meeting with McClain and Marquez on February 27,
           2019, Hooker again consulted on the renewal of the Doherty contract and
           acknowledged its corrupt purpose. Marquez asked Hooker what he expected
           Madigan’s response would be if the subcontractors were not renewed.
           Hooker replied that Madigan would respond as follows: “‘Oh. Okay. You’re
           not going to do it? You’re not going to do something for me, I don’t have to
           do anything for you.’ He won’t say it.” GX142. 12 Marquez testified that he
           understood Hooker to mean that “if we don’t continue with the
           subcontractors, that would signal to Michael Madigan, ‘Since you’re not
           going to continue with these subcontractors, I don’t have to support your
           legislation.’” Tr. 2027:1-16. Marquez testified that Hooker’s reference to
           “hurt[ing] us” meant that Madigan could hurt the company “in terms of our
           legislative effort.” Tr. 2027:17-2028:5. Hooker thus directly connected the
           subcontractor payments with the success of ComEd’s legislation. Hooker
           also stated that Dominguez would not be “amenable” to renewing the
           contract because he wouldn’t “understand why it’s in place and how it’s in
           place.” GX142. Had the contract been a simple contract entered in the


10 Hooker recites Marquez’s testimony at length, in an effort to minimize Hooker’s
involvement in the subcontractor arrangement. R. 262 at 13-14. But the jury had ample
evidence of Hooker’s own words to prove his intent.
11 Hooker complains that Marquez did not specifically mention to Hooker that the
subcontractors did not work. R. 262 at 17. But the jury could find that Hooker already knew
this; there was no need for Marquez to spell it out. In addition, contrary to Hooker’s argument
(R. 262 at 16), Hooker’s suggestion to Dominguez a “write up on each one. Who they are . . .
what they do” does not demonstrate that Hooker thought the subcontractors did real work;
the jury could find this was another effort to conceal the true nature of the payments.
12 Hooker contends that, “The Government offered no evidence—direct or circumstantial—

that Hooker expected anything in return form Madigan for hiring Olivo and Nice.” R. 262 at
20. This recording is evidence on this point.

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           ordinary course, it would not have been difficult for Dominguez to
           appreciate its purpose.

       •   In an intercepted conversation with McClain on March 6, 2019, after
           McClain told Hooker that others were “scared” to discuss the Doherty
           contract with Dominguez, Hooker explained that “with the Jay Doherty
           stuff, you gotta little leg up,” and “that which is understood need not be
           mentioned.” GX148. Again, Hooker was referring to the connection between
           ComEd legislation and the subcontractor arrangement.

Based on this evidence, Hooker’s claim that he had no involvement with the Doherty

contract between 2012 and when he was recorded in 2018 and 2019 is implausible.

R. 262 at 13-14.

       Hooker next argues that the government presented insufficient evidence to

demonstrate his involvement in the Reyes Kurson contract, hiring of interns and

other Madigan job recommendations, and the appointment of Juan Ochoa to the

ComEd Board of Directors. R. 262 at 17-20. But the evidence the jury had

demonstrated Hooker’s involvement in multiple aspects of the conspiracy’s illegal

activities.

       Hooker was copied on emails regarding Reyes Kurson and was involved in the

initial retention of the firm. General Counsel Tom O’Neill testified that he spoke to

Hooker about Reyes Kurson before entering into the first contract with the firm in

2011. Tr. 1181:14-17. Hooker said something to the effect of: “Tom, you need to move

on Victor Reyes. It’s important we get this done. What do we need to do to get this

done?” Tr. 1182:2-4. O’Neill testified that Hooker made it clear because “there was an

interest from Speaker Madigan in this.” Tr. 1182:5-10. Based on this evidence,

coupled with the fact that Hooker was copied on later emails about Reyes Kurson

(GX315, GX318), the jury could easily conclude that Hooker played a role in Reyes’

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Kurson’s hiring and retention. The same is true of other job recommendations about

which Hooker was copied. E.g., GX425.

       Moreover, to find Hooker guilty of Count One, the jury need not have concluded

that he was involved in every object and overt act that were part the conspiracy.

Rather, the jury was instructed that it need only find that the conspiracy existed,

that Hooker knowingly became a member of the conspiracy with an intent to advance

it, and that one of the conspirators committed an overt act in an effort to advance a

goal of the conspiracy on or after November 18, 2015. See R. 249 at 28.

       Hooker argues that the government did not present sufficient evidence that

anything of value was provided to Madigan in connection with ComEd legislation.

Like McClain and Pramaggiore, Hooker argues that the government relied solely on

timing to establish the bribes were connected with ComEd legislation. R. 262 at 20-

21. As discussed above, it is clear that, while the timing of benefits was compelling

evidence, the government’s evidence was not limited to this evidence. As but one

example, Hooker repeatedly linked the subcontractor payments to legislation,

demonstrating that he was well aware of the connection. E.g., GX12 (“that has paid

off for us in the past.”); GX148 (“little leg up”).

       Hooker, also like Pramaggiore, argues that the government failed to present

evidence that he joined a conspiracy to solicit bribes for Speaker Madigan with the

intention that Madigan have the necessary mental state for receiving such bribes.

R. 262 at 21. The government presented ample evidence of Madigan’s intent to be

improperly influenced, and Hooker’s knowledge of Madigan’s intent. See, e.g., GX136,



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GX318. Indeed, Hooker demonstrated his understanding of Madigan’s intent in

receiving benefits from ComEd by explaining to Marquez what would happen if those

benefits stopped. See GX142 (“You’re not going to do something for me, I don’t have

to do anything for you.”). As described in detail above, there was ample evidence that

Hooker joined a conspiracy to bribe Madigan by bestowing on him a stream of

benefits, of which the payments to the Doherty subcontractors were a part.

      For the reasons discussed above, the jury had ample evidence to convict Hooker

with respect to Count Eight, the only substantive bribery count in which Hooker was

named, which was focused on the 2019 renewal of Doherty’s contract. The evidence

showed that Hooker remained involved in the subcontractor arrangement. Moreover,

the jury could have properly found Hooker guilty on Count Eight as either an aider

and abettor or under a Pinkerton theory, as discussed in Section II.D.3, above.

             5.    Arguments Raised by Defendant Doherty

      First, Doherty argues that he did not know about ComEd legislation because

he was a lobbyist who worked in Chicago and Cook County rather than Springfield.

R. 271 at 3-4. But this fact underscores the corrupt nature of the subcontractor

arrangement. On February 13, 2019, when Marquez asked Doherty if the

subcontractors should be renewed, even though they did not do work, Doherty himself

pointed out the direct connection between the arrangement and ComEd’s political

fortunes in the state house: “ComEd money comes from Springfield, right?” GX129.

He followed up: “[I]f it ain’t broke, then don’t fix it with those guys.” GX129. Thus,

Doherty’s argument that he had no knowledge of ComEd’s dealings in Springfield is

frivolous. He knew Madigan’s importance to ComEd’s legislation, and he knew the
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subcontractors were paid to ensure that legislative success. Indeed, the evidence at

trial demonstrated that Doherty had worked for ComEd since 1985, and that he had

done work for ComEd in connection with the passage of FEJA.                 Under these

circumstances, there was plenty of reason for the jury to conclude that Doherty had

a sufficient understanding of ComEd’s business model and how it generated

revenues.

      Doherty argues that the subcontractor arrangement was not illegal because

there is no evidence that anyone told him that the hirings were connected with

legislation or that they should not do any work. R. 271 at 4-5, 17-18. But the jury

heard Doherty explain the arrangement in his own words. In the same February 2019

conversation, addressed above, Marquez asked Doherty to about the work the

subcontractors performed under Doherty. Doherty responded, “Not much . . . to

answer the question. Not much.” 13 GX129. Doherty added, “[T]hey keep their mouth

shut . . . [D]o they do anything for me on a day to day basis? No.” Id. Doherty’s answer

clearly shows he knew the subcontractors did not do any work and that the

arrangement was illicit, because everyone involved knew not to say anything. And

again, later in the conversation, when Marquez proposed changing the arrangement,

Doherty advised Marquez not to make changes, to avoid causing any issues with

“ComEd money” in Springfield. Id. Doherty even acknowledged that this type of



13 Doherty attempts to frame the problems with the subcontractors as they “did not provide

Doherty with a list of work performed month to month” and that “they did not perform
consistent work from month to month.” R. 271 at 18-19. These statements grossly
mischaracterize the evidence. The evidence, as Doherty recognized in his February 2019
conversation with Marquez, was that the subcontractors did virtually no work.

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arrangement would be difficult for someone outside of Chicago to understand—an

observation that underlined the illicit nature of the ghost payroller arrangement was,

for merely paying consultants to do honest work would not have been a difficult

concept to understand. GX129.

      Doherty knew that he had to keep the subcontractors quiet. He told Marquez,

“this is just you and me talking,” and that he didn’t “even know who else knows this,”

and that the subcontractors “keep their mouths shut.” GX129. And as Doherty told

Marquez in January 2019, “the only people that even know about this are you and

perhaps Anne, if she even remembers the particulars, John Hooker, and me.” GX115.

He promised Marquez that he had “never, ever, ever said a word as per conversation

way back when.” GX115. Consistent with these recordings, McClain also told Hooker

that Doherty has been “wonderful” with the subcontractors and “doesn’t even blink

about it.” GX 12. All of this was compelling evidence of Doherty’s guilt.

      Doherty contends that the government’s evidence regarding the secrecy of the

subcontractor arrangement was not persuasive (R. 271 at 9-10, 20), but that was for

the jury to decide. To refute this compelling evidence, Doherty points out that the

subcontractors revealed their relationship with ComEd in public filings and that

Doherty never told his assistant—Janet Gallegos—to keep the subcontractors a

secret. Id. at 10. But the public filings did not disclose that the subcontractors did no

work for ComEd, or that they were hired to corruptly influence Madigan. And

Gallegos testified she did not know why Doherty added the subcontractors to his




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contract, so she had no secrets to keep. Tr. 2801:1-6; 2816:25-2817:15; 2848:8-13;

2894:19-22.

      Doherty argues that his statement that ComEd should renew the

subcontractor arrangement to “keep Madigan happy,” meant little more than “we

don’t want to make waves.” R. 271 at 8 (quoting GX129). 14 Yet again, the defendant

fails to employ the correct standard of review to the juror’s verdict. The evidence is

not to be viewed in the light most favorable to defense counsel; Doherty enjoyed the

presumption of innocence and was convicted. At this stage, the facts are viewed in

the light most favorable to the government and the juror’s verdict. Given Doherty’s

statements that the subcontractors did not work, his statements about Springfield

being the source of ComEd’s money, and the other evidence above, the jury could, and

did, easily conclude otherwise.

      Doherty argues that his statements are too general to establish guilt. R. 271

at 19. The jury was free to evaluate the meaning of Doherty’s statements and draw

reasonable inferences from those statements and the other evidence.

      Doherty also argues that the subcontractor arrangement was legitimate

because the subcontractors were qualified lobbyists. R. 271 at 5-6, 18. Whether

someone is qualified for a position is of no import if the reason for the hiring was not

those qualifications, but to corruptly influence a politician, as the evidence at trial




14 Doherty also argues that his statement that the subcontractors “keep Madigan happy” is

no different than testimony O’Neill gave about the decision to hire Reyes Kurson. R. 271 at
9. As discussed above, O’Neill’s statement of mind has no bearing on the other defendants’
state of mind.

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showed. The jury was instructed on the 18 U.S.C. § 666(c) exception for bona fide

wages paid in ordinary course of business, and properly found the exception

inapplicable.

      Doherty also acknowledges that Doherty received extra payments from

ComEd, but he complains there was no evidence about the reason for this extra

payment. R. 271 at 11, 21. Gallegos testified that extra payments from ComEd—to

the tune of an additional $1,000 to $1,500 per month—started when ComEd added a

new subcontractor. See, e.g., Tr. 2810:17-2811:7; 2823:1-11; 2850:23-2851:13. This

was not a random increase in payment to Doherty, as he suggests. See R. 271 at 11.

Rather, the jury could reasonably infer that the timing of this increase in payment

was compensation Doherty received for facilitating the illegal activity.

      D.        The Government Presented Sufficient Evidence to Sustain
                Convictions on the FCPA Related Counts.

      The government turns to the sufficiency arguments presented by each

defendant as to the FCPA-related counts: Count One (in part); Three, Four, Seven,

and Nine.

                1.   Arguments Raised by Defendant Pramaggiore

                     a.   The Government Introduced Sufficient Evidence
                          Pramaggiore Caused the Preparation of False
                          Documents.

      Defendant Pramaggiore contends the evidence was not sufficient for the jury

to conclude that any of the documents relating to the renewal or amendment of the

Doherty contract were false. R. 264 at 21-25, 38. The evidence at trial included

numerous documents indicating that payments Doherty received were for legitimate


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services rendered. For example, Doherty’s 2017 contract—which was approved by

Pramaggiore—specified that all the payments made under the contract were “as

consideration for the monthly services of” Doherty, namely, advising “ComEd on

legislative issues affecting ComEd and its subsidiaries.” GX868; see also GX764;

GX772. That was a lie; a substantial portion of the payments were destined to the

Madigan subcontractors who did no such work. 15 Moreover, the jury heard that

ComEd’s motivation for paying these individuals was not so that they could assist

Doherty, as Doherty told Marquez during a recorded conversation. GX129. Rather,

as described in detail above, ComEd paid these individuals at Madigan’s request, for

the purpose of corruptly influencing Madigan. This improper purpose was not

disclosed.

         Indeed, Fidel Marquez testified that the contract was inaccurate precisely

because it did not identify why the subcontractors were part of the contract, and that

they were not providing any services to ComEd in return for payment. Tr. 1925:21-

31:16.

         The 2018 amendment to Doherty’s contract to add Michael Zalewski was

similarly false, as it described Doherty’s “expanded role” in exchange for the

additional payments he would receive. GX769. This was plainly false because Doherty

did not have an expanded role concerning Cook County at all; rather, defendants



15 Pramaggiore argues that, to the extent the documents are false because they omitted that

the payments were intended to bribe Madigan, there is no evidence she knew that many of
the subcontractors—Acevedo, Moody, Nice, or Olivo—were connected to Madigan and that
she expected Zalewski to work. R. 264 at 24. As discussed above, the government introduced
sufficient evidence for the jury to determine otherwise. See Sections I.B, I.C.2

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arranged for Doherty to receive more money so that he could then pay Zalewski in

exchange for no work. GX531; Tr. 2895:5-2896:7; 1956:2-4.

      The single source justification forms supporting the renewal of the Doherty

contract—including those approved by Pramaggiore in 2017 and 2018—were also

false. GX868; GX484. Each provided a justification for why there was no competitive

bidding process for the contract. Tr. 1929:5-9. Specifically, the forms explained that

Doherty provided expertise as a consultant that could not be obtained elsewhere.

GX868; GX484. That was a lie. Rather, Doherty’s monthly fees were so high because

a substantial portion of the payments went to the subcontractors and were intended

to influence Madigan. ComEd did not pay these subcontractors for their expertise;

indeed, they in reality did nothing.

      Indeed, Carrie Bourque testified that it was important that the justifications

in the single source justification form were accurate because those forms could be

audited. Tr. 3297:2-13. This was equally true of midyear amendments, like the 2018

amendment to Doherty’s contract, because “if all of a sudden they’re giving out more

money, then there must be something they’re getting for that money, right.” Tr.

3305:7-15. She also testified that she learned that vendor payments were actually

made to benefit a public official, she would have called the ethics hotline. Tr. 3327:19-

3328:9. This testimony alone demonstrates the importance of the false statements

made on the single source justification forms and contract amendment.

      Lastly, Pramaggiore argues that the contracts and other documents cannot be

false because there was no requirement that subcontractors be listed. R. 264 at 24-



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25. 16 This argument misstates the government’s theory. The documents were false

not merely for omitting a technical element of the contract, but because the contracts

were written to purposefully obscure the true purpose of the payments and objectively

false information was provided. The payments were not solely for Doherty’s

consulting services (or for consulting services to be rendered by the subcontractors)

but were intended to influence and reward Speaker Madigan. When Doherty’s

invoices, month after month, claimed to be for “professional services,” this was a lie.

GX799 (Doherty invoices). When the contract amendment purported to be for an

expanded scope, this was a lie. GX769. And when those payments were processed

through ComEd’s accounting software, purporting to be for consulting services when

they were not, these lies littered ComEd’s and Exelon’s general ledger. Tr. 3487:17-

3488:14; 3501:5-7; GX702 (ComEd / Exelon internal payment records).

                     b.     The Government Introduced Sufficient Evidence of
                            Pramaggiore’s Intent to Falsify Documents.

       Pramaggiore challenges the sufficiency of the evidence of her intent to falsify

documents. R. 264 at 25-27. First, she argues that the government cannot prove she

intended to falsify the Doherty contracts for 2017 and 2018 (Counts Three and Four),

because she did not personally sign these contracts, and the 2019 contract

amendment (Count Nine), because she had already left ComEd CEO. R. 264 at 26.

This argument fails for several reasons.



16 Pramaggiore also points to contractual language saying, “The independent contracting
relationship shall be established between such contractor and Consultant exclusively.” R. 264
at 23. But the evidence showed that Pramaggiore made the decision to put Zalewski on
Doherty’s contract. See, e.g., GX22.

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      First, as Pramaggiore acknowledges and as discussed above, she did sign false

single source justifications for the Doherty contract in 2017 and 2018. GX868; GX484.

Pramaggiore again argues that these “technical” documents did not require mention

of subcontractors. R. 264 at 26. But the forms did require truthful justifications of

the payments. As discussed above, the omission of the subcontractors misstated the

reasons for the payments and hid the true reason why the Doherty payments were so

high—to pay Madigan associates for no work.

      Moreover, as Elizabeth Lynch (Director of Corporate Accounting at Exelon)

testified, Pramaggiore was responsible not just for signing the single source

justifications, but for approving payments under the contract on an ongoing basis.

See, e.g., GX702; Tr. 3497:4-3499:12. Accordingly, each payment under the contract

generated a false entry in the general ledger of the company for which Pramaggiore

was directly responsible. And while Pramaggiore did not personally sign each

contract with Doherty, a reasonable jury could conclude that she caused their creation

and authorized their scope, as demonstrated by, for example, her direction to

Marquez to hire Zalewski. See GX22. And her involvement in pushing for the

contracts continued into 2019, even when she had moved to Exelon. GX131. Such

evidence established her liability as an aider and abettor. In addition, as discussed

further below in response to the arguments presented by defendant Hooker, a

reasonable jury could have found Pramaggiore guilty under a theory of Pinkerton

liability as to the substantive counts of the indictment, including the books and

records charges. See Section II.D.3.



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                   c.       Ample Evidence Established that Pramaggiore
                            Conspired to Circumvent Internal Controls.

      Finally, the government presented ample evidence of an agreement to

circumvent internal controls, as alleged as one of the objects of the Count One

conspiracy. R. 264 at 39.

      As a threshold matter, Pramaggiore is wrong that “[t]he only ‘internal control’

that the Government presented is Exelon’s Corporate Code of Business Conduct” (the

“Code of Conduct.”) R. 264 at 39. Pramaggiore ignores the testimony of Elizabeth

Lynch, who testified at length about Exelon’s accounting processes, including

ComEd’s and Exelon’s controls and processes designed to ensure that vendor

payments were for proper purposes. These internal controls included requiring the

submission of invoices before payment, the requirement that invoices be approved by

someone “familiar with the charges,” and the requirement that payments be for

services actually rendered. Tr. 3513:20-3514:19. Ms. Lynch also testified about the

importance of accurate invoices, and how payment justifications feed into ComEd’s

and Exelon’s general ledgers. Tr. 3487:17-3488:14; 3501:5-7. Carrie Bourque testified

that single-source justification forms – such as the two Pramaggiore signed – are

necessary for contracts above $250,000 in part to ensure that the utility’s money is

properly spent. Tr. 3293:7-3294:20. Ms. Bourque emphasized the importance of

accurate justifications in the single-source justification form, which are subject to

auditing. In addition, as a public utility, ComEd is required to “bringing the best

possible prices and using their money that they pay us for the utilities in a wise and

competitive way” and to accurately explain any deviations from the “standard


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process” of competitive bidding. Tr. 3297:4-13. These were all internal controls

designed to ensure accurate financial reporting. See 15 U.S.C. § 78m(b)(2)(B).

       Pramaggiore is also wrong that the Code of Conduct is not evidence of an

internal accounting control. R. 264 at 39. The Code of Conduct relates directly to the

ways management ensures accurate reporting of financial information and the proper

authority to make financial commitments. Specifically, the 2015 and 2016 Code of

Business Conduct describes internal controls related to ComEd’s accounting systems,

including: (i) “Never make an entry in any record that intentionally misrepresents,

conceals or disguises the true nature of any transaction, event or condition,” and (ii)

“Record all business transactions, events and conditions accurately, completely, and

in a timely fashion.” GX739. There was more than sufficient evidence that

Pramaggiore approved transactions that did not comply with these standards in order

to circumvent these internal safeguards.

              2.     Arguments Raised by Defendant McClain

       Defendant McClain raises essentially the same arguments as Pramaggiore.

R. 266 at 8-14. Like Pramaggiore, McClain argues that the government did not prove

a false book or record because the evidence at trial demonstrated that there was no

requirement to list subcontractors on the forms the government identified. For the

reasons explained above, this argument fails. 17


17 McClain also cites the testimony of former ComEd CEO Joe Dominguez, who said at trial

that a single source justification form that omitted the names of subcontractors was not, “in
[his] opinion,” false. R. 266 at 10 (quoting Tr. 4193:7-14). In a footnote, McClain argues that
Dominguez’s testimony may be binding on ComEd as CEO (id. at n.3), but he fails to explain
how Dominguez could bind ComEd as its former CEO or how binding ComEd has any
relevance in the context of a motion for judgment of acquittal. In any event, the single source
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      McClain also contends that there was no evidence that he knowingly or

willingly falsified a book or record, because he did not have responsibility or access to

internal ComEd documents, did not have any role in creating, signing, approving, or

reviewing JDDA contracts or single source justification forms, and was not aware of

ComEd’s internal accounting practices. R. 266 at 11-12. But, like Pramaggiore,

McClain also is liable under Pinkerton and aiding and abetting law for these offenses.

The falsification of the records was a key part of the conspiracy to funnel illicit

payments to Madigan’s associates and avoid detection. McClain played an integral

party in this conspiracy as the conduit between ComEd and Madigan. McClain’s

liability does not depend on his personal signature on any of the false documents

where, in many instances, he caused their creation by, for example, enlisting Shaw

Decremer and John Bradley to act as intermediaries for payments to individuals such

as Ed Moody. Tr. 1911:1-1913:4; 1934:11-1938:6. Invoices sent by both individuals to

ComEd (as well as resultant payment records generated by the company) made it

falsely appear that payments made to these individuals were for legitimate lobbying

services, when in fact the payments were in large measure made to corruptly

influence Madigan for no work. Tr. 3490:14-3491:22; 3492:7-3494:3.

      McClain certainly knew that he was causing false documentation to be created

as part of ComEd’s books and records, and that this was part and parcel of the plan




justifications were not false simply because they omitted subcontractors, but because they
affirmatively mispresented why payments were being made to Doherty. Moreover,
Dominguez’s testimony is nothing more than an impermissible legal opinion offered by an
attorney. See Section II.C.5.a.

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to funnel bribes to Madigan’s associates through intermediaries. McClain explained

to Bradley that he had routinely arranged for the creation of false records to

camouflage payments that were made to benefit Madigan: “at one point in time I had

uh, maybe five consultants working for me . . . and all they ever really did is give me

pieces of paper.” GX77. One of those consultants was Ed Moody, who was indirectly

paid by ComEd. This call showed that McClain knowingly caused the creation of false

documents to avoid detection and was well aware that the Madigan hires necessitated

the falsification of books and records. Indeed, at one point, McClain instructed

Bradley, who was paying Moody on behalf of ComEd, that he should still pay a holiday

“bonus” to Moody after his payments were terminated. GX111. This, of course, was a

lie, because Moody never did any work for Bradley that would entitle him to a

“bonus.” Tr. 3762:1-12.

      McClain is also liable for these offenses as an aider and abettor. As described

above, the jury heard considerable evidence reflecting that for years, McClain

facilitated the continued payment of Madigan’s associates through the Doherty

contract. By promoting and counseling the continued creation of contracts, invoices,

and other documents that falsely described the intended recipients of payments and

the purpose of such payments, McClain aided and abetted the substantive books and

records offenses. In addition, as discussed further below as to the arguments made

by defendant Hooker, McClain has Pinkerton liability as to the substantive counts of

the indictment, including the books and records charges. Section II.D.3.




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             3.     Arguments Raised by Defendant Hooker

      Hooker argues that the government failed to present any evidence of an

agreement to commit the crime of falsifying documents and circumventing internal

controls. R, 262 at 21-22. As a member of this conspiracy and a former high-level

executive at ComEd, the generation of false contracts and invoices that masked the

true purpose of the subcontractors was reasonably foreseeable to Hooker.

      Hooker argues that he cannot be held liable for violating the books and records

provisions of the FCPA because he had retired as a full-time employee from the

company. R. 266 at 24-25. But it was Hooker who created the illegal payment

arrangement in 2011 and set it in motion when he was head of the company’s

legislative affairs department. See GX126 (Hooker: “We came up with this plan”);

GX118 (“me and McClain was—I was the one that created it”); Tr. 2001:1-11

(Marquez explaining that Hooker meant that he and McClain had “created the

mechanism or process by which the subcontractors were added”). Hooker continued

to play a role in the contract after he became an exclusive consultant for the company

and continued to monitor the subcontractors as described by Doherty in a recorded

conversation throughout the existence of the conspiracy. See GX129 (Doherty stated

that Hooker would call to check on the subcontractors and report back to Madigan).

Moreover, Hooker continued to monitor and give fellow conspirator McClain advice

about how to have the contract renewed in 2019, when Dominguez became ComEd’s

CEO. GX126; GX148. Even though he had retired, Hooker was still very much

involved in ComEd affairs. Moreover, even if he had abandoned an active role as to

this object of the conspiracy, he was still liable for his participation in the conspiracy
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at its inception as described above, because “one cannot avoid liability for conspiracy

simply by ceasing to participate” in the conspiracy. United States v. Schiro, 679 F.3d

521, 528-29 (7th Cir. 2012) (citations omitted).

      The jury also had sufficient evidence before it to find Hooker guilty under

Pinkerton v. United States, 328 U.S. 640, 647-48 (1946), in that the evidence showed

that Hooker joined the conspiracy, and the falsification of records were reasonably

foreseeable acts taken in furtherance of the conspiracy by his fellow conspirators. See,

e.g., United States v. Rachel, No. 16 CV 7631 (N.D. Ill.) (Leinenweber, J.) [ECF # 12

at 4] (describing court’s earlier decision to convict defendant after bench trial on

substantive count based on Pinkerton theory of liability). Given his previous role as a

senior executive within the company, and his role in creating the subcontractor

arrangement and taking steps to conceal the true purpose of the arrangement, it was

reasonably foreseeable to Hooker that his fellow conspirators would continue to

falsify internal records over the years that followed. Indeed, in ruling on the

government’s motion to admit conspirator statements, the Court rejected the

defendants’ argument that there was not a concerted effort to falsify documents, by

noting that the evidence proffered by the government reflected that the act of

falsifying records was “part and parcel” of the charged conspiracy to influence

Madigan. R. 157 at 4 (citing Nye & Nissen v. United States, 336 U.S. 613, 617 (1949)).

      In addition, Hooker is liable for the books and records violation charged in

Count Nine as an aider and abettor. Title 18, United States Code, Section 2 provides

“[w]hoever commits an offense against the United States, or aids, abets, counsels,



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commands, induces or procures its commission, is punishable as a principle.” As the

Supreme Court has explained, an accomplice is liable as a principal when he gives

assistance or encouragement with the intent thereby to promote or facilitate

commission of the crime. Rosemond v. United States, 572 U.S. 65, 71 (2014) (citations

omitted). Once knowledge of an aider and abettor is established, it “does not take

much to satisfy the facilitation requirement.” United States v. Woods, 148 F.3d 843,

848 (7th Cir. 1998) (quoting United States v. Bennett, 75 F.3d 40, 45 (1st Cir. 1996)).

Here, Hooker advised and counseled how to secure approval for the renewal of the

Doherty contract for 2019, which was a necessary prerequisite to the continued

creation of false documentation that Hooker initiated eight years earlier, in 2011.

This is sufficient to establish Hooker’s liability as an aider and abettor as to Count

Nine.

        Hooker contends he is not liable as an aider and abettor because he did know

the subcontractors did not work. R. 262 at 25-26. For the reasons discussed above,

the jury’s contrary conclusion was supported by evidence in the record. See Section

I.C.4. Accordingly, Hooker’s involvement setting up and advancing the unlawful

underlying scheme shows his knowledge of the falsification of documents related to

that scheme.

               4.    Arguments Raised by Defendant Doherty

        Doherty argues that the evidence is not sufficient as to the books and records

charges because he had no knowledge of ComEd forms or accounting processes. R. 271

at 11-12, 21-22. In addition to the fact that Doherty is subject to Pinkerton and aiding

and abetting liability, as discussed above, the jury also heard evidence reflecting that
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Doherty was a long-time businessman who was in a position to understand that

falsely describing the nature of payments would cause the creation of false entries in

the books and records of a company. See, e.g., Tr. 2790:17-2791:22. Here, Doherty

provided false justifications to ComEd, in his invoices and in the contract requisition

process, and was intimately involved in the contracting process. E.g., GX399, GX544,

GX630, GX799. Indeed, the jury could easily conclude that Doherty was familiar with

ComEd’s business practices, because he had been working for the company for more

than thirty years, beginning in 1985. Tr. 2709:10-12. Moreover, Doherty was aware

that he was being asked to provide accurate information so there could be an internal

justification as to why the payments under the contract were being increased. See,

e.g., Tr. 2887:17-2889:21. Indeed, Doherty kept submitting false invoices to the

company after conceding in a recording with Marquez that the Madigan

subcontractors were not performing any work. In these circumstances, there is

sufficient evidence for the jury to determine that Doherty was aware of the likely

consequences of his actions.

II.   The Defendants’ Motions for a New Trial Should Be Denied.

      A.     Legal Standard for a New Trial

      A court may vacate a judgment and grant a new trial upon a defendant’s

motion “if the interest of justice so requires.” FED. R. CRIM. P. 33; see also United

States v. Berg, 714 F.3d 490, 500 (7th Cir. 2013); United States v. Smith, 674 F.3d 722,

728 (7th Cir. 2012). A new trial is in the interest of justice where “the substantial

rights of the defendant have been jeopardized by errors or admissions during trial.”

United States v. Kuzniar, 881 F.2d 466, 470 (7th Cir. 1989).

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      “[A] defendant is entitled to a new trial if there is a reasonable possibility that

a trial error had a prejudicial effect upon the jury’s verdict.” United States v. Van Eyl,

468 F.3d 428, 436 (7th Cir. 2006). Rule 33 motions are generally disfavored, and

courts should only grant them in “the most extreme cases.” United States v. Coscia,

4 F.4th 454, 465 (7th Cir. 2021) (quotation marks and citation omitted). “A jury

verdict in a criminal case is not to be overturned lightly, and therefore a Rule 33

motion is not to be granted lightly.” United States v. Santos, 20 F.3d 280, 285 (7th

Cir. 1994) (quotation marks and citation omitted).

      A failure to make a prompt objection during trial results in forfeiture. See

United States v. Olano, 507 U.S. 725, 731 (1993). Courts apply plain error review to

claims that have been forfeited. E.g., United States v. Diggs, No. 18 CR 185-1, 2022

WL 615033, at *21 (N.D. Ill. Mar. 2, 2022), aff’d, No. 22-1502, 2023 WL 5688801 (7th

Cir. Sept. 5, 2023). Plain error review requires a new trial only if “(1) an error

occurred, (2) the error was plain, (3) it affected the defendant’s substantial rights,

and (4) it seriously affected the fairness, integrity, or public reputation of the

proceedings.” United States v. Gan, 54 F.4th 467, 475 (7th Cir. 2022). In addition,

errors that are harmless do not merit a new trial under any circumstance. Id. at 475;

see also Neder v. United States, 527 U.S. 1, 7 (1999).

      B.     The Court Committed No Error in The Jury Instructions.

             1.     A Quid Pro Quo is Not an Element of § 666.

      Defendants argue that the jury instructions regarding the elements of 18

U.S.C. § 666 were deficient for failing to require the jury to find a quid pro quo. E.g.,

R. 264 at 41-46. As this Court has repeatedly ruled, there is no basis to import a quid

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pro quo requirement onto § 666. E.g., R. 83; Tr. 3885:10-25. 18 The plain text of § 666,

and the Seventh Circuit’s case law, reflects no such requirement, whether the case is

charged under the intent to influence (bribery) or the intent to reward (gratuity)

provision of § 666. 19 As the Seventh Circuit recently reiterated, and as discussed in

detail below, the Seventh Circuit has “refused to import an additional, specific quid

pro quo requirement into the elements of § 666.” United States v. Snyder,

71 F.4th 555, 579 (7th Cir. 2023) (quoting Agostino, 132 F.3d at 1190).

       A statute must be interpreted consistent with its plain meaning. See, e.g.,

Salinas v. United States, 522 U.S. 52, 56 (1997) (interpreting § 666 based on its plain

text, and recognizing “[t]he enactment’s expansive, unqualified language, both as to

the bribes forbidden and the entities covered”). By its plain text, § 666(a)(2) makes it

a crime to offer, give, and agree to give, things of value to another person, where the

giver acts “corruptly, with the intent to influence or reward” an agent of a State or

local government agency in connection with some business, transaction, or series of

transactions of the government agency. 18 U.S.C. § 666(a)(2).

       Relying on the statute’s plain language and structure, the Seventh Circuit

repeatedly and unequivocally has held that no quid pro quo agreement or

understanding is required to establish a violation of § 666. See, e.g., United States v.



18 The government incorporates its prior briefing on this issue.

19 The distinction between a bribe and a gratuity has been described as follows: “If the payer’s

intent is to influence or affect future actions, then the payment is a bribe. If, on the other
hand, the payer intends the money as a reward for actions the payee has already taken, or is
already committed to take, then the payment is a gratuity.” United States v. Agostino, 132
F.3d 1183, 1195 (7th Cir. 1997). Pramaggiore concedes that the Seventh Circuit has expressly
held that § 666 applies to gratuities. R. 264 at 43.

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Mullins, 800 F.3d 866, 871 (7th Cir. 2015) (holding that evidence of quid pro quo is

not necessary to establish a violation of § 666(a)(1)(B)); United States v. Boender, 649

F.3d 650, 654 (7th Cir. 2011) (noting that “it is clear that our circuit, like most others,

does not require a specific quid pro quo” in cases involving charged violations of

§ 666(a)(2)); United States v. Gee, 432 F.3d 713, 714 (7th Cir. 2005) (holding that a

quid pro quo is sufficient but not necessary to violate § 666(a)(1)(B)); United States v.

Agostino, 132 F.3d 1183, 1190-91 (7th Cir. 1997) (§ 666(a)(2), “by its statutory

language, requires that the defendant act ‘corruptly . . . with intent to influence or

reward,’” and on that basis “declin[ing] to import an additional, specific quid pro quo

requirement into the elements of § 666(a)(2)”).

       The Seventh Circuit recently reaffirmed its past precedent, and recognized

that “we have refused to ‘import an additional, specific quid pro quo requirement into

the elements’ of § 666.” Snyder, 71 F.4th at 579 (quoting Agostino, 132 F.3d at 1190).

The defendants made incessant assurances to this Court before, during, and after

trial that the Seventh Circuit was poised to hold that § 666 did not cover gratuities.

But not only did the panel in Snyder unanimously conclude that its prior precedent

on this matter was correct and that § 666 does indeed cover gratuities, but a grand

total of zero judges in regular active service on the Seventh Circuit thought the

panel’s decision affirming Circuit precedent deserved en banc review. See United

States v. Snyder, No. 21-2986 (7th Cir. July 14, 2023) [ECF #65].

       Having lost yet again in Snyder with their argument that prosecutions under

§ 666 require proof of a quid pro quo, the defendants nonetheless make the frivolous



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argument that Snyder completely reworked § 666 jurisprudence in the Seventh

Circuit and that the case somehow stands for the proposition that a quid pro quo

must be proved for bribery cases under § 666. R. 264 at 51. That conclusion would

come as somewhat of a surprise to the defendant in Snyder, whose conviction was

affirmed based on the pattern instructions given in that case and who unsuccessfully

sought rehearing en banc. Unsurprisingly, Pramaggiore fails to cite any portion of

Snyder; in fact, the language of Snyder clearly affirmed prior decisions that affirmed

jury instructions that reject the idea that the government must prove a quid pro quo.

In short, the defendants’ argument is not to be taken seriously. Snyder made no

change to the pattern jury instructions that would affect this case. 20

       Pramaggiore further argues that references in the jury instructions to

gratuities or rewards should have been stricken because the government relied

exclusively on a bribery theory at trial. R. 264 at 42-43. This is incorrect. Although

the government often described the benefits Madigan received as bribes, the

government also characterized a number of them as gratuities. Tr. 5147:15-25;

5175:9-14; 5198:18-19; 5199:1-22; 5207:1-4; 5219:1-8 The evidence at trial showed

that defendants conferred benefits on Speaker Madigan over a period of 8 years, both

before and after key legislation was passed. Indeed, when McClain thanked



20 Because the government proved quid pro quo bribery, even in the absence of a specific quid

pro quo instruction, as discussed above, any instructional error was harmless. See, e.g.,
United States v. Jordan, No. 22-40519, 2023 WL 5521059, at *7-8 (5th Cir. Aug. 25, 2023)
(finding harmless error even though jury instructions did not include quid pro quo as
required in the Fifth Circuit, because “[a] review of the record in this matter establishes that
there was sufficient evidence of a quid pro quo”).



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Pramaggiore for her efforts to secure the appointment of Juan Ochoa to the ComEd

Board of Directors, Pramaggiore’s response explicitly linked the appointment to past

efforts Madigan had taken to benefit ComEd: “[Yo]u take good care of me and, and so

does our friend and I will do the best that I can to, to take care of you.” GX90. And

just two days after FEJA passed in early December 2016, Pramaggiore told McClain

that she would work to renew Reyes Kurson’s contract, which is consistent with a

gratuity theory. GX393.

      In addition, Pramaggiore challenges the instruction defining “corruptly.” The

court instructed the jury that the government was required to show that the

defendants acted “with the intent that something of value is given or offered to reward

or influence an agent of State government in connection with the agent’s official

duties.” R. 249 at 37. This instruction paralleled the one approved by the Seventh

Circuit in United States v. Hawkins, 777 F.3d 880, 882 (7th Cir. 2015); in that case,

the Seventh Circuit explained that the Circuit’s pattern instruction was the source

for its explanation of what “corruptly” meant: “This definition of ‘corruptly’ comes

from the Seventh Circuit’s Pattern Criminal Jury Instructions (2012 ed.) for § 666,”

which tracks the pattern instruction given in this case. Far from requiring a quid pro

quo, Hawkins held that a public official need not agree or even intend to perform an

official act to be convicted under § 666. Id. at 882.

      Snyder cites Hawkins’s discussion of the term “corruptly” (and its reference to

the pattern instruction on this term) with approval, 71 F.4th at 580 (citing Hawkins,

777 F.3d at 882); in other words, the Seventh Circuit has just reiterated that the



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definition of corruptly that is found in the Circuit’s pattern instructions correctly

conveys the concept to the jury. That formulation parallels the instruction the Court

gave in this case and indicates that the Seventh Circuit intended no change to the

pattern jury instructions. Insofar as the defendants suggest that the Seventh Circuit

intended to add to or change the pattern instruction on the term “corruptly,” they are

mistaken.

              2.     The Court Correctly Declined to Give Defendants’
                     Proposed “Goodwill” Instruction.

       Pramaggiore argues the Court erred by refusing to give defendants’ proposed

“goodwill” instruction. R. 264 at 46-48. Specifically, defendants requested the Court

instruct the jury that “[i]t is not a crime to give a thing of value to a public official to

build a reservoir of goodwill that might ultimately affect one or more of a multitude

of unspecified acts, now and in the future.” R. 140, Proposed Instruction No. 31.1.

       The Court properly rejected this instruction, which deviates from the Seventh

Circuit pattern instructions. This is not the first public corruption case in this district,

and yet, defendants point to no Seventh Circuit case involving § 666 finding it

necessary to give a “goodwill” instruction. Defendants cite United States v. Sun-

Diamond Growers of Cal., 526 U.S. 398 (1999). In Sun-Diamond, the Supreme Court

considered the extent to which a gratuity required a connection between the act and

the thing of value conferred and concluded that the Government must reference a

particular “official act” that the gratuity was intended to reward. 526 U.S. at 405. But

Sun-Diamond relates to 18 U.S.C. § 201, which defines and uses the phrase “official




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act” in its prohibition of illegal gratuities. Id. at 406 (citing 18 U.S.C. § 201). Section

666 contains no analogous definition or provision.

       Pramaggiore insists that the omission of a goodwill instruction deprived her of

a fair trial because it permitted the jury to convict her without knowing that it is legal

to give things of value to public officials if the intent is to build goodwill. R. 264 at 47.

But the proposed “goodwill” instruction was essentially the mirror image of the

pattern corrupt intent instruction the jury received and was therefore unnecessary

and redundant. The Court properly instructed the jury that it must find a defendant

acted “with the intent that something of value is given or offered to reward or

influence an agent of State government in connection with the agent’s official duties.”

R. 249 at 37. Thus, the jury was required to find that the defendants’ efforts were

specifically intended to influence or reward Madigan in connection with his official

duties. The Court likewise instructed the jury that it must find a connection to a

“business, transaction, or series of transactions involving legislative activity

involving a thing of value of $5,000 or more.” Id. These instructions sufficiently

guarded against a finding that token gifts were given simply to build generalized

goodwill. Indeed, courts have held that a finding of corrupt intent necessarily

excludes a finding of goodwill. See United States v. McNair, 605 F.3d 1152, 1195 (11th

Cir. 2010). Thus, a “goodwill” instruction would have been redundant and would have

risked confusing the jury. See, e.g., United States v. Lunn, 860 F.3d 574, 580 (7th Cir.

2017) (affirming denial of theory-of-defense instruction that would have stated that

defendant lacked the intent to defraud if he acted in good faith and honestly believed



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the accuracy of financial statements, because the instruction was “at best redundant”

of the intent instruction given by the court); United States v. James, 464 F.3d 699,

707 (7th Cir. 2006) (affirming denial of theory-of-defense instruction, where “this

theory of defense was intrinsically part of the charge and the failure to provide these

instructions did not deny James a fair trial”); United States v. Hill, 252 F.3d 919, 923

(7th Cir. 2001) (“Unless it is necessary to give an instruction, it is necessary not to

give it, so that the important instructions stand out and are remembered.”); United

States v. Allegretti, 340 F.2d 254, 259 (7th Cir. 1965) (en banc) (district court need not

give cumulative or repetitious instructions simply because the defendant prefers the

language in one instruction over the language in another). 21

              3.      The Court Correctly Declined to Give Defendants’
                      Proposed “Good Faith” Instruction.

       Pramaggiore complains that the Court refused to give her proposed instruction

regarding her purported good faith defense with regard to the false books and records

counts. R. 264 at 48 (citing R. 140 at Proposed Instruction No. 35.1). This instruction

was unnecessary because the “willfulness” definition adequately instructed the jury

on the mens rea requirement in this context; the good faith instruction did not add

anything. Cf. United States v. Chanu, 40 F.4th 528, 543 (7th Cir. 2022); United States

v. Caputo, 517 F.3d 935, 942 (7th Cir. 2008). 22 Moreover, the proposed instruction,




21 Because the “goodwill” instruction was redundant of the instructions given to the jury, any

failure to give this instruction was harmless error. See Neder, 527 U.S. at 17 (error in jury
instruction was harmless).
22 For this reason, any incorrect failure to give this instruction was harmless error. See Neder,

527 U.S. at 17. The government maintains its objection to the “willfulness” instruction given
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while ostensibly limited to the books and records allegations, did not make it

sufficiently clear that it did not apply to the charges under § 666, as it referred

broadly to Count One. The Court properly rejected this instruction.

             4.     The Court Correctly Declined to Give Defendants’
                    Instruction Concerning Vicarious Liability as Proposed.

      Pramaggiore challenges the Court’s decision to give Pattern Instruction 5.02,

rather than defendants’ significantly modified and misleading proposed version.

R. 264 at 49-51.

      Pattern Instruction 5.02 provides, “A person who acts on behalf of a corporation

also is personally responsible for what he does or causes someone else to do. However,

a person is not responsible for the conduct of others performed on behalf of a

corporation merely because that person is an officer, employee, or other agent of the

corporation.” William J. Bauer Pattern Jury Instructions (2022) at 87. Defendants’

proposed version of this instruction strategically omitted the first sentence of the

pattern. R. 140 at 42. Without the first sentence, this instruction reads as if a person

cannot be responsible for actions their subordinates completed—for example, at that

person’s direction—and therefore would have risked confusing the jury. Indeed,

during the jury instructions conference, counsel for Pramaggiore argued: “[T]he

modification from the pattern, we dropped language suggesting that a person cannot

hide behind a corporation, cannot say, ‘I’m not guilty because I’m part of a




by the Court (R. 237 at 6-9), which improperly increased the government’s burden of proof
for the FCPA counts. This further renders a good faith instruction unnecessary.

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corporation.’” Tr. 4990:11-14. But this is exactly the language that defendants kept

as part of the instruction.

         Pramaggiore’s arguments that this sentence should have been omitted lack

merit. First, she argues that the instruction would have prevented the jury from

concluding that she, as ComEd’s CEO, should have known about the subcontractors.

R. 264 at 49. But the Court read to the jury the second sentence of the pattern—“a

person is not responsible for the conduct of others performed on behalf of a

corporation merely because that person is an officer, employee, or other agent of the

corporation”—which protected against conviction on the basis of Pramaggiore’s title

alone.

         Pramaggiore argues that this instruction risked the jury convicting her

because she “cause[d] someone else to do something” without finding she had corrupt

intent. Id. But the jury received a separate instruction requiring that it find corrupt

intent. R. 249 at 32. Instructions are considered as a whole, not in piecemeal fashion.

United States v. Grady, 746 F.3d 846, 848 (7th Cir. 2014) (citation omitted). These

two instructions are not inconsistent, nor did the pattern instruction reduce the mens

rea to a negligence standard, as Pramaggiore suggests.

         Pramaggiore likewise insists the Court should have added a sentence: “You

may not convict a person on the basis that he or she should have known that he or

she was participating in wrongdoing, rather than on the basis of his or her actual

knowledge,” drawing from United States v. Vallone, 698 F.3d 416, 465 (7th Cir. 2012).

R. 264 at 49-50 (discussing R. 140 at 42). The Seventh Circuit discussed this principle



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in the context of an ostrich instruction. There was no ostrich instruction in this case.

Pramaggiore claims such an instruction was necessary to prevent the jury from

convicting based on a negligence standard. Id. at 50. Since the pattern instruction did

not reduce the mens rea of the offense to negligence, this additional sentence would

have been redundant and plainly was unnecessary. And as discussed above, the jury

was properly instructed on the applicable mens rea. 23

              5.     The Court Did Not Err by Giving a Pinkerton Instruction.

       Pramaggiore challenges the Court’s decision to give the pattern Pinkerton

instruction. R. 264 at 50-52. She does not suggest that the Court misstated the law

or argue that such an instruction was inapplicable in this case. Rather, Pramaggiore

contends that the Pinkerton instruction may have confused the jury by inserting

“gratuitous . . . complexity.” Id. at 51. On the contrary, the pattern instruction

provided was relatively straightforward in explaining the Pinkerton theory of

liability, which has been a fixture of criminal law for almost 80 years. None of the

defendants offered any proposed language in an effort to clarify the Pinkerton

instruction (R. 140 at 80), and thus their complaint that the instruction was too

complex is waived or forfeited.

       Pramaggiore cites United States v. Manzella, where the Seventh Circuit

disapproved of a so-called Pinkerton instruction, which was so compressed that it did

not even “state clearly that a defendant can be convicted of a substantive crime



23 Because this instruction was redundant of the instructions given to the jury, any failure to

give this instruction was harmless error. See Neder, 527 U.S. at 17 (error in jury instruction
was harmless).

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committed by his coconspirator in furtherance of the conspiracy” and “failed to

present the Pinkerton doctrine in an intelligible form.” 791 F.2d 1263, 1268 (7th Cir.

1986). Insofar as Pramaggiore suggests the Seventh Circuit Pattern Committee failed

to correctly explain Pinkerton liability, she is incorrect, and in any case failed to

contemporaneously explain how the pattern instruction is incorrect. Indeed, the

defendants objected to a non-pattern Pinkerton instruction being provided to the jury.

This case was not uniquely complicated such that a Pinkerton instruction injected

undue complexity, as Pramaggiore suggests; an indictment with a conspiracy charge

often involves multiple objects, substantive offense, and defendants, as in this case.

      The Seventh Circuit has ruled that, for a Pinkerton instruction to be adequate,

it must “advise the jury that the government bears the burden of proving all elements

of the [Pinkerton] doctrine beyond a reasonable doubt.” United States v. Stott,

245 F.3d 890, 908 (7th Cir. 2001) (citing United States v. Sandoval-Curiel, 50

F.3d 1389, 1394-95 (7th Cir. 1995)). The pattern instruction, which the Court

provided to the jury, does exactly that. Bauer Pattern Jury Instructions (2022) at 110-

112; R. 249 at 48-49. There was no error.

      Pramaggiore points to a jury question, which she claims demonstrates that this

instruction did, in fact, confuse the jury. R. 264 at 51. Specifically, the jury asked, “If

on instructions pg 43 (Instruction #39) [the books-and-records instruction] you don’t

believe the government proved ‘beyond reasonable doubt, can pg 48 of the instructions

[the Pinkerton instruction] still be applied? Yes or No … P.S. This includes the burden

of proof by the government.’’ Tr. 5516:17-22.



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      The defendants have waived this claim of error, because they collectively

insisted that the Court take no steps to clarify the matter in spite of the government’s

request that the Court do so. Tr. 5524:9-5526:16. Having resisted any effort to clarify

the application of the Pinkerton instruction, the defendants cannot complain about

their own handiwork.

      The objection is misplaced in any case. Contrary to Pramaggiore’s assertion,

this question does not imply that the Pinkerton instruction resulted in an erroneous

conviction. Rather, the question merely suggests that the jury was asking for

clarification on the applicability of Pinkerton as an alternative theory of liability on

the books-and-records counts. Indeed, the jury need not have found a particular

defendant committed all elements beyond a reasonable doubt specified in Instruction

No. 39, provided that the jury found the government proved all elements beyond a

reasonable doubt set forth in Instruction No. 44, precisely as the question implies.

             6.     The Instructions for 18 U.S.C. § 666 Did Not Need to
                    Specify Madigan or Limit the “Things of Value” to
                    “Legislation.”

      Pramaggiore complains that the Court did not modify the pattern instructions

for § 666 to identify Madigan or limit the “things of value” to “legislation.” R. 264 at

52-53. First, defendants cite no support for their argument that the Court should

have inserted the term “Michael Madigan” or “Mr. Madigan” in the instructions.

Indeed, there is none. Pramaggiore argues that inserting Madigan’s name was

important to prevent the jury from convicting defendants for influencing or rewarding

a person who was not Madigan. Id. at 52. Neither in their briefing or in argument

before the Court, however, did defendants name any person the jury could reasonably
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have confused with Madigan, who was clearly the public official accused of being

bribed. Id.; see, e.g., Tr. 5008:21-5009:11. This argument is frivolous. Indeed, the

closing arguments of all parties, both government and defense, made clear that

Madigan was the individual in question. 24

       Moreover, as pertains to Instruction No. 31, the purpose of this instruction was

to describe the objects of the conspiracy alleged in Count One of the Indictment. R.

249 at 32. Inclusion of a specific agent in this instruction may have led the jury to

believe that the government was required to prove the commission of the offense.

Therefore, identifying Madigan in the instruction could have caused juror confusion

about what was required to convict on that count.

       Likewise, the use of the term “legislative activity” as opposed to “legislation”

did not constructively amend the indictment, as Pramaggiore suggests. R. 264 at 53.

Activities like committee assignments, for example, are instrumental to the ultimate

passage or defeat of bills in the legislature. The use of the phrase “legislative activity”

in the jury instructions thus properly clarified that the jury was not limited to bills

that passed.

       Doherty similarly argues that the statutory reference to “business, transaction

and series of transactions” should have been amended to instead include only EIMA,

Senate Bill 9, and FEJA. R. 270 at 8-9. The jury heard evidence about other ComEd-

related legislation, including a House Resolution that Madigan sponsored and

advocated for, which was favorable to Exelon in 2014 (HR 1146); a bill proposed by


24 This is a trivial edit, and any error is therefore harmless. See Neder, 527 U.S. at 17.



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Lisa Madigan that ComEd successfully defeated in 2018 (HB 5626); an extension of

the formula rate that ComEd supported in 2015 (HB 3975); and another proposed

extension of the formula rate in 2019 (which has been referred to as the “Skinny Bill”

or SB 2080). Moreover, witnesses, testified that ComEd monitored thousands of bills

in the General Assembly each year and took an interest in many that did not involve

energy legislation. Tr. 1818:9-22. For these reasons, the Court properly declined to

limit the jury instructions to specific pieces of legislation.

              7.     The Court Properly Declined to List the Documents
                     Alleged to Be False.

       Pramaggiore insists the Court erred by failing to give defendants’ Proposed

Instruction No.31.1, which would have listed all the specific exhibit numbers of the

books and records the government alleged defendants falsified. R. 264 at 53-54.

Pramaggiore cites no case in which a district judge has instructed the jury as to the

specific exhibit numbers of records the government alleges to be false. Defendants’

proposed instruction was unnecessary and would have been unduly complicated and

burdensome. There simply was no need to separately identify each of the hundreds

of false documents the government presented at trial in the jury instructions.

       Pramaggiore contends that the instructions left open the possibility that the

jury could find a defendant falsified or caused to be falsified any sort of document. As

Pramaggiore acknowledges, Instruction No. 39 informed the jury that the

government must prove “defendant falsified, or caused someone else to falsify the

books, records, or accounts of ComEd or Exelon as specified in the particular count of

the indictment.” R. 259 at 44. The indictment, in turn, outlined various categories of


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such documents. See, e.g., R. 1 at 44 ¶ 2 (documents “in connection with the renewal

of JDDA’s contract for 2018”); 28 ¶ 2 (documents “in connection with the amendment

of JDDA’s contract for 2018”); 50 ¶ 2 (documents “in connection with the renewal of

JDDA’s contract for 2019”). The government likewise identified the false documents

by category during closing argument. See, e.g., Tr. 5222:7-12 (focusing on the Doherty

invoices, the single-source justifications that Pramaggiore signed, the Exelon

contracts that Doherty signed, and the Asset Suite records); Tr. 5222:13-16 (focusing

on “[i]nvoices, the 2018 amendment [that] has to do with a change in the description

of the services rendered, as well as the contracts and the Asset Suite records”).

Moreover, as Pramaggiore admits, the Court instructed the jury it was required to

unanimously agree on the specific book, record, or account that was falsified. R. 249

at 45. Pramaggiore fails to explain how, in light of these instructions, the jury could

have found a defendant falsified a document that was not specified in the indictment.

See, e.g., United States v. Marchan, 935 F.3d 540, 548 (7th Cir. 2019) (noting

presumption that juries follow the instructions given by court).

             8.     The Court Properly Instructed the Jury Regarding
                    § 666(c).

      Doherty contends the Court erred by refusing his proposed non-pattern

instruction regarding the burden of proof for § 666(c). R. 270 at 5-7. Specifically,

Doherty requested an instruction that “[t]he government must prove, beyond a

reasonable doubt, that the subcontractor jobs Doherty provided were not bona fide

wages given in the normal course of business.” R. 236 at 4. The Court properly

rejected this instruction.


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       Critically, § 666(c) defined the term “thing of value,” which is an essential

element of the offense that the jury was instructed the government bears the burden

of proving. See R. 249 at 38. 25 The pattern instruction for § 666(c)—which the Court

read to the jury—provides that: “Bona fide salary, wages, fees, or other compensation

paid in the usual course of business do not qualify as a thing of value given, offered

or agreed to be given by a defendant.” Bauer Pattern Jury Instructions (2022) at 306;

R. 249 at 41. This instruction, read in conjunction with the elements instruction for

§ 666, does not deviate from the fundamental principle that the government bears

the burden of proving each element of the offense, including whether “defendant

offered or agreed to give, or caused ComEd to offer or agree to give, a thing of value

to another person.” Id. at 38. The government’s burden is not addressed in every

definitional instruction, and it was likewise not required to be addressed in the

definitional instruction for § 666(c). Indeed, the instructions provided, “The burden

of proof stays with the government throughout the case.” R. 249 at 4. The jury heard

no argument that suggested the defendants bore a special burden with respect to this

issue, and there was no possible risk the jury mistakenly believed otherwise. 26


25 Doherty argues in a footnote that, because § 666(c) defines a “thing of value,” the
government should have presented language tracking this provision to the Grand Jury. R.
270 at 5 n.2. As this Court previously ruled, the government presented all the elements of
the offense to the Grand Jury. R. 83 at 4. In any event, as pertinent here, it is well established
that claims of error before the grand jury are rendered harmless by conviction at trial. United
States v. Mechanik, 475 U.S. 66, 72-73 (1986) (errors before grand jury rendered harmless by
petit jury’s verdict); United States v. Falls, No. 22-1545, 2023 WL 2473369, at *3 (7th Cir.
March 13, 2023) (petit jury guilty verdict renders harmless any error in grand jury charging
decision).
26 Even if there was error, it was harmless, precisely because the instructions as a whole

clearly communicated the government’s obligation to prove its case beyond a reasonable
doubt. See Neder, 527 U.S. at 17.

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       To the extent Doherty contends that the government presented insufficient

evidence that the subcontractors did no real work (R. 270 at 7), the ample evidence

the government introduced to the contrary is described in detail in Sections I.B and

I.C, above.

              9.     The § 666 Instructions Properly Instructed the Jury as to
                     the Requisite Intent.

       For the first time before this Court, Doherty argues that the mens rea of the

§ 666 instructions were inadequate because (1) the instructions only required “some

indicia of understanding” that the subcontracts were connected to legislation and

connected to Madigan’s official duties, when a higher standard is required, and (2)

the instruction regarding § 666(a)(2) provided no mens rea requirement. R. 270 at 7-

8. Doherty has forfeited these arguments and in any event they are wrong. 27

       The instructions given came from the newly revised pattern instructions for

§ 666. First, the Committee Comment to 18 U.S.C. § 666(a)(1)(B) explains that the

definition of “corruptly” derives from Seventh Circuit case law, including United

States v. Mullins, where the Court held that, “An agent acts corruptly when he

understands that the payment given is a bribe, reward, or gratuity.” 800 F.3d 866,

870 (7th Cir. 2015) (emphasis added). Indeed, Seventh Circuit case law uses the terms

“understand” and “know” interchangeably when reciting the definition of “corruptly”

in the § 666 context. See Hawkins, 777 F.3d at 882; Mullins, 800 F.3d at 870 (citing

Hawkins, 777 F.3d at 882, when using the term “understands”). The instructions in




27 Because Doherty has forfeited these arguments, they do not survive plain error review.



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no way suggest that defendants needed only “some indicia” of understanding that the

subcontracts were connected to legislation, as Doherty suggests.

      Second, contrary to Doherty’s assertion, the instructions for § 666(a)(2), also

drawn from the pattern instructions, informed the jury of the appropriate mens rea:

that the defendant must act “corruptly with the intent to influence or reward an agent

of State government in connection with” legislative activity. R. 249 at 33, 38.

             10.    The Court Properly Rejected Defendants’ Proposed
                    Revisions to the Pattern Instructions Regarding
                    Speculation.

      Doherty argues the Court erred by refusing instructions he contends guarded

against improper speculation. R. 270 at 9-10. Rather than protect the integrity of the

verdict, defendants’ proposed modifications to Pattern Instruction 2.02 and Pattern

Instruction 2.03 would have improperly downplayed the consideration the jury could

give to circumstantial evidence. See R. 140 at 20-22. Specifically, defendants proposed

to add to Pattern Instruction 2.02: “However, you may not rely on speculation, gut

feelings, or a strong suspicion. Circumstantial evidence that leads only to a strong

suspicion that someone is involved in criminal activity is not a substitute for guilt

beyond a reasonable doubt.” Compare Bauer Pattern Jury Instructions (2022) at 32,

with R. 140 at 20. Regarding Pattern Instruction 2.03, Defendants’ version would

have deleted the sentence pertaining to direct versus circumstantial evidence that

reads, “The law does not say that one is better than the other.” Defendants also

proposed adding, “However, any inferences hat you make must be reasonable and

logically connected to the evidence—you must not speculate or guess.” Compare

Bauer Pattern Jury Instructions (2022) at 33, with R. 140 at 21.
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      It is well established that “[c]ircumstantial evidence is not less probative than

direct evidence and, in some cases is even more reliable.” United States v. Rodriguez,

53 F.3d 1439, 1445 (7th Cir. 1995) (internal citations and quotations omitted). Indeed,

circumstantial evidence standing alone may be sufficient to support a conviction for

conspiracy. See United States v. Conley, 875 F.3d 391, 399 (7th Cir. 2017). Defendants’

proposed instructions would have misled the jury by improperly conflating

circumstantial evidence and mere “speculation,” “gut feelings” and “suspicion.” They

likewise would have encouraged the jury to minimize the import of circumstantial

evidence in their deliberations. There was no error in refusing these modifications to

the jury instructions.

      Moreover, defendants’ proposed addition to Pattern Instruction 2.03 would

have interjected a definition of “proof beyond a reasonable doubt,” by suggesting to

the jurors what it is not. The Seventh Circuit has clearly and consistently held that

“reasonable doubt” is a term that should not be defined by the trial court or counsel.

See, e.g., United States v. Hatfield, 591 F.3d 945, 949 (7th Cir. 2010); United States v.

Blackburn, 992 F.2d 666, 668 (7th Cir. 1993) (noting that definitions of reasonable

doubt have a likelihood of “confus[ing] juries more than the simple words

themselves”); United States v. Bardsley, 884 F.2d 1024, 1029 (7th Cir. 1989); United

States v. Glass, 846 F.2d 386, 387 (7th Cir. 1988) (explaining that “[a]ttempts to

explain the term ‘reasonable doubt’ do not usually result in making it any clearer to

the minds of the jury”) (citations omitted); United States v. Hall, 854 F.2d 1036, 1039

(7th Cir. 1988) (“An attempt to define reasonable doubt presents a risk without any



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real benefit.”); Bauer Pattern Jury Instructions (2022) at 26 (collecting cases). The

court properly rejected the instruction on this basis. 28

               11.    The Court Correctly Declined to Give Defendants’
                      Proposed Definition of “Official Duty.”

       Doherty contends the Court should have instructed the jury on the meaning of

“official duty.” R. 270 at 10. Specifically, defendants proposed an instruction that

read: “Things such as setting up a typical meeting, calling another public official, or

hosting a meeting, without more, are not uses of one’s official duty.” R. 140 at 65.

With this instruction, defendants attempted to import the definition of “official act”

from McDonnell v. United States, 579 U.S. 550, 567 (2016) (holding that “setting up

a meeting, calling another public official, or hosting an event does not, standing alone,

qualify as an ‘official act.’”).

       As this Court has held, in a prosecution under § 666, the government is not

required to prove any specific “official act,” as that term is defined in McDonnell.

R. 83. Whereas McDonnell involved a prosecution for honest services fraud and

extortion under color of official right, which require proof that charged bribes were

paid in exchange for an “official act’ of the bribed official (§ 1346), and that the bribed

official was acting under “color of official right” (§ 1951), § 666 does not use the term

“official act” or “official right.” Instead, § 666 requires that the thing of value being

given or offered be in connection with “any business [or] transaction” of the

government entity. Consistent with the statue’s text, every federal court of appeals



28Defendants’ proposed instruction would have been extraneous, and thus any error in
declining to give the instruction was harmless. See Neder, 527 U.S. at 17.

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to address the issue has concluded that an official act is not required to find a

defendant guilty of § 666. See United States v. Roberson, 998 F.3d 1237, 1247, 1251

(11th Cir. 2021) (holding, “[c]onsistent with the views of our sister Circuits,” that

McDonnell’s “official act” requirement does not apply to § 666 and that a bribery

conviction also does not require a “specific act”); United States v. Ng Lap Seng, 934

F.3d 110, 131-33 (2d Cir. 2019), cert. denied, 141 S. Ct. 161 (2020) (holding that § 666

is “more expansive” than § 201, so “the McDonnell standard” does not apply); United

States v. Porter, 886 F.3d 562, 565 (6th Cir. 2018) (finding defendant’s “reliance on

McDonnell is misplaced,” because “[i]n McDonnell, the Supreme Court limited the

interpretation of the term “official act” as it appears in § 201, an entirely different

statute than [§ 666]”); United States v. Boyland, 862 F.3d 279, 291 (2d Cir. 2017)

(same); United States v. Maggio, 862 F.3d 642, 646 n.8 (8th Cir. 2017) (“McDonnell

had nothing to do with § 666.”). The Court properly declined to impose an “official

act” requirement.

      Moreover, there was no likelihood of any confusion in the juror’s minds on this

issue. The government’s theory of the case was that Madigan was the target of corrupt

influence owing to his ability to pass and block legislation within the General

Assembly. There was no suggestion that a simple meeting or something akin to it was

the intended target of the conspirators—indeed, the defendants do not point to any

plausible risk this occurred. Accordingly, the instruction was unnecessary in any

event and would have only served to clutter the instructions. Hill, 252 F.3d at 923




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(“Unless it is necessary to give an instruction, it is necessary not to give it, so that the

important instructions stand out and are remembered.”). 29

               12.    The Verdict Forms Did Not Create Error.

         Pramaggiore complains that the Court did not issue special verdict forms.

R. 264 at 54-56. Defendants’ proposed verdict forms were unduly complicated and

would have undoubtedly confused the jury. Among other deficiencies, there is no need

for the jury to identify which overt act was committed (the indictment contained

dozens of them) because the Seventh Circuit has held that juries are not required to

unanimously agree on an overt act for a § 371 conspiracy. United States v. Griggs,

569 F.3d 341, 343-44 (7th Cir. 2009) (“We don’t think the judge was required (or

indeed permitted) to tell the jury that, to convict Moor, it had to agree unanimously

on an overt act that at least one of the conspirators had committed.”). 30

         While jurors must be unanimous as to the object (or objects) of the conspiracy

they find were committed, a special verdict form is not necessary. In fact, the Seventh

Circuit “has embraced the principle that special verdicts are disfavored in criminal

cases because they conflict with the basic tenet that juries must be free from judicial

control and pressure in reaching their verdicts.” United State v. Sababu,




29 Even if such an instruction were appropriate, any error was harmless. See Neder, 527 U.S.

at 17.
30 Pramaggiore cites an April 26, 2023, question for the jury, asking for the definition of

“overt,” to argue that the jury was confused about what constitutes an “overt act.” R. 264 at
56. This request for definitional clarification has no bearing on whether defendants were
entitled to a special verdict form. Moreover, as it turns out, the jury had mistakenly not been
provided with a copy of the indictment when they posed this question, which may have at
least in part prompted the inquiry.

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891 F.2d 1308 (7th Cir. 1989) (absence of special verdict forms requiring jury to make

special findings concerning each of alleged objects of conspiracy did not create error;

unanimity instruction as to objects was sufficient); see also United States v. Warner,

No. 02 CR 506, 2006 WL 2583722, *32 (N.D. Ill. Sept. 7, 2006) (Pallmeyer, J.) (in

prosecution of former Governor Ryan, in light of general disfavor of special verdict

forms, court decided against using cumbersome special verdict form), aff’d,

498 F.3d 666 (7th Cir. 2007). Because special verdict forms are disfavored, there was

no prejudicial error.

      C.     The Court Did Not Commit Any Evidentiary Error Warranting a
             New Trial.

             1.     The Court Properly Excluded Expert Lee Drutman.

      Doherty challenges the Court’s decision to exclude the testimony of his

proposed lobbying expert, Lee Drutman. R. 270 at 2-5. Drutman’s proposed testimony

would have duplicated testimony from many other witnesses about lobbying and

would have merely put an expert gloss over testimony on that subject—which the

Court rightly concluded was not so “‘enigmatic’ as to require navigation by an expert.”

Tr. 3887:21-23; see also United States v. Lundy, 809 F.2d 392, 395 (7th Cir. 1987)

(“Courts agree that it is improper to permit an expert to testify regarding facts

that people of common understanding can easily comprehend.”).

      Doherty cites numerous topics about which Drutman would have testified, but

these topics were all the subject of testimony from government witnesses on both

direct and cross examination. For example, the jury heard about how a client can

sometimes hire a lobbyist on retainer even if there is no immediate work available,


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(e.g., Tr. 1309:2-22, 2347:12-25), and about lobbyists building goodwill with elected

officials and influence their attitudes towards their clients. Tr. 2427:20-2430:5.

Moreover, when lay witnesses knowledgeable about these topics were on the witness

stand, counsel for Doherty sometimes opted not to elicit testimony on any of these

points. For example, despite counsel for other defendants posing questions about

lobbying to government witness Will Cousineau, former Political Director for the

Democratic Party of Illinois and a registered lobbyist, counsel for defendant Doherty

chose to not conduct any cross-examination. Tr. 1712:12. Doherty provides no support

for why “another perspective from outside of Illinois” would have helped the jury,

beyond the ample testimony the jury heard over the course of six weeks of testimony.

When cross examination, argument, and jury instructions are sufficient to allow the

jury to assess the evidence, expert evidence is unhelpful and improper. See Daubert

v. Merrell Dow Pharmaceuticals, Inc., 509 U.S. 579, 591-92 (1993); United States v.

Hall, 165 F.3d 1095, 1107 (7th Cir. 1999); United States v. Frazier, 387 F.3d 1244,

1262-63 (11th Cir. 2004). 31

              2.     The Court Properly Excluded Evidence that Pramaggiore
                     Requested an Investigation of ComEd Lobbyists.

       Pramaggiore argues that the Court erred by excluding evidence that she

previously requested an investigation into company lobbying activity in 2012, as

discussed in Defense Exhibit 1135. R. 264 at 57-58. Defense Exhibit 1135 discusses a

Chicago-Sun Times article which in turn discussed an investigation of a ComEd



31 Even if was error to exclude Mr. Drutman’s testimony, it was harmless precisely because

other witnesses testified about the same subjects.

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lobbyist’s ownership interest in an entity that was under scrutiny for its connections

to a company whose owners had previously been convicted of fraud. In Defense

Exhibit 1135, Pramaggiore stated that “We need a more aggressive approach” and

“We need a full investigation,” and that Exelon General Counsel Darryl Bradford be

“fully briefed” on this issue. This scandal had no connection to the charged conduct.

Therefore, Defendant Pramaggiore’s acts as to this matter constituted impermissible

evidence of a prior good act under Rule 405(a). “Evidence that a defendant acted

lawfully on other occasions is generally inadmissible to prove he acted lawfully on the

occasion alleged in the indictment.” United States v. Reese, 666 F.3d 1007, 1020 (7th

Cir. 2012); United States v. Heidecke, 900 F.2d 1155, 1162 (7th Cir. 1990) (same);

United States v. Rainone, No. 09 CR 206, 2013 WL 389004, at *2 (N.D. Ill. Jan. 31,

2013), aff’d, 816 F.3d 490 (7th Cir. 2016) (Leinenweber, J.) (quoting United States v.

Burke, 781 F.2d 1234, 1243 (7th Cir. 1985) (stating “[e]vidence that the defendant

frequently performs lawful or laudable acts does not often establish that some

subsequent act is also lawful or laudable.”)). 32

      Moreover, as the Court reasoned, introducing Defense Exhibit 1135 and

related testimony would have greatly expanded the scope of the trial on a narrow sub-

issue. Tr. 4551:22-4552:4. To the extent Pramaggiore called for a broader

investigation in to other ComEd lobbyists, the email communication contained in



32 In addition, Pramaggiore’s out-of-court statements—“We need a more aggressive approach”

and “We need a full investigation”—offered for their truth in her case-in-chief against her
would have been inadmissible hearsay. See United States v. Gray, No. 11-CR-13-BBC, 2011
WL 2414551, at *2 (W.D. Wis. June 10, 2011), aff’d sub nom. United States v. Johnson, 729
F.3d 710 (7th Cir. 2013).

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Defense Exhibit 1135 provides no further detail. 33 Accordingly, permitting evidence

on this topic would have opened the door not only to testimony about the nature of

the allegations that preceded the e-mail communication—which were irrelevant to

the charges—but also the scope of any investigation, its thoroughness, its results, and

any ensuring consequences. This would have created a mini-trial regarding these

irrelevant issues—sidetracking and confusing the jury. See generally United States v.

Carson, 870 F.3d 584, 598 (7th Cir. 2017) (district court properly excluded evidence

that might confuse a jury by creating a “trial within a trial” on ancillary issues). The

Court properly excluded this evidence under Rule 403. 34

              3.     The Court Properly Excluded Evidence that Defendant
                     Pramaggiore Denied Speaker Madigan’s Request for
                     Polling Questions.

       Pramaggiore challenges the Court’s exclusion of testimony that Pramaggiore

denied McClain’s request that ComEd ask some polling questions on behalf of

Madigan and Defendants’ Exhibit 1072. R. 264 at 59-60 (citing Tr. 4549:18-23). The

Court properly excluded this testimony as improper evidence of good acts pursuant

to Federal Rule of Evidence 405(a). Pramaggiore sought to introduce her denial of

Madigan’s request for polling questions for an impermissible propensity purpose:


33 Pramaggiore argues that, if she had corrupt intent, she would not have suggested that non-

conspirators Tom O’Neill and Darryl Bradford be involved in an investigation of ComEd
lobbyists. R. 264 at 58. But Defense Exhibit 1135 reveals that she directed Marquez, a co-
conspirator prior to his cooperation with the government, to evaluate whether a broader
investigation was necessary. Id. And in any event, this is email has no relationship to the
Madigan hires at issue in this case.
34 Pramaggiore was given ample leeway to elicit that she was a rule-follower. Tr. 4472:20-22.

This was precisely the type of evidence she sought to elicit with Defense Exhibit 1135. Thus,
any error was harmless owing to the cumulative nature of this evidence on a collateral
matter.

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namely, that if she behaved ethically on one occasion when evaluating a request from

Madigan, that she must have behaved ethically on other occasions.

      Pramaggiore argues that the evidence instead would have negated a finding of

her corrupt intent. R. 264 at 59-60. But denying a request to issue polling questions

for Madigan—a highly visible action that would have been susceptible to public

scrutiny—has no bearing on her intent regarding the stream of benefits that ComEd

covertly provided to Madigan over the course of the eight-year conspiracy.

      Moreover, to the extent such evidence had any bearing on Pramaggiore’s

intent, it was cumulative. Indeed, on multiple occasions, the jury heard testimony

that ComEd declined to hire individuals recommended by, or that were otherwise

affiliated with, Speaker Madigan. See, e.g., Tr. 1384:18-24 (ComEd did not hire Will

Cousineau as a full-time employee); Tr. 2190:18-2191:5 (ComEd was unable to hire

Jim D’Amico); Tr. 2191:22-2194:3 (ComEd did not hire Illinois State Senator Elgie

Sims); Tr. 2224:1-2226:6 (ComEd did not hire Ryan Aderman and Frank Glass); Tr.

2541:10-23 (ComEd did not hire Jordan Matyas); Tr. 2566:12-22 (ComEd did not hire

some of the Speaker’s recommendations). Nothing would have been served by this

tangential information. Because it was cumulative and tangential, any error in

excluding this evidence was harmless. See Tober v. Graco Children's Prod., Inc.,

431 F.3d 572, 577 (7th Cir. 2005).

      For these reasons, the Court properly excluded evidence that ComEd denied

Magian’s request for distribution of certain polling questions.




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             4.     The Court Correctly Barred Pramaggiore from Defining
                    Bribery.

      Pramaggiore argues that the Court erred by precluding her from explaining

her understanding of bribery during her testimony. R. 264 at 60-61. The Court,

however, properly sustained the government’s objection that counsel was attempting

to elicit an impermissible legal conclusion.

      As a threshold matter, mistake of law was no defense to the § 666 charges.

Blagojevich, 794 F.3d at 738. Accordingly, Pramaggiore’s opinion of what bribery

entails is irrelevant, and was properly excluded under Rule 401 and 403.

      In addition, under settled law, “lay testimony offering a legal conclusion is

inadmissible.” United States v. Noel, 581 F.3d 490, 496 (7th Cir. 2009) (collecting

cases). Legal conclusions offered by lay witnesses fail to meet the requirements of

Federal Rule of Evidence 701, in that they are not helpful to the jury. Id. Indeed, they

invite mistakes and confusion: to the extent such legal conclusions are based on

misunderstandings of the law, the jury may rely on those misunderstandings, rather

than on the legal instructions provided by the Court. “[A] lay witnesses’ purpose is to

inform the jury what is in evidence, not to tell it what inferences to draw from that

evidence.” Id.

      Based on this principle, courts have barred testimony concerning whether

conduct was, or was believed to be, legal or illegal, legitimate or illegitimate, or proper

or improper, or whether certain conduct satisfied an element at issue in the case. See,

e.g., United States v. Baskes, 649 F.2d 471, 478 (7th Cir. 1980) (affirming prohibition

of cross-examination of co-conspirator witness regarding the witness’s views of


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whether he or the defendant “conspired” or otherwise engaged in conduct that was

“unlawful” or “wilful”). Likewise, courts have barred testimony concerning whether

defendants believed their own actions were legal. United States v. Wantuch,

525 F.3d 505, 512-15 (7th Cir. 2008) (holding that it was improper for government to

ask witness to opine whether the defendant believed his conduct to be “legitimate” or

legal). The Court rightfully prevented Pramaggiore from making a camouflaged

mistake-of-law argument to the jury by injecting her definition of bribery into the

proceedings.

      The cases Pramaggiore cites have no bearing on whether she should have been

permitted to define bribery. Pramaggiore points to a half-century-old Second Circuit

case—United States v. Kyle, 257 F.2d 559, 563 (2d Cir. 1958)—for the proposition that

testimony by a defendant as to “belief and motive was material” and may “repel

inferences of fraudulent intent revealed by his activities.” R. 264 at 60-61. Likewise,

Pramaggiore cites Crawford v. United States, 212 U.S. 183 (1909), a century-old case

where the Supreme Court determined that it was an error to prohibit defendant from

testifying as to his intent. R. 264 at 61 (citing Crawford, 212 U.S. at 202-203). But

the government did not object to testimony about her motive, belief, or intent

concerning, for example, whether she intended to influence Madigan. To the contrary,

Pramaggiore denied on the stand that she bribed Madigan on multiple occasions. Tr.

4392:3-9, 4403:7-13, 4446:4-5, 4519:19-22, 4527:24-4528:2, 4529:9-15. None of the

cases Pramaggiore cites state that a defendant may give the jury her own personal

preferred legal definitions of the charged offense. Any error was harmless because



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Pramaggiore was given free reign to deny that she had done anything to corruptly

influence Madigan, which necessarily entailed her understanding of what it meant to

bribe somebody.

              5.     The Court Properly Excluded Improper and Irrelevant
                     Lay Opinion Testimony.

       Pramaggiore argues that the Court erred by precluding attorney witnesses

from testifying about what she characterizes as “fact questions about their own

perceptions and mental state.” R. 264 at 61-62 (emphasis in original). Pramaggiore

fails to accurately describe the testimony she sought to introduce. Rather than fact

testimony, she sought to introduce testimony regarding attorney opinions about the

legality of defendants’ actions. Such testimony would have been lay opinion testimony

that ran afoul of Rule 701, and it was irrelevant to the issues in the case. Indeed, the

ruling about which Pramaggiore complains is that “witnesses for ComEd that are

attorneys will not be allowed to say that actions were either legal or illegal.” R. 264

at 62 (citing Tr. 1050:18-25). But the Court gave defendants latitude by permitting

attorney witnesses to testify about “what they understood the actions to be and . . .

whether they did or did not communicate any opinion or any advice as to those specific

actions.” Tr. 1050:21-23. 35



35 Pramaggiore cites a specific government objection the Court sustained during the
questioning of Tom O’Neill: “Q: Okay. And so when you made the decision to go ahead and
hire them did you have a corrupt intent to bribe Mr. Madigan by hiring Reyes Kurson. MS.
STREICKER: Objection, Your Honor. The Court: Objection Sustained.” R. 264 at 62 (citing
Tr. 1409:11-15) (emphasis added). By using the specific phrase “corrupt intent,” the question
defense counsel posed to Mr. O’Neill went directly to an element of the offense under § 666.
See R. 249 at 33, 37. Moreover, as noted elsewhere, the jury’s duty was to determine
Pramaggiore’s and the other defendants’ intent, not the intent of uncharged individuals.

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                    a.     Attorney Testimony on Legality Would Have Run
                           Afoul of Rule 701.

        Under Rule 701, lay witness opinion testimony must be: “(a) rationally based

on the witness’s perception; (b) helpful to clearly understanding the witness’s

testimony or to determining a fact in issue; and (c) not based on scientific, technical,

or other specialized knowledge within the scope of Rule 702.” Fed. R. Evid. 701. Here,

a lawyer’s testimony about legality would certainly be based on specialized knowledge

and thus improper under Rule 701, and the testimony of attorney witnesses about

the legality of defendants’ conduct would confuse or mislead the jury.

        Importantly, the arguments and questioning pursued by defense counsel

risked suggesting to the jury that an expert (lawyer) weighed in on the ultimate issue

of the defendants’ guilt or innocence. Such questioning or argument would improperly

invite the jury to give such opinions unwarranted weight. Questioning on this topic

would therefore have been unduly prejudicial and would have confused or misled the

jury under Rule 403. The Court correctly prohibited defendants from essentially

putting before the jury purported opinions as expert testimony on criminal bribery

laws.

                    b.     Attorney Opinions on Legality Would Have Been
                           Irrelevant and Prejudicial.

        This Court’s ruling was proper for the additional reason that only the

defendants’ intent was at issue in the trial.

        Defendants argue that “it is more likely that Ms. Pramaggiore did not act with

corrupt intent if other individuals in similar positions and with similar knowledge

did not have corrupt intent when taking similar actions.” R. 264 at 61. Simply put,

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“the knowledge or mental state of one person or entity has little or no probative value

as to the knowledge or mental state of another person or entity.” Kelley as Trustee of

BMO Litigation Trust v. BMO Harris Bank N.A., 634 F. Supp.3d 619, 633 (D. Minn.

2022) (excluding evidence of knowledge and state of mind of federal investigators as

irrelevant to determine state of mind of other parties). Other witnesses’ mental states

shed no light on what the defendants believed. See Benalcazar, 2011 WL 4553027, at

*11 (barring “evidence of other witnesses’ lack of knowledge as to the legality of the

scheme to serve as circumstantial evidence that he also lacked the necessary

knowledge,” because “one person’s state of mind is irrelevant to what another person

actually believed”). 36 Thus, witnesses’ perceptions and opinions were only relevant to

the extent they were communicated to the defendants. The Court’s ruling properly

drew that line, by permitting attorney witnesses to testify about what they

communicated to defendants.

       Pramaggiore wrongly claims that Joe Dominguez, her successor as ComEd’s

CEO, was “told more about the Doherty subcontractor arrangement than” she was

told. R. 264 at 62. Pramaggiore provides no support from the record for this assertion.

Indeed, the record demonstrates that attorney witnesses were not privy to all of

defendants’ criminal conduct and communications. See, e.g., Tr. 1302:8-10 (O’Neill

did not know if Doherty had subcontractors); Tr. 4255:24-4256:25 (Dominguez was



36 Cf. United States v. Van Eyl, 468 F.3d 428, 437 (7th Cir. 2006) (district court acted within

its discretion in excluding lay opinion testimony from coworkers regarding the legality of the
defendant’s conduct—to avoid the jury inappropriately using those witnesses’ opinions to
determine the defendant’s state of mind—and then granting a new trial when the
government violated this ruling in its closing argument).
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not privy to conversations between Pramaggiore and Marquez about subcontractors);

Tr. 4261:17-19; Tr. 4263:18-4264:25.

      Moreover, Pramaggiore’s argument is an improper effort to raise a mistake of

law or good faith defense, which is not permitted for the § 666 counts. Such a defense

is only permitted where the charged statute contains a term such as “willful” that

makes knowledge of the law essential. See Bauer Pattern Jury Instructions § 6.10

(2022). Section 666 does not require willfulness, and as a result, mistake of law is not

a defense to § 666 charges, as discussed above. See Blagojevich, 794 F.3d at 738.

Accordingly, any evidence or implication that Pramaggiore or the other defendants

believed their conduct was legal is irrelevant to the § 666 charges. Id. And, without

any probative value, such evidence would have been highly and thus unduly

prejudicial, as it risked confusing the jury about the requisite state of mind.

      The opinion of any witnesses regarding the legality of defendants’ conduct is

irrelevant and unfairly prejudicial. This is particularly true of attorney witnesses,

whose testimony may improperly be given extra weight by the jury. The Court

properly limited this testimony under Rule 401 and Rule 403.

                    c.     Any Error Was Harmless.

      Even though the Court properly limited attorney opinion testimony, the Court

gave defendants latitude to elicit testimony about related topics, making any error

harmless. The Court permitted attorney witnesses to testify about “what they

understood the actions to be and . . . whether they did or did not communicate any

opinion or any advice as to those specific actions.” Tr. 1050:21-23. The Court also gave

defendants wide latitude to highlight the criminal experience of Tom O’Neill, Joe
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Dominguez, and high-level Exelon executive Bill Von Hoene. For example,

Pramaggiore testified on direct that each of these individuals had former criminal

law experience, and none of them raised an issue with the appointment of Juan

Ochoa. Tr. 4528:5-22; see also Tr. 1307:18-1308:5 (O’Neill’s testimony about his and

Von Hoene’s white collar work). And other witnesses were permitted to testify that

they did not believe ComEd was bribing Madigan. Tr. 1684:9-13 (Cousineau); Tr.

2345:23-2346:4 (Marquez); Tr. 2373:16-18 (Marquez); Tr. 4175:20-23 (Dominguez).

Because defendants were given extensive leeway to elicit testimony from other

witnesses that they did not view the conduct as criminal, any error in declining to

permit attorneys’ testimony about the legality of the charged conduct was harmless.

See Gan, 54 F.4th at 475.

            6.     Evidence of Campaign Contributions was Proper.

      Pramaggiore argues that evidence of campaign contributions improperly

amended the indictment, allowed conviction without requiring a quid pro quo, and

was unduly prejudicial. R. 264 at 62-66. These arguments lack merit.

      In her opening argument, Pramaggiore contended that Madigan distrusted

ComEd, and kept ComEd at arms’ length—the purpose of this strategy was to suggest

that ComEd and Madigan were effectively adversaries, not joined in a criminal

conspiracy together. Tr. 360:4-5 (“Anne knew that Mike Madigan was not a friend of

ComEd, never was and never would be, and she was right.”); Tr. 365:11-13 (“In fact,

you’re going to find out that Madigan didn’t particularly like utilities like ComEd,

and that never changed.”). Evidence concerning campaign contributions was relevant

because it demonstrated that there was indeed a close alliance between ComEd and
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Madigan; this close and cozy relationship Madigan cultivated with ComEd refuted

the defense claims that Madigan did not trust or wish to associate with ComEd. On

the contrary, the evidence of ComEd’s campaign contributions and events hosted for

Madigan’s benefit illustrated the close relationship Madigan maintained with ComEd

and demonstrated that Madigan did not keep the company at arms’ length.

      Moreover, the jury received an instruction about the proper purpose for which

it could consider (and the improper purposes for which it could not consider) evidence

regarding campaign contributions. That instruction stated:

             You have heard evidence concerning campaign
             contributions made by ComEd and others to various public
             officials. This evidence was introduced to show
             relationships, not as evidence of a crime. There are no
             allegations that such campaign contributions were illegal
             or intended to bribe Michael Madigan.

R. 249 at 43. This instruction squarely addresses the concerns Pramaggiore raises in

her brief. Indeed, her attorney mentioned this instruction in his closing argument.

Tr. 5305:3-4. Indeed, defense counsel suggested that the company’s ability to legally

give campaign contributions was proof that no crime occurred, because legal

campaign contributions were much more value that honoring a job request. Id. And

the government never hinted or suggested in its summation to the jury that the

campaign contributions were illegal or evidence of a crime. Pramaggiore nevertheless

contends that evidence of campaign contributions “unfairly inflamed the jury and

allowed it to believe that [the evidence of campaign contributions] was part of the

charged crime long before they heard the jury instructions.” R. 264 at 66 (emphasis

added). But the Seventh Circuit has held, “There is a rebuttal presumption that juries

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follow the instructions given by the court.” Marchan, 935 F.3d at 548. Accordingly,

the jury is presumed to have followed the instruction that the campaign contributions

were not evidence of a crime, illegal, or intended to bribe Michael Madigan.

Pramaggiore offers no support to rebut this presumption. 37

              7.     The Court Properly Permitted                   Questioning       About
                     Pramaggiore’s Interview.

       The Court properly permitted questioning about Pramaggiore’s September

2019 interview with the government. This evidence was probative and not unfairly

prejudicial, and the government was permitted to explore these relevant areas after

Pramaggiore volunteered during cross examination that she had been interviewed.

                     a.     Background

       During the government’s cross examination of Pramaggiore, the prosecutor

questioned her about a recorded meeting she had with cooperator Fidel Marquez in

on February 18, 2019 (admitted as GX 131), which Pramaggiore claimed she did not

recall. The following exchange occurred:

       Q.     So you didn’t recall the conversation with Fidel Marquez?

       A.     No. And I think I shared that with you when I came in for the
              interview.

Tr. 4627:10-12. Pramaggiore was referring to an interview she had with the

government in September 2019, more than a year before she was indicted. This was




37 Because of this instruction, the fact that the government never referenced campaign
contributions in its closing, and the fact that evidence of campaign contributions was limited
in the course of the seven-week trial, any error was harmless.

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the first the jury heard about the interview; the government had not elicited any

information about the interview during its case-in-chief.

      At sidebar, the government requested permission to ask additional questions

about the interview because Pramaggiore had volunteered the interview. Tr. 4627:20-

4629:17. The government argued: “it’s not fair for the government now that she’s

mentioned she came in for an interview and said ‘I told you something during the

interview’ for us not to be able to explore it.” Tr. 4629:14-17. The Court agreed and

ruled that the government could “explore it.” Tr. 4629:14-17.

      After this ruling, Pramaggiore confirmed that the September 2019 interview

occurred just four or five months after she was served a search warrant in May 2019,

that she was represented by counsel for the interview, and that she prepared for the

interview. Tr. 4630:7-4631:4. She testified that she told the government that she did

not recall that Doherty employed subcontractors during the September 2019

interview. Tr. 4631:5-21. Pramaggiore testified that she had forgotten the February

2019 recorded conversation with Marquez when she was interviewed in September

2019. Tr. 4631:22-24; 4633:15-17. This testimony was inconsistent with her testimony

on direct that she was “taken aback” during the February 2019 conversation with

Marquez, when she claimed to have first learned about the subcontractors who did

no work. Tr. 4634:16-4635:6.

      Towards the end of this line of questioning, Pramaggiore testified that the

February 2019 recording was played during her interview. Tr. 4639:3-6. The

prosecutor then asked: “And after that call was played, the interview was over, wasn’t



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it?” Tr. 4639:7-8. Pramaggiore’s counsel objected on the grounds that the question

infringed on attorney client privilege. Tr. 4638:9-16. The objection was overruled,

based on the government pointing out:

            Your Honor, I asked whether the interview concluded at
            that point. I didn’t ask about any advice of counsel. It’s a
            fact that after this call was played, the interview
            concluded. And that was the question I asked. I’m not
            getting into reasons why.

Tr. 4638:19-25. The prosecutor then asked whether the interview concluded after the

call was played, which Pramaggiore confirmed, adding: “It was the end of the day,

yes. The interview was over.” Tr. 4640:5-10. Finally, the government asked: “You and

your counsel ended the interview?” Tr. 4640:13. Pramaggiore’s objection to that

question was sustained. Tr. 4640:13-20.

                   b.    The Court Properly Permitted Questioning about
                         Pramaggiore’s Lies During Her Interview.

      During cross examination, the government asked Pramaggiore whether she

recalled her February 2019 call with Marquez (GX131) and Pramaggiore volunteered,

unprompted: “No. And I think I shared that with you when I came in for the

interview.” Tr. 4627:10-12. By first mentioning the September 2019 interview,

Pramaggiore sought to inaccurately suggest that she had been truthful both during

her testimony and during an earlier interview with the government (and also to

suggest she had cooperated with the government’s investigation prior to trial). The

government was entitled to elicit relevant, probative evidence about that interview,




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after she brought it up, from which the jury could readily conclude that she was

lying. 38

       A defendant’s prior statements about the crime under investigation were

clearly relevant, particularly here, where the defendant attempted to use those prior

statements to her advantage. Contrary to Pramaggiore’s argument, the fact that she

prepared for the September 2019 interview, was represented by counsel, and yet

claimed during the interview that she forgot the February 2019 call about the

Madigan subcontractors – even though this call took place just four or five months

after she learned about the government’s investigation in May 2019 – was highly

probative, because it demonstrated that Pramaggiore lied about her lack of memory.

Tr. 4630:4-4631:24. Indeed, Pramaggiore testified on direct that she was “taken

aback” when she learned about the subcontractors who were “just collecting checks”

during her February 2019 call with Marquez. Tr. 4499:14-17 (discussing GX131, also

identified as DX1156). But during her interview just several months later—before

Pramaggiore knew that call had been recorded—Pramaggiore claimed she had no

recollection that Jay Doherty employed any subcontractors and no memory of her

February 2019 call with Marquez at all. Tr. 4631:18-24. This fact demonstrated that

her testimony that she was “taken aback” by the call was a lie. Tr. 4634:16-4635:19.

Had she truly been surprised to learn about the no-work contractors, as she said, she


38 While Pramaggiore obtained a proffer letter before her interview, it did not bar questioning

her concerning the interview, as it only restricted the government’s use of the statements
during the government’s case-in-chief. It provided: “In the. event that your client is
prosecuted, anything related to the government by you or your client during the proffer
cannot and will not be used against your client, Anne R. Pramaggiore, in the government's
case-in-chief, or in aggravation of your client's sentence. . . .

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would have remembered the call and done something about it. She did nothing. The

jury could readily infer from this inconsistent testimony that Pramaggiore lied when

she testified that she did not know about the no-work subcontractors, both during her

direct examination and when she interviewed with the government. Moreover, her

efforts to conceal her knowledge concerning the Doherty subcontractors was powerful

evidence of her attempt to cover up her crimes and her consciousness of guilt. 39 As a

statement of a party opponent, the government was well within its rights to elicit this

evidence.

                     c.     The Government Properly Questioned Pramaggiore
                            About Her Actions After Learning About the
                            Subcontractors.

       Pramaggiore claims that the Court should have sua sponte struck any

questions about actions Pramaggiore could have taken after she claimed to have first

learned of the subcontractors during her February 2019 call with Marquez. R. 264 at

69. As a threshold matter, defense counsel did not object to any of these questions

and has therefore forfeited any objection. Tr. 4635:15-4636:20. 40

       In any event, the government’s questions were highly probative. Pramaggiore’s

state of mind was the key issue in dispute at trial, and the jury was charged with



39 While this was powerful evidence, the government presented abundant other evidence, in

the form of recordings in which Pramaggiore participated, that demonstrated her
participation in the conspiracy and that flatly contradicted her testimony. Accordingly, any
error in admitting the interview was harmless. Indeed, Pramaggiore does not appear to be
concerned that the answers she provided in response to the questions about the interview
were incriminating at all, and maintains that she was truthful. This further demonstrates
any error was harmless.
40 Because there was no objection, plain error review would apply. Given the obvious
relevance of these questions, there is no error, and certainly no plain error.

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assessing Pramaggiore’s credibility. The government was entitled to explore whether

Pramaggiore was truly “taken aback” when she learned there were no-work

subcontractors on ComEd’s payroll by inquiring about her subsequent actions. Had

she really been “taken aback,” as she claimed, it was appropriate to point out that

she did absolutely nothing to address her purported discovery of ghost payrollers. She

admitted that she did none of those things, which demonstrated that she was lying.

Tr. 4635:15-4636:20. 41

                     d.    The Government Properly Questioned Pramaggiore
                           About Whether She Wanted To Be Interviewed.

      Pramaggiore claims that a question that was sustained somehow prejudiced

her. R. 264 at 69. The government asked: “you [didn’t] want to come in for the

interview with the government, did you?” Tr. 4633:6-7. The Court sustained defense

counsel’s objection. Tr. 4633:9-10. A lawyer’s question is not evidence, as the jury was

instructed. Tr. 5451:10-18. Thus, Pramaggiore could not have suffered prejudice from

a simple question.

      Moreover, contrary to Pramaggiore’s contention, the government most

assuredly had a good-faith basis for asking this question. During an interview prior

to trial, the government had been informed that Pramaggiore had called Exelon’s

CEO approximately two nights before her scheduled interview with the government

to ask if she would be fired if she refused to attend her interview with the government,

as summarized in the interview report below, which was tendered in discovery:



41 Contrary to Pramaggiore’s argument, Pramaggiore had no idea that Marquez was
cooperating, so that fact could have no bearing on her state of mind during this call.

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This question clearly contemplated that she was looking to avoid attending the

interview and provided the government with a good faith basis to pose the question.

Indeed, government attorneys were also aware that prior to that point in time,

Pramaggiore had refused to be voluntarily interviewed by the government. The

government had ample basis to ask the question it did. And given that the objection

to the question was sustained, any error was harmless.

                   e.     The Government’s Questions About the End of the
                          Interview Were Proper.

      Contrary to Pramaggiore’s argument, the fact that the interview ended after

the February 2019 recording was played is also probative. Pramaggiore testified that

prior to the interview, she did not know that the government had any recordings. Tr.

4633:13-15. The fact that the September 2019 interview abruptly ended after she first

learned of, listened to, and denied remembering Government Exhibit 131 was highly

probative, because it demonstrated that Pramaggiore was unable to offer any

plausible explanation of the call in the interview, mere months after the recording.

This was particularly probative in response to Pramaggiore’s testimony about the

same recording: “If I had remembered the conversation with Fidel of February of 2018


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or 2019, I would have shared it with you because it proves my innocence.” Tr. 4633:15-

17. This was yet another example of Pramaggiore attempting to paint an inaccurate

picture of the September 2019 interview. The government was entitled to explore this

misleading testimony. The fact that the interview ended shortly after the February

2019 call was played, without Pramaggiore offering any explanation, contradicts

Pramaggiore’s claim that Government Exhibit 131 proves her innocence.

       Pramaggiore argues that “[v]oluntary interviews may be terminated for a

multitude of reasons.” Dkt. 264 at 67. This generalization has no bearing on why

Pramaggiore’s interview terminated. To the extent Pramaggiore’s counsel was

concerned that cross examination left an inaccurate impression with the jury, counsel

could have asked follow-up questions on redirect. Counsel opted not to do so.

       Pramaggiore argues that juries should not be permitted to draw an adverse

inference from a defendant’s decision not to voluntarily answer the government’s

questions. R. 264 at 67. 42 But the jury was permitted to draw an adverse from what

Pramaggiore did say after she voluntarily came in to interview: she stated that she

did not recall anything about subcontractors or her February 2019 call with Marquez,

and after that the interview abruptly ended.

       As to the government’s question about whether Pramaggiore and her counsel

ended the interview, the objection to that question was sustained, and the jury was




42 In addition, Pramaggiore did not request any such instruction be given to the jury, thereby

forfeiting this argument. Indeed, on the contrary, the pattern instructions provide for the
exact opposite instruction to be given, concerning silence in the face of accusation. R. 249,
Instruction No. 8.

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instructed to disregard it. 43 Lawyers’ statements are not evidence, as the Court

instructed the jury. Tr. 5451:10-18. “There is a rebuttable presumption that juries

follow the instructions given by the court.” Marchan, 935 F.3d at 548. Pramaggiore

presents no evidence that this presumption has not been rebutted here.

       Pramaggiore argues that the “Government’s question gave the improper

impression that Ms. Pramaggiore was guilty because her attorneys supposedly ended

the interview after the portion of the February 18.” R. 264 at 68. Although the

government had represented that it would not get into the reasons why the interview

concluded (Tr. 4638:19-25), Pramaggiore’s testimony in response to questions on cross

opened the door. When asked whether her interview ended soon after Government

Exhibit 131 was played, she sought to paint a misleading picture by testifying: “It

was the end of the day, yes. The interview was over.” Tr. 4640:8. That was a blatant

lie; the interview did not end because it was the “end of the day,” as Pramaggiore well

knew. Based on this response, the government properly asked follow-up questions to

clarify that the interview ended not because the day was over, but because

Pramaggiore and her counsel wanted time to consider how to respond to the call. It

was a permissible question: had Pramaggiore been permitted to answer, the inference

to be drawn was that Pramaggiore had lied to the jury about why the interview

ended—it wasn’t because the day was over.



43 Pramaggiore complains that the Court instructed the jury to “disregard that answer,”
instead of saying the jury should “disregard that question.” The Court’s meaning was clear,
given the objection was sustained and no answer had been given, and in any event
Pramaggiore’s counsel said, “Thank you,” rather than requesting any clarifying ruling by the
Court, thus waiving, or at a minimum forfeited, any challenge to the particular language.

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      Pramaggiore claims that the question was inaccurate. R. 264 at 68. But her

own counsel’s summary of the interview shows that the government agreed to end

the interview only after Mr. Lassar told the government he needed time to discuss

the February 2019 call with his client. R. 264 at 68 n.9. Of course, the defendant fails

to note that after asking for additional time to discuss matters with Pramaggiore, she

never returned to complete her interview. Thus, the government’s question about

Pramaggiore’s and her attorney’s decision to end the interview after hearing the

recording was accurate. To the extent Pramaggiore’s counsel was concerned that the

question gave the jury an inaccurate impression, counsel could have asked follow-up

questions on redirect. Counsel opted not to do so; doing so would have exposed the

fact that Pramaggiore—after being confronted by a devastating recording laying out

her wrong-doing—decided to clam up, hightail it out of her interview, and (contrary

to the narrative that she just needed to collect her thoughts) never return prior to

being charged.

             8.     The Government Did Not Threaten Joe Dominguez.

      Pramaggiore claims that the prosecutor threatened defense witness Joe

Dominguez during cross examination, somehow depriving her of testimony favorable

to her case. R. 264 at 79. This claim has no merit.

      Joe Dominguez was not threatened. Dominguez took over as ComEd’s CEO

after Pramaggiore. During cross examination, the prosecutor questioned Dominguez

about a conversation Dominguez had with cooperator Marquez in which he discussed

the Madigan subcontractors (this call was recorded by the government, although that

recording was not admitted into evidence). As the prosecutor asked about a statement
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Dominguez (who was himself a former federal prosecutor) had made during that

recorded conversation, Dominguez (the defendant’s witness) interrupted the

prosecutor:

              Q.    And then later in the call you said in the light of day,
                    you know, things, you know, need to—

              A.    Right. We discussed this. And you said, you said a
                    lot of good things on this tape, didn’t you?

Tr. 4281:16-19. Dominguez thus interjected and tried to introduce the Assistant

United States Attorney’s opinion of how Dominguez had behaved during the recorded

conversation—in other words, to elicit the prosecutor’s opinion about whether

Dominguez had acted lawfully by implying the prosecutor thought Dominguez had

“said a lot of good things on this tape.” Indeed, Pramaggiore’s witness went so far as

to try and ask the prosecutor a question (“didn’t you?”) about the prosecutor’s opinion

from the witness stand.

      Initially confused by the Dominguez’s non-responsive answer, his effort to

inject the prosecutor’s supposed opinion about a recorded conversation that was not

in evidence, as well as his attempt to ask the prosecutor a question, the prosecutor

asked, “Sorry?” Tr. 4281:20. Dominguez, instead of responding to the question posed

(which simply had sought to elicit what Dominguez had said during his recorded

conversation with Marquez), pressed on by instead trying to describe how the

prosecutor allegedly viewed the recorded conversation and Dominguez’s conduct as

expressed during an earlier interview at the United States Attorney’s Office: “The

meeting I had with you in the office, you [meaning the prosecutor] portrayed this


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conversation slightly different.” Tr. 4281:21-22. The prosecutor responded by

advising the witness not to make unsolicited comments about the prosecutor’s

opinion of Dominguez’s conduct: “Wait a second. Wait a second. If you are going to

start talking about what I said, you might to not (sic) do that. . . because that might

not work out well for you, okay. Tr. 4280:23-4281:1. Pramaggiore’s counsel objected,

and the prosecutor explained in response to a question from the Court on the objection

that the defendant’s witness was trying to refer to comments the prosecutor had made

at a prior meeting, and that “obviously whatever I say during a meeting is not

admissible. That’s not fair.” Tr. 4281:10-18. 44 There was no definitive ruling on the

objection (nor was one sought), and thereafter, the questioning resumed and moved

on.

      Dominguez’s statement that the prosecutor felt there were “good things” that

Dominguez had said in the recorded call—a clear effort to avoid answering a simple

question about the substance of a recorded conversation and elicit improper and

inaccurate testimony about the prosecutor’s opinion—was clearly not admissible and

was designed by Pramaggiore’s witness to leave a misimpression with the jury that

the prosecutor somehow harbored a favorable personal opinion of his conduct and

that it was lawful.

      The prosecutor’s effort to bring the witness’s non-responsive and improper

testimony to a close did not amount to a threat. The cases cited by the defendant



44 It was also unfair because Pramaggiore’s witness had misrepresented the prosecutor’s
opinion about his conduct—particularly when no such question on that subject had been put
to the witness.

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relate to situations in which prosecutors were accused of making threats that

deterred a witness from testifying on a defendant’s behalf. See, e.g., United States v.

Johnson, 437 F.3d 665, 678 (7th Cir. 2006) (prosecutor’s letter accurately conveying

risks defense witness faced in testifying was not improperly intimidating); United

States v. Jackson, 935 F.2d 832, 846 (7th Cir. 1991) (prosecutor’s warnings to a

potential witness of risk of incriminating testimony were not threats that barred

witness from voluntary choosing whether to testify); United States v. Linder, No. 12

CR 22, 2013 WL 812382, at *52 (N.D. Ill. Mar. 5, 2013) (dismissing indictment

because government agents substantially impaired witnesses’ decision to testify on

behalf of the defense). Here, by contrast, the witness did testify on behalf of the

defense. Accordingly, there can be no claim that a defense witness was somehow

prevented a defense witness from testifying.

      Pramaggiore cannot show that her ability to present witness testimony was

impaired. Pramaggiore does not explain what Dominguez might have said that could

have helped her case that he had not already said on direct examination. And had

anyone wanted to explore Dominguez’s prior interview with government (or what the

prosecutor thought about Dominguez’s own conduct), four separate defense attorneys

had the opportunity to ask questions during re-direct. Not a single one followed-up

on Dominguez’s irrelevant, non-responsive testimony concerning his prior interview,




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which demonstrates that this topic was not critical to the defense and could not have

prejudiced any of the defendants. 45

              9.     The Government’s Brief Misstatement During Closing Was
                     Immediately Cured.

       During his direct examination, O’Neill testified about Government Exhibit

318, which was an email that McClain had originally sent to Pramaggiore and others

concerning renewing Reyes Kurson’s contract because he was “valuable … to Our

Friend” and failing to do so “will provoke a reaction from Our Friend.” GX318.

Pramaggiore forwarded that email to O’Neill, without comment. Id. Government

counsel asked about the forwarded email: “What did you understand Ms.

Pramaggiore to be communicating to you?” Tr. 1206:5-6. Pramaggiore’s counsel

objected to “speculating on what saying nothing means,” and the Court sustained the

objection. Tr. 1206:7-9. Government counsel then asked: “What did you take from

this email in terms of what Ms. Pramaggiore wanted you to do with regard to the

Reyes Kurson?” Tr. 1206:11-13. The Court initially overruled the objection to that

question. Tr. 1206:14-15. O’Neill answered: “What I took from it is that Mike McClain

had sent the note to Anne and Anne had sent the note to me, and I read into it a

message to–” Tr. 1206:17-19. At that point, Pramaggiore’s counsel once again

objected, and the Court sustained the objection. Tr. 1206:20-24.

       In referring Government Exhibit 318 during closing argument, the prosecutor

stated: “Anne Pramaggiore sent that e-mail immediately to two people, O’Neill,



45 Because Pramaggiore fails to explain how her case was prejudiced or what information she

could not elicit from Dominguez, any error is harmless.

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without any message at all, which O’Neill said, to him, meant it was simply word

from the boss in stark terms, or lack thereof, get this done.” Tr. 5195:25-5196:4.

Pramaggiore’s counsel objected, and the Court overruled the objection. Tr. 5196:5-7.

The prosecutor continued: “O’Neill testified that this no-message e-mail, simply

forwarded to him, was a clear signal from the boss to get it done.” Tr. 5196:9-11.

      Just minutes after the statements concerning O’Neill’s understanding during

closing, the prosecutor corrected the misstatement:

             Let me go back for just a moment and talk about the Reyes
             Kurson contract and correct something that I just said. I
             had mentioned something that O’Neill said in his
             testimony about what he understood the no-message
             forwarding of the e-mail to him. I don’t believe he did
             testify about that, at least in putting it into so many words.
             But you can take your own interpretation from the fact that
             Anne Pramaggiore did not include any words, nothing to
             soften or buffer what it is that she said, to understand that
             it was an immediate signal from her to O’Neill to get it
             done.

Tr. 5204:24-5205:8 (emphasis added). This was a clear, unequivocal correction,

followed by argument as to what inferences the jury could reasonably draw based on

the fact that Pramaggiore had forwarded the email without comment. And that

argument was fully supported by the evidence; in an email on January 30, 2016,

Pramaggiore made clear what she meant when she forwarded the email to O’Neill a

few weeks’ prior; she told McClain: “I asked Fidel and Tom [O’Neill] to address this.”

GX321.

      “Misstatements of evidence during closing argument can be improper, but it is

rarely reversible error.” United States v. Mullins, 800 F.3d 866, 872 (7th Cir. 2015)



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(citations omitted). To prevail on her motion, Pramaggiore must establish that the

misstatement was improper and that it prejudiced her by “so infect[ing] the trial with

unfairness as to make the resulting conviction a denial of due process.” United States

v. Johnson, 655 F.3d 594, 602 (7th Cir. 2011) (affirming denial of motion for new trial

when prosecutor immediately corrected a single misstatement during opening). To

determine whether a new trial is required as a result of a misstatement during

closing, the Court considers factors such as whether (1) the judge offered curative

instructions, (2) the defense could have rebutted the misstatement, and (3) the weight

of the evidence. Mullins, 800 F.3d at 872.

      Although the prosecutor made a brief, inadvertent misstatement during the

government’s closing, the prosecutor immediately corrected the mistake. Because the

misstatement was promptly corrected, the original misstatement could not have

prejudiced Pramaggiore. See Johnson, 655 F.3d at 602; United States v. Nelson, 958

F.3d 667, 671 (7th Cir. 2020) (misstatement by prosecutor during closing argument

did not warrant new trial because prosecutor instantly corrected mistake). In

addition, Pramaggiore had the opportunity to, and did, address the claimed

mischaracterization in her closing argument, further curing any potential prejudice.

Tr. 5324:19-5325:4.

      If that were not enough, the Court also instructed the jury that it must decide

guilt or innocence based on the evidence, and that closing arguments were not

evidence. Tr. 5451:10-18. This instruction further cured any potential prejudice.

Nelson, 958 F.3d at 671.



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      Finally, the statement (which was promptly corrected) concerned one email

that was introduced during the course of a trial that stretched on for seven weeks.

For all the reasons discussed above, the weight of the evidence against Pramaggiore

was strong. Based on the voluminous evidence against Pramaggiore, presented over

the course of nearly seven weeks, it simply cannot be that one brief factual

misstatement during closing argument – which was promptly corrected – could have

had any impact on the jury’s decision.

             10.    The Government’s Rebuttal Argument Was Entirely
                    Proper.

      Contrary to defendant Pramaggiore’s argument (Dkt. 264 at 74-76), the

government’s rebuttal argument did not improperly introduce a new theory of the

case or mischaracterize evidence. 46

                    a.     The Government’s Tollway Analogy Was Proper.

      During closing, multiple defendants argued that Madigan did not help ComEd,

but that ComEd’s legislative success was instead the result of coalition building. See,

e.g. Tr. 5296:20-24 (McClain’s counsel, arguing that ComEd legislation passed “[n]ot

because of some jobs spread over a decade, but because they worked their heads off,

because they boxed him in, because they built coalitions, because they spent millions

and millions of dollars.”); Tr. 5312:11-20 (Pramaggiore’s counsel, arguing that ComEd

legislation passed because of strong coalitions, “[n]ot based on the fact that we're


46 The primary decision that Pramaggiore relies upon does not address rebuttal arguments,

but focuses on expert testimony presented during the government’s rebuttal case. United
States v. Filer, No. 19 CR 565, 2021 WL 5906068, at *6 (N.D. Ill. Dec. 14, 2021), appeal
dismissed, No. 22-1061, 2022 WL 1223717 (7th Cir. Feb. 10, 2022). This decision has no
bearing here.

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hiring people”). During rebuttal, the prosecutor responded to these arguments by

comparing the corruption scheme to a “corruption toll,” in which a driver pays the

toll. Tr. 5442:20-5443. The prosecutor stated, “There was also a lot of discussion about

strategy and coalitions, this idea of like, ‘Hey, how can it be that we’re bribing Mike

Madigan if we’re taking all of these efforts to convince people to vote for our

legislation?’” Tr. 5441:22-25. The tollway analogy explained why the defendants could

have simultaneously been bribing Madigan and working to build coalitions in support

of legislation:

              You still need a car, you still need gas, and you still need
              to drive to make your way down that road; but you have to
              pay that toll. It’s an obstacle that you have to overcome.

              And in many ways, the money that was paid to Mike
              Madigan through the subcontractors and others was like a
              corruption toll where they paid that toll to make sure that
              Mr. Madigan was not an obstacle to their legislative
              agenda. And they paid that toll every month from 2011 to
              2019 when they were caught.

Tr. 5442:20-5443:8. No defendant objected to the tollway analogy.

       “It is settled in this circuit that, in their summations to the jury, prosecutors

are entitled to respond to arguments articulated by defense counsel.” United States

v. Taylor, 728 F.2d 930, 936 (7th Cir. 1984); accord United States v. Reagan, 694 F.2d

1075, 1081 (7th Cir. 1982). Here, the tollway analogy was plainly a proper response

to defendants’ closing arguments, in which they argued that the bribes paid to

Madigan’s allies had no effect on ComEd legislation and had no purpose in light of

the efforts that were undertaken to advance the legislation in the General Assembly.




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      Indeed, the tollway analogy wasn’t a new theory at all, but was simply

“[a]nother way to think about” the case, as the prosecutor observed. Tr. 5442:20. The

tollway analogy was consistent with the theory presented throughout the case. See,

e.g., Tr. 290:3-8 (government’s opening, describing theory that “defendants conferred

a stream of benefits on Madigan over a long period of time,” intending to influence

Madigan’s actions regarding ComEd’s legislation); Tr. 5132:13-4 (government’s

closing). Here, the prosecutor simply presented an analogy to explain the “stream of

benefits” theory and that Madigan only needed to have influence, but not sole control

over the passage of legislation (as the jury instructions provided). Tr. 5466:16-21.

This was an appropriate subject of rebuttal argument.

      Because no defendant objected, the objection was forfeited, and the standard

of review would be plain error. Accordingly, the Court is limited to considering

whether “the remarks were so egregious that the district judge was obliged, upon

pain of reversal, to step in even without a defense objection.” United States v.

Carswell, 996 F.3d 785, 796 (7th Cir. 2021) (citation omitted). Pramaggiore does not

come close to satisfying this standard.

                     b.   The Government Accurately Characterized the
                          Evidence During Rebuttal Argument.

      Pramaggiore incorrectly contends that the prosecutor mischaracterized

evidence during its rebuttal argument and that the Court should have sustained a

related objection.

      The prosecutor argued that “other people were saying that Anne Pramaggiore

knew about the subcontractors,” and listed Government Exhibits 122 and 123 as two


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examples. Tr. 5439:8-9. Defense counsel objected, claiming that this was a “new

argument,” and the Court properly overruled the objection. Tr. 5439:14-16.

       This argument was a direct response to Pramaggiore’s counsel’s closing, in

which he repeatedly argued that Pramaggiore was not aware that any Madigan

associates were paid by ComEd as subcontractors. Below are just a few examples from

Pramaggiore’s closing:

   •   “Anne Pramaggiore did not know that Olivo . . . had been hired and never knew
       that” (Tr. 5318:20-22);

   •   “If Anne had known about the Doherty subs, she certainly would have had to
       tell Marquez when she hired him to be the head of legislative affairs”
       (Tr. 5319:13-15);

   •   “Dominguez is now the CEO of ComEd. None of them, neither Doherty or
       McClain or Hooker, say, well, tell Joe to talk to Anne, she knows all about this.”
       (Tr. 5320:2-4);

   •   “She has no idea that Madigan subs are under Doherty.” (Tr. 5320:18).

   •   “Anne doesn’t know about Doherty’s roster.” (Tr. 5328:11-12).

   •   “So Anne doesn’t know about the Doherty subs.” (Tr. 5329:10)

One of Pramaggiore’s main defenses was that she had no idea about the Madigan

subcontractors. The government was permitted to respond by pointing to probative

evidence that Pramaggiore did, in fact, know about the subcontractors.

       As described in Section I.C.2.c., above, Government Exhibits 122 and 123 are

powerful evidence of Pramaggiore’s knowledge of the Madigan subcontractors, even

though she did not participate in those calls. Contrary to Pramaggiore’s argument,

the jury could have easily concluded that McClain’s comment that “Anne was all in”

(GX122, ln. 10) was an assertion of McClain’s own observations of his coconspirator,

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Pramaggiore, and her willingness to pay the subcontractors at Madigan’s request.

This is highly probative evidence of her guilt. As the prosecutor observed in rebuttal,

“Why would he say that if it was a secret from her or she had no idea?” Tr. 5439:21.

This statement is plainly admissible against Pramaggiore as a coconspirator. See,

e.g., Lindemann, 85 F.3d at 1238.

      Similarly, McClain’s musings concerning what Dominguez might say about the

subcontractors are relevant to McClain’s and Pramaggiore’s intent. McClain said:

“Anne may have done that, but I don’t feel good about this. Um, it, it, it looks raw to

me.” GX 123, ln. 305-06. This statement shows McClain’s knowledge that this deal

was corrupt, or “raw,” and also demonstrated that Pramaggiore (unlike the new CEO)

was fully read into the scheme and did not express hesitation with the illegal

arrangement. This comment is thus highly probative as to McClain’s and

Pramaggiore’s knowledge of the “raw” nature of the arrangement. See, e.g., Loscalzo,

18 F.3d at 383.

      Pramaggiore advances different interpretations of these calls, but the

prosecutor was certainly permitted to argue otherwise based on the evidence. The

jury had ample evidence to accept the prosecutor’s interpretation, particularly when

viewed in the light most favorable to the government. United States v. Souffront, 338

F.3d 809, 819 (7th Cir. 2003).

      Even assuming that the government’s characterization of these two exhibits

was incorrect (and it was not), the Court correctly instructed the jury that it must

decide guilt or innocence based on the evidence, that evidence consisted only of



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witness testimony, exhibits admitted into evidence, and stipulations, and that closing

arguments were not evidence. Tr. 5451:10-18. It beggars belief that these brief

comments in the government’s rebuttal “was significant enough to impact the

fairness of the trial, taking the record as a whole[.]” United States v. DeSilva, 505

F.3d 711, 719 (7th Cir. 2007) (no plain error resulting from government’s closing

argument, where jury was instructed similarly). Pramaggiore thus fails to establish

that the Court erred in overruling her objection during the government’s rebuttal. 47

              11.    The Court Properly Admitted Marquez’s Statement to
                     Doherty Regarding Rate Legislation.

       Doherty challenges the admission of a certain statement made by Fidel

Marquez to Doherty after Marquez began cooperating with the government. R. 270

at 11. In particular, Doherty challenges the below bolded statement, which was

recorded by Marquez on February 13, 2019.

              DOHERTY: Here’s how, here’s how I might. Uh, number
                       one, your money comes from Springfield.
                       ComEd money, right? I mean, for the most
                       part.

              MARQUEZ: You mean, that’s how we make our money.

              DOHERTY: Yeah.

              MARQUEZ: Yeah, yeah. Through our rates, yes,
                       regulated.

              DOHERTY: And, you know, I would, if it were me, and
                       again, Mike Madigan’s not my best friend, but
                       if I called him right now, he’d call or he’d say,
                       “Jay,” if I want to go see him, I’d go see



47 If there was any error, it was harmless.



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                          him.But, my bottom line advice would be, ‘if it
                          ain’t broke, don’t fix it’ with those guys-

             MARQUEZ: Okay.

GX129. Marquez’s reference to regulated rates, immediately after Doherty observed

that ComEd’s money “comes from Springfield,” was admissible not for its truth but

as context and to show its effect on the listener, Doherty.

      Out-of-court statements are not hearsay when they are offered for background

or context and not for the truth of the matter asserted. United States v. Van Sach,

458 F.3d 694, 701-2 (7th Cir. 2006); United States v. Gajo, 290 F.3d 922, 930 (7th Cir.

2002); United States v. Akinrinade, 61 F.3d 1279, 1283 (7th Cir. 1995). The Seventh

Circuit has routinely affirmed the admission of out-of-court statements as necessary

non-hearsay “context” in the very situation presented here: consensual recordings

involving a cooperating witness and a defendant. See, e.g., United States v. Schalk,

515 F.3d 768, 775 (7th Cir. 2008) (“Meneghetti’s statements, as a government

informant during these conversations, were not admissible for their truth, but were

admissible for the context they provided for [defendant]’s statements.”); United States

v. Nettles, 476 F.3d 508, 517 (7th Cir. 2007) (cooperating witness’s recorded

statements admissible because “they were merely used to provide context to Nettles’s

admissions”); United States v. Van Sach, 458 F. 3d 694, 701-02 (7th Cir. 2006); United

States v. Tolliver, 454 F.3d 660, 666 (7th Cir. 2006) (“[informant]’s statements were

admissible to put [defendant]’s admissions on the tapes into context, making the

admissions intelligible for the jury”); United States v. Woods, 301 F.3d 556, 561 (7th

Cir. 2002); Gajo, 290 F.3d 922, 930 (7th Cir. 2002) (admitting cooperating witness’s


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recorded statements because “they are offered for context and not for the truth of the

matter asserted”); United States v. Davis, 890 F.2d 1373, 1380 (7th Cir. 1989)

(upholding admission of entirety of tape recorded conversations because informant’s

statements “are necessary to place the defendant’s statements in a proper context”

and “mak[e] them intelligible to the jury and recognizable as admissions”).

      In addition, “[a]n out of court statement that is offered to show its effect on the

hearer’s state of mind is not hearsay.” United States v. Hanson, 994 F.2d 403, 406

(7th Cir. 1993); see also United States v. Dupree, 706 F.3d 131, 136 (2d Cir. 2013) (

“[A] statement offered to show its effect on the listener is not hearsay.”); United States

v. Malik, 345 F.3d 999, 1001 (8th Cir. 2003) (“When the out-of-court statement has

relevance when we only consider the effect it had on those who heard (or read) it—

not whether the statement was true or not, but just its effect on those who heard it-

then the statement is not hearsay.”) (citations omitted).

      Lastly, “a statement of which the party has manifested an adoption or belief in

its truth is not hearsay.” United States v. Rollins, 862 F.2d 1282, 1296 (7th Cir. 1988)

(quoting Fed. R. Evid. 801(d)(2)(B)). A party need not expressly state, “I adopt [this

person’s] statements as my own,” for a statement to be admissible as an adoptive

admission. Id. Instead, an adoption can occur during a normal conversation when a

defendant manifests a belief in the truth of another person’s statements. See United

States v. Woods, 301 F.3d 556, 561 (7th Cir. 2002) (holding informant’s side of

telephone conversations with defendant admissible because they were adopted by the

defendant during the course of the conversation when the defendant either led or



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responded to the informant’s statements and at no time contradicted the informant’s

comments or questions).

      Here, the government did not offer Marquez’s statement to prove that ComEd’s

rates were, in fact, regulated. Rather, the Court properly admitted the statement to

show that Doherty knew that ComEd’s rates depended on favorable legislation in

Springfield, as evidenced by the fact that Doherty said “yeah” in the middle of

Marquez’s description of how ComEd made money. This in turn demonstrated that

Doherty knew the importance of keeping Madigan happy. See United States v.

Gaytan, 649 F.3d 573, 580 (7th Cir. 2011) (recording of a confidential informant’s

conversation with defendant was not hearsay, because “government offered the

challenged statements not for their truth but to put [defendant’s] own words in

context and to help the jury make sense out of his reaction to what [the CI] said and

did”). In short, Doherty’s suggestion that he did not adopt Marquez’s comment about

regulated rates is misplaced. Marquez’s statement was plainly admissible. 48

             12.   The Court Properly Admitted Doherty’s Text Message to
                   Ray Nice.

      Doherty complains that the Court improperly admitted a single text message.

R. 270 at 11. Specifically, Government Exhibit 314 contained a text message, in which

Doherty texted Ray Nice—a longtime Doherty subcontractor and Madigan ally—

“Fabulous. Thank you so much, Ray. Now I know why The Speaker thinks so highly

of you.” (emphasis added). This last statement was highly probative as to Doherty’s



48Given the overwhelming amount of evidence against Doherty, including in the rest of
Government Exhibit 129, any error was harmless.

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knowledge of Nice’s connection to Madigan, which was a critical issue in dispute in

the trial. Further, as a statement of a party opponent, Doherty’s statement was

plainly non-hearsay. Fed. R. Evid. 801(d)(2). 49

       Doherty’s text message to Nice was particularly relevant given that Doherty’s

counsel argued in opening statement that Doherty “stayed in his lane” and focused

on city politics, not Springfield politics. Tr. 403:1-7. Doherty’s attorney also argued

that the subcontractors (including Ray Nice, who was the recipient of the text

message) brought “value to ComEd.” See Tr. 406:4-10. Doherty’s comment about

Nice’s connection to Madigan showed the jury that he was attuned to Springfield

politics and knew why Nice was hired: his value to Speaker Madigan. Because

Doherty’s intent was the key issue in dispute, the Court properly admitted this highly

probative evidence. 50

              13.    The Court Properly Admitted Emails from Janet Gallegos.

       Hooker challenges the admission of Government Exhibits 627 and 217—emails

from Doherty’s administrative assistant, Janet Gallegos—on the basis that these

emails were inadmissible hearsay. R. 262 at 30-33. This argument fails. 51


49 The government agreed to redact the surrounding text messages at Doherty’s request. Tr.

2200:13-14.
50 Given the overwhelming amount of evidence against Doherty, any error was harmless.

51 Pursuant to Rule 803(6) records of regularly conducted activity are an exception to hearsay.

Specifically, a document qualifies when it is “made at or near the time by, or from information
transmitted by, a person with knowledge, if kept in the course of regularly conducted
business activity, and if it was the regular practice of that business activity to make the
memorandum, report, record data compilation, all as shown by the testimony of the custodian
or other qualified witness.” Consistent with this rule, courts in this district have held that
emails may qualify as “business records” if created in the normal course of business and
properly authenticated. See, e.g., Komal v. Arthur J. Gallagher & Co., 833 F.Supp.2d 855,
859 (N.D. Ill. June 13, 2011) (Feinerman, J.); Campbell v. Whobrey, 16-cv-4631, 2020 WL
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      Government Exhibit 627 is an email from December 14, 2012, between Janet

Gallegos and Mamie Takagi, a ComEd employee, in which Doherty is copied. In that

email, Gallegos states: “Yes, Jay spoke to John Hooker and he approved the $31,000

per month Contract for the entire 2013.” (Doherty confirmed the accuracy of Gallegos’

statement in Government Exhibit 630, which was properly admitted at trial; he

wrote: “Confirmed.”) Hooker complains that Government Exhibit 627 contains

“multiple levels of hearsay—e.g., that Gallegos told Takagi what Doherty told

Gallegos that Hooker told Doherty.” R. 262 at 30-31. Unpacking each of these “levels,”

however, reveals that the statement was properly admitted.

      First, as Doherty’s administrative assistant, Gallegos was Doherty’s employee

and agent. Rule 801(d)(2)(D) of the Federal Rules of Evidence provides that “[a]

statement is not hearsay if . . . the statement is offered against a party and is . . . (D)

a statement by the party’s agent or employee on a matter within the scope of that

relationship and while it existed.” This statement, as imputed to Doherty (and as

“confirmed” by Doherty in Government Exhibit 630), is admissible against Hooker as

the statement of a coconspirator in furtherance of the conspiracy pursuant to Rule

801(d)(2)(E). Indeed, Gallegos sent the email to Takagi at Doherty’s direction and

Doherty confirmed its accuracy. GX627, GX630. By confirming the email (GX630),




1330661, at *2 n.7; (N.D. Ill. Mar. 22, 2020) (Chang, J.); SkyBluePink Concepts, LLC v.
WowWee USA, Inc., 12-cv-7573, 2013 WL997458, at *3 n.1 (N.D. Ill. Mar. 13, 2013) (St. Eve,
J.); Holmes v. Godinez, 11-cv-2961, 2016 WL 4091625, at *5 (N.D. Ill. Aug. 2, 2016) (Aspen,
J.).

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Doherty was taking action in furtherance of the conspiracy, because it facilitated the

continued payments of the subcontractors.

      In the next purported “level,” Doherty’s statements to Takagi and Hooker’s

statements to Doherty are both admissible as statements of a party opponent and

coconspirator statements and are plainly non-hearsay. Fed. R. Evid. 801(d)(2).

      Government Exhibit 217 is a December 17, 2012, email between Gallegos and

Doherty, in which Gallegos tells Doherty about a conversation she had with Takagi

concerning John Hooker. As with Government Exhibit 627, Gallegos was acting as

Doherty’s employee or agent on a matter within the scope of her employment, and

thus her statements are not hearsay under Rule 801(d)(2)(D). Moreover, Doherty

responds, “verrrrry important,” to Gallegos, just six minutes later. GX217. This

statement is admissible as a statement of a party opponent, which demonstrated that

Doherty knew Gallegos was talking to Mamie Takagi regarding the subcontractor

arrangement. Fed. R. Evid. 801(d)(2). As to John Hooker, he was a coconspirator of

Doherty’s, and thus Doherty’s statement (“verrrrry important”) made during and in

furtherance of the conspiracy is admissible against Hooker. See Loscalzo, 18 F.3d at

383 (“. . . evidence of [a] defendant’s acts or statements may be provided by the

statements of co-conspirators.”); Lindemann, 85 F.3d at 1238 (a coconspirator’s

statements are admissible against other coconspirators where “the declarant and the

defendant were involved in an existing conspiracy, and that the statement was made

during and in furtherance of that conspiracy”). The Court properly admitted this

exchange on this basis.



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      Even if there were error, it was harmless. To begin, the jury heard ample

evidence that Hooker stayed intimately involved in the bribery scheme after his 2012

retirement, including through 2019. See, e.g., GX12; GX17; GX129; GX148. Even if

Hooker ceased his participation following his retirement in 2012, that would not have

insulated him from liability. See Schiro, 679 F.3d at 528-29.

      Further, the admission of these exhibits was harmless because the jury also

saw Government Exhibit 630, which (as discussed above) builds on the same email

exchange that is contained in Government Exhibit 627. In Government Exhibit 630,

Doherty responds to Gallegos’ email simply saying, “Confirmed.” GX630. This

statement was properly admitted as the statement of a party opponent. And by that

statement, Doherty adopted Gallegos’s statement that “Jay spoke to John Hooker and

he approved the $31,000 per month Contract for the entire 2013.” Fed. Rule of Evid.

801(d)(2)(B). Doherty clearly was seeking to facilitate not only his payment, but the

continued payment of the ghosts as well. That adoptive admission is, in turn,

admissible against Hooker as a statement of a coconspirator in furtherance of the

conspiracy. See Loscalzo, 18 F.3d at 383; Lindemann, 85 F.3d at 1238. Therefore, any

argument that the admission of Gallegos’ statement about Hooker’s approval of the

2013 contract prejudiced Hooker lacks merit. See Jordan v. Binns, 712 F.3d 1123,

1138 (7th Cir. 2013) (“As a general rule, errors in admitting evidence that is merely

cumulative of properly admitted evidence are harmless.”); United States v. Johnson,

127 F.3d 625, 631 (7th Cir. 1997) (holding that the erroneous admission of hearsay

that is “cumulative to other testimony already presented” was harmless because of



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its “limited (or nonexistent) prejudicial effect on the defendant”); United States v.

Carter, 720 F.2d 941, 948 (7th Cir. 1983) (erroneous admission of hearsay was

“harmless error due to the cumulative nature of the testimony”). These were two

emails out of hundreds of emails and recordings that implicating Hooker in the

conspiracy.

       In addition, counsel for Hooker confronted Gallegos with Government Exhibit

627, and elicited both that Takagi never sent her a contract from Hooker, and that,

after Hooker retired from ComEd in 2012, she needed someone employed by ComEd

to approve the contract. Tr. 2984:4-21. Counsel for Hooker likewise confronted

Gallegos with Government Exhibit 217, and Gallegos again confirmed that, per that

email, an internal ComEd employee needed to authorize approval of the contract. Tr.

2984:23-2985:25. The jury therefore heard that Hooker did not have ultimate

authority to approve the Doherty contract, minimizing any possible error from the

admission of these emails.

              14.   Considering the Trial Record as a Whole, Any Error Was
                    Harmless.

      The jury considered approximately seven weeks of evidence, including more

than 100 recordings, hundreds of emails, and dozens of witnesses. Considered all

together, this evidence established defendants’ guilt beyond a reasonable doubt. None

of the supposed errors defendants have identified would have affected the trial’s

outcome, either individually or cumulatively. To the extent there were significant

errors at the trial—and there were none—they were harmless.




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                                  CONCLUSION

      For the reasons set forth above, defendants’ motions for judgment of acquittal

and for a new trial should be denied.

                                        Respectfully submitted.

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